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            EXHIBIT 1
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                                                                                            ~~ EFILED IN OFFICE
                 SUPERIOR COURT OF HENRY COUNTY                                           CLERK OF SUPERIOR COURT
                                                                                           HENRY COUNTY, GEORGIA
                        STATE OF GEORGIA
                                                                                        SUCV2021001066
                                                                                                      HV
                                                                                          APR 15, 2021 11:30 AM


                                                                                                          Sabriya Hill. Clerk
                                                                                                      Henry County, Georgiz




                       CIVIL ACTION NUMBER SUCV2021001066
    Bennett International Group, LLC

    PLAINTIFF
                                               VS.
    Allied World Specialty Insurance Company

    DEFENDANT


                                 SUMMONS
    TO: ALLIED WORLD SPECIALTY INSURANCE COMPANY

    You are hereby summoned and required to file with the Clerk of said court and serve upon the
    PlaintifPs attorney, whose name and address is:

                              Jon M Hughes
                              McMickle, Kurey & Branch, LLP
                              217 Roswell Street, Suite 200
                              Alpharetta, Georgia 30009

    an answer to the complaint which is herewith served upon you, within 30 days after service of
    this summons upon you, exclusive of the day of service. If you fail to do so, judgment by
    default will be taken against you for the relief demanded in the complaint.

    This 15th day of April, 2021.
                                                     Clerk of Superior Court




                                                                      Sabriya Hill, Clerk
                                                                  Henry County, Georgia




                                                                                        Page 1 of 1
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                                                                                       d,' EFILED IN OFFICE
                                                                                     CLERK OF SUPERIOR COURT
                                                                                      HENRY COUNTY, GEORGIA
                                                                                   SUCV2021001066
                        IN THE SUPERIOR COURT OF HENRY COUNTY                                 HV
                                                                                     APR 15, 2021 11:30 AIUI
                                   STATE OF GEORGIA

BENNETT INTERNATIONAL GROUP, LLC,                                                                 Sa6riya Hill, Clerk
                                                                                              Henry County, Georgla



                                 Plaintiff,
                                                        Civil Action No.
V.


ALLIED WORLD SPECIALTY INSURANCE
COMPANY,

                                 Defendant

                                              COMPLAINT

            COMES NOW Plaintiff Bennett International Group, LLC, by and through the

undersigned counsel, and for its Complaint against Defendant Allied World Specialty Insurance

Company, states as follows:

                             PARTIES, JURISDICTION AND VENUE

                                                  1.

            Plaintiff Bennett International Group, LLC ("Bennett" or "Plaintiff') is a corporation

incorporated under the laws of Georgia, with its principal place of business in Henry County,

Georgia.

                                                  2.

            Defendant Allied World Specialty Insurance Company ("Allied World" or "Defendant"),

an insurance company, is a Delaware corporation with its principal place of business in the state

of New York.

                                                  3.

            Allied World is registered with the Georgia Secretary of State to conduct business in

Georgia and may be served with process by service on its Registered Agent, Corporation Service

Company, at 2 Sun Court, Suite 400, Peachtree Corners, Georgia 30092.


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                                                     4.

            Allied World has transacted business in the state of Georgia through issuance of policies

of insurance, including the policy at issue in this case, which include within their coverage

territory the state of Georgia. Allied World is therefore subject to personal jurisdiction in

 Georgia under O.C.G.A. § 9-10-91.

                                                     a
            This Court has subject matter jurisdiction over this action.

                                                     31

           Venue is proper in this Court under O.C.G.A. § 33-4-1(4), as Plaintiff Bennett, which is

entitled to proceeds of an insurance contract issued by Allied World, is a resident of Henry

County, Georgia.

                                      FACTUAL BACKGROUND

                                         The Allied World Policv

                                                     7.

           Defendant Allied World issued a policy of insurance, no. 0307-2801, that was in effect

from March 30, 2019 to March 30, 2020 (the "Policy"). A copy of the Policy is attached hereto

as Exhibit A.



           The Policy contains a coverage form titled Commercial Output Program Properfy

Coverage Part, which provides coverage for Business Personal Property.




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                                                   9.

            Under the terms of the Policy, covered business personal property includes "g. personal

property of others. This means personal property of others that is in `your' care, custody, or

control."

                                                  10.

            The Policy also contains a Schedule of Coverages that adds flood coverage to the Policy,

with a coverage limit of $1,000,000.

                                                  11.

            The Policy provides for a$10,000 deductible for Property of Others at Scheduled

 Locations.

                                                  12.

            The Policy does not contain a separate or additional document for damages caused by

flood.

                                          The Pronerty Loss

                                                  13.

           On or about February 7, 2020, flooding caused damage to 25 travel trailers that were

being stored at Bennett's facility located at 4620 NW McKennon Road, Pendleton, Oregon (the

"Loss").

                                                  14.

           The travel trailers were being stored by Bennett on behalf of their owner, Keystone RV

Company ("Keystone"), for subsequent delivery to a dealership.

                                                  15.

           The travel trailers were in Bennett's care, custody, or control on February 7, 2020 at the

time of the Loss.


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                                                    16.

            The Bennett facility at which the travel trailers were being stored and where the Loss

 occurred is a Scheduled Location in the Policy.

                                                The Claim

                                                    17.

            As a result of the loss to properry of others at a scheduled location from flooding, Bennett

 filed a claim with Allied World under the terms of the Policy.



            Allied World had the travel trailers inspected and appraised, determining that they were

 all a total loss and appraising the value of the travel trailers to be $481,387.00.

                                                    19.

            Bennett paid $478,417.00 to satisfy the claim of owner of the travel trailers, Keystone.

                                                    20.

            Bennett timely submitted its claim to Allied World and cooperated fully with Allied

 World.

                                                    21.

           Allied World initially denied Bennett's claim on May 21, 2020.

                                                    22.

           Bennett asked for reconsideration on several occasions and Allied World subsequently

denied the claim two additional times: May 29, 2020 and November 30, 2020.

                                                    23.

           As the sole reason for its denial, Allied World asserted a$500,000 deductible that does

not appear in the Policy.




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                                           COUNTI
                                      BREACH OF CONTRACT

                                                   24.

           Plaintiff adopts and incorporates herein by reference all allegations contained in

Paragraphs 1 through 23 of this Complaint.

                                                   25.

            The Loss, and all resulting damages, are covered under, and not excluded by, the terms of

the Policy.

                                                   26.

            The only deductible in the Policy that is applicable to the Loss is in the amount of

$10,000.

                                                   27.

           Allied World has failed, refused, and/or neglected to timely or properly adjust or pay for

the Loss and/or the damages arising from the Loss pursuant to the terms of the Policy, and is in

breach of its contractual obligations to Bennett.



           Allied World's breach of its obligations under the Policy constitutes a breach of contract.


                                                   29.

           Bennett has suffered damages as a result of Allied World's breach of the contract, which

include but are not limited to Bennett's payment of $478,417.00 to satisfy the claim of the owner

of the travel trailers.




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                                                   30.

           Bennett has performed all conditions precedent under the Policy and all conditions

precedent to recovery under this Count, or those conditions precedent have been waived or

otherwise satisfied.

                                                   31.

           WHEREFORE, Bennett respectfully requests that the Court enter judgment in favor of

Bennett and against Allied World for Allied World's breach of contract for failing to properly

 investigate, adjust, and pay the claim resulting from Loss, in the following amounts:

           (a) the principal amount of $468,417.00;

           (b) all costs of this action; and

           (c) such other and further relief as the Court deems just and proper.

                                       COUNT II
                   BAD FAITH AND ATTORNEYS' FEES UNDER O.C.G.A. ~ 33-4-6

                                                   32. .

           Plaintiff adopts and incorporates herein by reference all allegations contained in

Paragraphs 1 through 31 of this Complaint.

                                                   33.

           Allied World initially denied Bennett's claim by letter dated May 21, 2020, relying on a

purported $500,000 flood deductible that does not appear in the Policy.

                                                   34.

           Bennett requested reconsideration of Allied World's determination and Allied responded

with another letter dated May 29, 2020, reiterating its denial based on a purported $500,000

flood deductible that does not appear in the Policy.




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                                                 35.

            Bennett again requested reconsideration in an email dated November 18, 2020,

explaining why Bennett believed that Allied's determination was incorrect.

                                                 36.

            On November 30, 2020, Allied sent a third letter denying the claim, again based solely

 upon a purported $500,000 flood deductible that does not appear in the Policy.

                                                 37.

            On December 22, 2020, Bennett's legal counsel sent a demand letter to Allied World,

pursuant to O.C.G.A. § 33-4-6. A copy of the demand letter is attached hereto as Exhibit B and

incorporated herein.



           Bennett's December 22, 2020 demand to Allied World was sent more than 60 days

before this action was filed.

                                                 39.

           Bennett's December 22, 2020 demand to Allied World was made at a time when

immediate payment for the claim resulting from the Loss was due.

                                                 40.

           Bennett's December 22, 2020 demand to Allied World made it clear that Allied World

was facing a bad faith claim for its failure to pay damages for the claim resulting from the Loss.

                                                 41.

           On February 19, 2021, Allied World's legal counsel sent a letter to Bennett's counsel

responding to Bennett's demand, and again denying the claim based solely upon a purported

$500,000 flood deductible that does not appear in the Policy.




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                                                    42.

            Allied World's failure to pay Bennett's claim arising from the Loss was wrongful and

was motivated by bad faith.

                                                    43.

            Allied World has further acted in bad faith by failing to properly investigate, adjust, and

 pay Bennett's claim.

                                                    ..

            Allied World has not attempted in good faith to effectuate a prompt, fair and equitable

settlement of the claim even though coverage is clear.

                                                    45.

            Because Allied World refused to pay Bennett's claim and because such refusal was in

bad faith, in addition to the loss amount of $468,417.00, Bennett is entitled to not more than 50

percent of the liability of Allied World for the loss or $5,000.00, whichever is greater, and all

reasonable attorneys' fees for the prosecution of this action, pursuant to O.C.G.A. § 33-4-6.

                                                    46.

           Pursuant to O.C.G.A. § 33-4-6(b), within 20 days of bringing this action, in addition to

completing service of process as prescribed by Georgia law, Bennett will also mail to the

Commissioner of Insurance a copy of Bennett's demand and this Complaint by first class mail.

                                                    47.

           Bennett has performed all conditions precedent under the Policy and all conditions

precedent to recovery under this Count, or those conditions precedent have been waived or

otherwise satisfied.




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           WHEREFORE, Bennett respectfully requests that the Court enter judgment in favor of

Bennett and against Allied World for Allied World's bad faith in failing to properly investigate,

adjust, and pay the claim resulting from Loss, in the following amounts:

           (a) the principal amount of $468,417.00;

           (b) a penalty of $234,208.50 for Allied World's bad faith;

           (c) all costs of this action;

           (d) all reasonable attorneys' fees; and

           (e) such other and further relief as the Court deems just and proper.

                                      DEMAND FOR JURY 'f'RIAL

           Bennett hereby respectfully demands a trial by jury as to all counts and issues in this

Complaint.



             This 15' day of April, 2021.



                                            MCMICKLE, KUREY & BRANCH, LLP

                                            BY /s/Scott W. McMickle
                                              SCOTT W. McMICKLE
                                              Georgia Bar No. 497779

                                               /s/Jon M. Hughes
                                               JON M. HUGHES
                                               Georgia Bar No. 835057

                                               Attorneys for Plaintiff

217 Roswell Street
Suite 200
Alpharetta, GA 30009
Telephone:    (678) 824-7800
Facsimile:    (678) 824-7801


M0710281.1 15187                                     9
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I'          ALLIEG
            WOR1.D

     Policy Number: 0307-2801
                           COMMON POLICY DECLARATIONS
     Allied World Specialty Insurance Company               Producer:
     1690 New Britain Avenue, Suite 101                     Assured Partners NL, LLC
     Farmington, Connecticut 06032                          2305 River Road
     Tel. (860) 284-1300                                    Louisville, KY 40206
     Fax. 860 284-1301
     NAMED INSURED:         Bennett International Group, LLC
     MAILING ADDRESS: 1001 Industrial Parkway
                       Mcdonough, GA 30253
     POLICY PERIOD: FROM March 30, 2019                              TO March 30, 2020                           AT 12:01 A.M. STANDARD



     BUSINESS DESCRIPTION I Distribution Com an


     IN RETURN FOR THE PAYMENT OF THE PREMIUM, AND SUBJECT TO ALL THE TERMS OF THIS POLI-
     CY, WE AGREE WITH YOU TO PROVIDE THE INSURANCE AS STATED IN THIS POLICY.

     THIS POLICY CONSISTS OF THE FOLLOWING COVERAGE PARTS FOR WHICH A PREMIUM IS
     INDICATED. THIS PREMIUM MAY BE SUBJECT TO ADJUSTMENT.

            Commercial Output Program
            Contractors' Equipment
            TRIA (Fire Following)




                                                                                                        TOTAL         31

            Premium shown is payable:$
                                           -AIIIIIIIII1                    at inception.


            THE POLICY MAY BE SUBJECT TO ADJUSTMENT




     IL 00029 00 (07/15)                                        Page 1 of 2                                    EXHIBIT A

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FORMS APPLICABLE TO ALL COVERAGE PARTS:
   1.CL 1045 (01/2015) Policyholder Disclosure Notice Of Terrorism Insurance Covera e
   2.CM-IL 00014 00 (04/2015) What To Do If A Loss Occurs General Information
   3.CL 0128 (02/2015) Amendatory Endorsement - Georgia
   4. CL 0700 (10/2006) Virus Or Bacteria Exclusion
   5.CL 0100 (03/1999) Common Policy Conditions
   6.BIG MANU A Minimum Earned Premium Endorsement
   7.BIG MANU B Notice of Cancellation Amendatory
   8.BIG MANU C Named Insureds Endorsement
   9.BIG MANU D Water Damaqe Limitation
   10.BIG MANU E Deductible Endorsement




 ADDRESS FOR NOTICES UNDER THIS POLICY:

            A. Claims-Related Notices:
               Allied World Specialty Insurance Company
               Claims Department
               199 Water Street, 29th Floor
               New York, NY 10038

            B. AII Other Notices:
               Allied World Specialty Insurance Company
               Claims Department
               199 Water Street, 29th Floor
               New York, NY 10038




In Witness Whereof, the Insurer has caused this policy to be executed and attested, but this policy shall not be
valid unless countersigned by a duly authorized representative of the Insurer.




                      President                                                                 Secretary




                                                                              AUTHORIZED REPRESENTATIVE




IL 00029 00 (07/15)                                           Page 2 of 2

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AAIS
CL 1045 01 15
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Insurance Company: Allied World Specialty Insurance Company

Policy Number: 0307-2801

Named Insured: Bennett International Group, LLC


                             POLICYHOLDER DISCLOSURE
                     NOTICE OF TERRORISM INSURANCE COVERAGE
You are hereby notified that under the Terrorism Risk Insurance Act, as amended, you have a right to purchase
insurance coverage for losses resulting from acts of terrorism, as defined in Section 102(1) of the Act. See the next
page for a further description of an act of terrorism as provided under the Act.

ACCEPTANCE OR REJECTION OF TERRORISM INSURANCE COVERAGE
You may accept or reject this offer of coverage. If you choose to accept this coverage, the premium for this
coverage is payable according to the terms of your billing notice. You may reject this offer by completing and
signing this statement and returning it to us. If you send us a signed rejection of coverage, your policy will exclude
coverage for certified terrorism losses.

In the state of GA, a terrorism exclusion makes an exception for fire losses resulting from an act of terrorism.
Accordingly, if you reject the offer of terrorism coverage as provided under the program, that rejection is not
applicable to fire losses resulting from an act of terrorism. In this state, the coverage in your policy for such fire
losses will continue. The premium for such fire coverage is stated below. This premium is due whether or not you
reject the offer described above for terrorism coverage. ,

One of the following premiums is due:
If you accept this offer, the premium for terrorism coverage is $3,624.00
If you reject this offer, the premium for terrorism (fire only) coverage is $1,280.00

            I accept this offer of terrorism coverage and acknowledge that I have been notified that under the
            Terrorism Risk Insurance Act, as amended, any losses resulting from certified acts of terrorism under
            my policy may be partially reimbursed by the United States government and may be subject to a
            $100 billion cap that may reduce my coverage, and I have been notified of the portion of my premium
            attributable to such coverage.

            I hereby reject this offer of terrorism coverage. I understand that an exclusion of certified terrorism
            losses will be made part of this policy. I also acknowledge that I have been notified that under the
            Terrorism Risk Insurance Act, as amended, any fire losses resulting from certified acts of terrorism
            under my policy may be partially reimbursed by the United States government and may be subject to a
            $100 billion cap that may reduce my coverage, and I have been notified of the portion of my premium
            attributable to such coverage.




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The portion of your annual premium that is attributable to coverage for acts of terrorism, as defined in the Act, is:




             I accept this offer of terrorism coverage and acknowledge that I have been notified that under the
             Terrorism Risk Insurance Act, as amended, any losses resutting from certified acts of terrorism under
             my policy may be partially reimbursed by the United States government and may be subject to a
             $100 billion cap that may reduce my coverage, and I have been notified of the portion of my premium
             attributable to such coverage.

             I hereby reject this offer of terrorism coverage. I understand that an exclusion of certified terrorism
             losses will be made part of this policy. I also acknowledge that I have been notified that under the
             Terrorism Risk Insurance Act, as amended, any losses resulting from certified acts of terrorism under
             my policy may be partially reimbursed by the United States government and may be subject to a
             $100 billion cap that may reduce my coverage, and I have been notified of the portion of my premium
             attributable to such coverage.


You should know that where coverage is provided by this policy for losses resulting from certified acts of terrorism,
such losses may be partially reimbursed by the United States government under a formula established by federal
law. However, your policy may contain other exclusions which might affect your coverage, such as an exclusion for
nuclear events. Under the formula, the United States government generally reimburses 85% through 2015; 84%
beginning on January 1, 2016; 83% beginning on January 1, 2017; 82% beginning on January 1, 2018; 81%
beginning on January 1, 2019; and 80% beginning on January 1, 2020 of covered terrorism losses exceeding the
statutorily established deductible paid by the insurance company providing the coverage. The premium charged for
this coverage is shown above and does not include any charges for the portion of loss that may be covered by the
federal government under the Act.


You should also know that the Terrorism Risk Insurance Act, as amended, contains a$100 billion cap that limits
U.S. government reimbursement as well as insurers' liability for losses resulting from certified acts of terrorism
when the amount of such losses in any one calendar year exceeds $100 billion. If the aggregate insured losses for
all insurers exceed $100 billion, your coverage may be reduced.


Policyholder's Signature:                                                               Date:




Print Name




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,4as
CL 1045 01 15
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The following excerpt from the Act is provided for your information:

According to Section 102(1) of the Terrorism Risk Insurance Act, as amended, "The term "act of terrorism" means
any act that is certified by the Secretary of the Treasury, in consultation with the Secretary of Homeland Security,
and the Attorney General of the United States ---- (i) to be an act of terrorism; (ii) to be a violent act or an act that is
dangerous to (1) human life; (II) property; or (III) infrastructure; (iii) to have resulted in damage within the United
States, or outside the United States in the case of (1) an air carrier or vessel described in paragraph (5)(B); or (II)
the premises of a United States mission; and (iv) to have been committed by an individual or individuals, as part of
an effort to coerce the civilian population of the United States or to influence the policy or affect the conduct of the
United States Government by coercion."




CL 1045 01 15




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                                      NOTICE

                         WHAT TO DO IF A LOSS OCCURS
                           GENERAL INFORNIATION


 In the event "you" suffer a loss which "you" believe is covered by "your" policy,
 please contact Network Adjusters Inc. at:


                Phone:                   1-877-533-1211

                Fax:                     1-860-284-1307

               New Loss E-mail:      Inlanclmarinenewloss@awac.com

               Web:                      www.networkadiusters.com


 In the event a loss occurs or is imminent, "your" primary duty is to act in every aspect
 as if no insurance existed and to employ reasonable means to minimize the loss
 and to prevent further damage.


 PLEASE REFER TO EACH POLICY FOR SPECIFIC INSTRUCTIONS IN THE
 EVENT OF A LOSS.




CM-IL 00014 00 (04/15)
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AAIS                                   This endorsement changes
CL 0128 02 15                                  the policy
Page 1 of 2                      -- PLEASE READ THIS CAREFULLY --

                            AMENDATORY ENDORSEMENT
                                    GEORGIA
1. Under Common Policy Conditions,                                     "We" may cancel or not renew this policy
   Cancellation is deleted and replaced by the                         by delivering or mailing written notice to
   following:                                                          "you" and any lienholder, if applicable, at
                                                                       the last mailing address known to "us" or
    Cancellation and Nonrenewal                                        "our" authorized agent. If notice is
                                                                       mailed, it will be mailed first class. The
    a. "You" may cancel this policy by returning                       notice to "you" and any lienholder may
       the policy to "us" or by giving "us" a                          be delivered by electronic means if "you"
       written notice and stating at what future                       or the lienholder have affirmatively
       date coverage is to stop.                                       consented to that method of delivery and
                                                                       "we" have obtained such consent in
       1) If only "your" interest is affected,                         accordance with Georgia law. Proof of
          cancellation will become effective on                        delivery or mailing is sufficient proof of
                                                                       notice.
           a) the date on which "we" receive
              either the returned policy or                       c. If this policy has been in effect for less
              "your" written notice; or                              than 60 days at the time "we" cancel,
           b) the date specified in "your"                           "we" will give "you" notice at least 10
              written notice;                                        days before cancellation is effective.

           whichever is later. "We" can waive                     d. If this policy has been in effect for 60
           the requirement that "you" state a                        days or more, or if it is a renewal of a
           future date of cancellation by giving                     policy issued by "us", at the time "we"
           "you" written confirmation of the date                    cancel, "we" will give "you" notice:
           and time of cancellation.
                                                                       1) at least 10 days before cancellation
       2) If by statute, regulation, or contract                          is effective, if the cancellation is for
          this policy cannot be cancelled                                 nonpayment of premium; or
          unless notice is given to a                                  2) at least 45 days before cancellation
          governmental agency, mortgagee, or                              is effective, if the cancellation is for
          other third party, "we" will deliver or                         any other reason.
          mail such notice to the third party's
          last address of record at least 10                           Notwithstanding the foregoing, if the
          days before cancellation is effective.                       "terms" of this policy permit an audit and
          If notice is mailed, it will be mailed                       "you" fail to submit to or allow an audit for
          first class. Proof of delivery or                            the current or most recently expired term,
          mailing is sufficient proof of notice.                       "we" may cancel by giving "you" notice at
                                                                       least 10 days before cancellation is
           Cancellation will become effective:                         effective, but only if:

           a) 10 days after "our" notice is                            1) "we" have made two documented
              delivered or mailed; or                                     efforts to notify "you" and "your"
           b) on the date specified in "your"                             agent of potential cancellation; and
              written request for cancellation;                        2) the notice is not mailed within 20
                                                                          days of the first such documented
           whichever is later.                                            effort.

                                                                       The notice of cancellation will be sent by
                                                                       certified mail or statutory overnight
                                                                       delivery.

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CL 0128 02 15
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   e. "Your" return premium, if any, will be                    2. Under Common Policy Conditions, the
      calculated according to "our" rules and                      following condition is added:
      will be refunded:
                                                                     Conditional Renewal
         1) at the time of cancellation or as soon
            as practicable, if "you" cancel this                     If "we" decide to renew this policy with:
            policy; or
         2) with the cancellation notice or sent to                  a. an increase in premium rates of more
            "you" or "your" authorized agent on                         than 15% of the expiring policy premium;
            or before the date on which                                 or
            cancellation is effective, if "we"
            cancel this policy;                                      b. with a change in any policy provision
                                                                        which limits or restricts coverage;
         unless the final premium is subject to
         audit or rate investigation, or the                         "we" will deliver or mail written notice of the
         premium was financed by a premium                           changes to "you" at least 45 days prior to the
         finance company. If the final premium is                    effective date of the changes. Such notice
         subject to audit or rate investigation, the                 may be delivered by electronic means if
         return premium will be refunded within 30                   "you" have affirmatively consented to that
         days after the conclusion of the audit or                   method of delivery and "we" have obtained
         rate investigation. If the premium was                      such consent in accordance with Georgia
         financed by a premium finance company,                      law. When the increase in premium exceeds
         "the return premium will be refunded to                     15% of the expiring policy premium, the
         the premium finance company within 10                       notice will indicate the dollar amount of the
         working days after cancellation.                            increase. However, this provision does not
                                                                     apply to an increase due to audit, change in
         Payment or tender of the unearned                           risk, exposure, or experience modification.
         premium is not a condition of
         cancellation.
                                                                CL 0128 02 15
   f.    If "we" decide not to renew this policy,
         "we" will give "you" notice at least 45
         days before the nonrenewal is effective.




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     Case 1:21-cv-02190-MLB Document 1-1 Filed 05/26/21 Page 20 of 130



AAIS                                     This endorsement changes
CL 0700 10 06                                    the policy
Page 1 of 1                        -- PLEASE READ THIS CAREFULLY --

                             VIRUS OR BACTERIA EXCLUSION
                                                                      This exclusion applies to, but is not limited
DEFINITIONS                                                           to, any loss, cost, or expense as a result of:

                                                                      a. any contamination by any virus,
Definitions Amended --                                                   bacterium, or other microorganism; or

When "fungus" is a defined "term", the definition                     b. any denial of access to property
of "fungus" is amended to delete reference to a                          because of any virus, bacterium, or
bacterium.                                                               other microorganism.

When "fungus or related perils" is a defined                     2. Superseded Exclusions -- The Virus or
"term", the definition of "fungus or related perils"                Bacteria exclusion set forth by this
is amended to delete reference to a bacterium.                      endorsement supersedes the "terms" of any
                                                                    other exclusions referring to "pollutants" or
                                                                    to contamination with respect to any loss,
                                                                    cost, or expense caused by, resulting from,
                                                                    or relating to any virus, bacterium, or other
PERILS EXCLUDED                                                     microorganism that causes disease, illness,
                                                                    or physical distress or that is capable of
                                                                    causing disease, illness, or physical
The additional exclusion set forth below applies                    distress.
to all coverages, coverage extensions,
supplemental coverages, optional coverages,
and endorsements that are provided by the
policy to which this endorsement is attached,
                                                                 OTHER CONDITIONS
including, but not limited to, those that provide
coverage for property, earnings, extra expense,
or interruption by civil authority.
                                                                 Other Terms Remain in Effect --
1. The following exclusion is added under
   Perils Excluded, item 1.:                                     The "terms" of this endorsement, whether or not
                                                                 applicable to any loss, cost, or expense, cannot
    Virus or Bacteria --                                         be construed to provide coverage for a loss,
                                                                 cost, or expense that would otherwise be
    "We" do not pay for loss, cost, or expense                   excluded under the policy to which this
    caused by, resulting from, or relating to any                endorsement is attached.
    virus, bacterium, or other microorganism
    that causes disease, illness, or physical
    distress or that is capable of causing                       CL 0700 10 06
    disease, illness, or physical distress.




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AAIS                                   This endorsement changes
CL 0600 01 15                                  the policy
Page 1 of 1                      -- PLEASE READ THIS CAREFULLY --

                             CERTIFIED TERRORISM LOSS
1. The following definitions are added.                      2. The "terms" of any terrorism exclusion that is
                                                                part of or that is attached to this Coverage
   a. "Certified act of terrorism" means an act                 Part are amended by the following provision:
      that is certified by the Secretary of the
      Treasury, in consultation with the                          This exclusion does not apply to "certified
      Secretary of Homeland Security, and the                     terrorism loss".
      Attorney General of the United States:
                                                             3. The following provision is added.
        1) to be an act of terrorism;
        2) to be a violent act or an act that is                  If the Secretary of the Treasury determines
           dangerous to human life, property, or                  that the aggregate amount of "certified
           infrastructure;                                        terrorism loss" has exceeded one hundred
        3) to have resulted in damage:                            billion dollars in a calendar year (January 1
                                                                  through December 31), and "we" have met
           a) within the United States; or                        "our" insurer deductible under the Terrorism
           b) to an air carrier (as defined in                    Risk Insurance Act, as amended, "we" will
              section 40102 of title 49, United                   not pay for any portion of "certified terrorism
              States Code); to a United States                    loss" that exceeds one hundred billion
              flag vessel (or a vessel based                      dollars. If the "certified terrorism loss"
              principally in the United States,                   exceeds one hundred billion dollars in a
              on which United States income                       calendar year (January 1 through December
              tax is paid and whose insurance                     31), losses up to one hundred billion dollars
              coverage is subject to regulation                   are subject to pro rata allocation in
              in the United States), regardless                   accordance with procedures established by
              of where the loss occurs; or at                     the Secretary of the Treasury under the
              the premises of any United                          Terrorism Risk Insurance Act, as amended.
              States mission;
                                                             4. The following provisions are added.
       4) to have been committed by an
          individual or individuals, as part of an                a. Neither the "terms" of this endorsement
          effort to coerce the civilian population                   nor the "terms" of any other terrorism
          of the United States or to influence                       endorsement attached to this Coverage
          the policy or affect the conduct of the                    Part provide coverage for any loss that
          United States Government by                                would otherwise be excluded by this
          coercion; and                                              Coverage Part under:
       5) to have resulted in insured losses in
          excess of five million dollars in the                        1) exclusions that address war, military
          aggregate, attributable to all types of                         action, or nuclear hazard; or
          insurance subject to the Terrorism                           2) any other exclusion; and
          Risk Insurance Act, as amended.
                                                                  b. the absence of any other terrorism
   b. "Certified terrorism loss" means loss that                     endorsement does not imply coverage
      results from a"certified act of terrorism".                    for any loss that would otherwise be
                                                                     excluded by this Coverage Part under:

                                                                       1) exclusions that address war, military
                                                                          action, or nuclear hazard; or
                                                                       2) any other exclusion.


                                                             CL 0600 01 15
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                               COMMON POLICY CONDITIONS
1. Assignment -- This policy may not be                3. Change, Modification, or Waiver of Policy
   assigned without "our" written consent.                Terms -- A waiver or change of the "terms"
                                                          of this policy must be issued by "us" in
2. Cancellation -- "You" may cancel this policy           writing to be valid.
   by returning the policy to "us" or by giving
   "us" written notice and stating at what future      4. Inspections -- "We" have the right, but are
   date coverage is to stop.                              not obligated, to inspect "your" property and
                                                          operations at any time. This inspection may
    "We" may cancel this policy, or one or more           be made by "us" or may be made on "our"
    of its parts, by written notice sent to "you" at      behalf. An inspection or its resulting advice
    "your" last mailing address known to "us". If         or report does not warrant that "your"
    notice of cancellation is mailed, proof of            property or operations are safe, healthful, or
    mailing will be sufficient proof of notice.           in compliance with laws, rules, or
                                                          regulations. Inspections or reports are for
    If "we" cancel this policy for nonpayment of          "our" benefit only.
    premium, "we" will give "you" notice at least
    ten days before the cancellation is effective.     5. Examination of Books and Records --
    If "we" cancel this policy for any other              "We" may examine and audit "your" books
    reason, "we" will give "you" notice at least          and records that relate to this policy during
    30 days in advance of cancellation. The               the policy period and within three years after
    notice will state the time that the                   the policy has expired.
    cancellation is to take effect.

    "Your" return premium, if any, will be             CL 0100 03 99
    calculated according to "our" rules. It will be    Copyright, American Association of Insurance Services,
    refunded to "you" with the cancellation            1998
    notice or within a reasonable time. Payment
    or tender of the unearned premium is not a
    condition of cancellation.
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                                       This endorsement changes
                                               the policy
                                   --PLEASE READ THIS CAREFULLY--


This endorsement, effective: March 30, 2019
(at 12:01 A.M. standard time at the address of the Named Insured as shown on the Declarations)
forms a part of Policy No: 0307-2801



                            MINIMUM EARNED PREMIUM ENDORSEMENT


This endorsement modifies the insurance provided within this Policy.


The Declarations is amended to include the following additional provision:

        Minimum Earned Premium:         25% oftotal premium charged



The Policy is amended to include the following Condition:

Minimum Earned Premium --

The Minimum Earned Premium shown on the Declarations will be deemed to be 100% earned at policy
inception. This Minimum Earned Premium will be applied to the total premium charged for the policy
period indicated on the declarations, including any additional premium charged during the policy period.

The provisions of this endorsement supersede any contrary terms, definitions, conditions,
exclusions or limitations contained in this policy or any of its other endorsements.




AII of other terms of this policy remain unchanged.




BIG MANU A
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                                   This endorsement changes
                                           the policy
                              --PLEASE READ THIS CAREFULLY--

This endorsement, effective: March 30, 2019
(at 12:01 A.M. standard time at the address of the Named Insured as shown on the Declarations)
forms a part of Policy No: 0307-2801


                            NOTICE OF CANCELLATION AMENDATORY

This endorsement modifies the insurance provided under the following:

COMMERCIAL OUTPUT PROGRAM
COMMERCIAL INLAND MARINE


For any reason other than non-payment of premium, the number of days required for notice of
cancellation, as provided in provision 2. Cancellation of the Common Policy Conditions or as amended
by the applicable state cancellation endorsement, is increased to 60 days. AII other terms of the
Cancellation provision remain applicable.



AII other terms and conditions remain unchanged.




BIG MANU B
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                                          This endorsement changes
                                                  the policy
                                     --PLEASE READ THIS CAREFULLY—

This endorsement, effective: March 30, 2019
(at 12:01 A.M. standard time at the address of the Named Insured as shown on the Declarations)
forms a part of Policy No: 0307-2801




                                           Named Insured Endorsement



The following Named Insured's are now recognized as part of the policy:


Bennett On-Site Services, LLC dba BOSS

Boss Engineered Logistics, LLC

Hoback Investments, LLC            XX-XXXXXXX

Bennett Distribution Services, LLC          XX-XXXXXXX

Bennett Motor Express Management, Inc. XX-XXXXXXX

BOSS Oilfield Service & Supply A Division of Bennett On-Site Services, LLC




BIG MANU C
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                                    This endorsement changes
                                            the policy
                               --PLEASE READ THIS CAREFULLY--

This endorsement, effective: March 30, 2019
(at 12:01 A.M. standard time at the address of the Named Insured as shown on the Declarations)
forms a part of Policy No: 0307-2801




                              WATER DAMAGE LIMITATION
                           (The entries required to complete this endorsement
                         will be shown below or on the "schedule of coverages".)



                                  WATER DAMAGE SCHEDULE



            Water Damage Limit:                                          Included

            Water Deductible Amount:                                     $25,000




SUPPLEMENTAL COVERAGES


Interior Water Damage --

1. Coverage -- "We" cover "water damage" to a covered "building or structure".

2. Coverage Limitation -- "We" only cover a"building or structure" at "your" "jobsite".

3. Definition of "Water Damage" —"Water Damage" means physical loss or damage caused by water,
   regardless of the source, other than as caused by "flood" or named windstorm.

4. Limit and Deductible--

    a. Any One Occurrence —"The most "we" pay in any one occurrence for loss caused by or
       resulting from "water damage" as described in this endorsement is only that part of "your" loss
       over the deductible amount and subject to the Water Damage Limit indicated on the Water
       Damage Schedule.




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                                 This endorsement changes the coverage
                                 -- PLEASE READ THIS CAREFULLY --

                                       DEDUCTIBLE ENDORSEMENT

For the perils of earthquake, flood, windstorm and hail, the deductibles set forth below apply. These
deductibles supersede any other deductible pertaining to earthquake, flood, windstorm and hail contained
in this policy, including but not limited to, those listed on any Schedule of Coverages.

  (1) Earthquake: Not Covered

  (2) Flood: See Endorsement

   (3) Windstorm and Hail: The following sum(s) shall be deducted from any adjusted loss due to
       windstorm and hail:

      (a) With respect to locations within Tier I wind zones, NOT COVERED

      (b) With respect to all other locations, all loss, damage, and/or expense arising out of any one
          occurrence shall be adjusted as one loss, the deductible shall be 0% of the total values at the
          time of loss or damage at each location involved in the loss or damage, subject to a minimum
          of $10,000 for any one occurrence.

       © AII reference herein to "Tier I", "Tier I wind zones", "Tier I Windstorm" or similar "Tier I"
         references, shall be defined as all locations situated within Tier I States or Counties or Parishes
         as specified below:

           Alabama: Baldwin, Mobile;

           Florida: Entire State of Florida;

           Georgia: Bryan, Camden, Chatham, Glynn, Liberty, Mclntosh;

           Louisiana: Cameron, Iberia, Jefferson, Lafourche, Orleans, Plaquemines, St. Mary, St.
           Bernard, St. Tammany, Terrebonne, Vermilion;

           Mississippi: Hancock, Harrison, Jackson;

           North Carolina: Beaufort, Bertie, Brunswick, Camden, Carteret, Chowan, Craven, Currituck,
           Dare, Hyde, New Hanover, Onslow, Pamlico, Pasquotank, Pender, Perquimans, Tyrrell,
           Washington;

           South Carolina: Beaufort, Berkeley, Charleston, Colleton, Georgetown, Horry, Jasper;

           Texas: Aransas, Brazoria, Calhoun, Cameron, Chambers, Galveston, Jackson, Jefferson,
           Kenedy, Kleberg, Matagorda, Nueces, Orange, Refugio, San Patricio, Victoria, Willacy;

           Virainia: Accomack, Chesapeake, Essex, Gloucester, Hampton, Isle of Wight, James City,
           King George, Lancaster, Mathews, Middlesex, Newport News, NorFolk, Northampton,
           Northumberland, Poquoson, Portsmouth, Richmond, Stafford, Suffolk, Surry, Virginia Beach,
           Westmoreland, Williamsburg, York.


The provisions of this endorsement and the application .of these deductibles supersede any
contrary terms, definitions, conditions, and exclusions of this policy or any of its endorsements.




BIG MANU E
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M      D
AT~WDRLD
    ALLIE


            ALLIED WORLD SPECIALTY INSURANCE COMPANY
  1690 New Britain Avenue, Farmington, CT 06032 -Tel. (860) 284-1300 - Fax (860) 284-1301



           COMMERCIAL OUTPUT PROGRAM -- DECLARATIONS

 POLICY NUMBER:0307-2801                             RENEWAL OF:0307-2801



 PRODUCER NAME AND ADDRESS::               AssuredPartners NL, LLC
                                           2305 River Road
                                           Louisville, KY 40206




 NAME OF INSURED: Bennett International Group, LLC



 MAILING ADDRESS:        1001 Industrial Parkway
                         Mcdonough, GA 30253



 POLICY PERIOD:        From:March 30, 2019                To:March 30, 2020          at
                       12:01 a.m. Standard Time at your mailing address shown above.


 IN RETURN FOR YOUR PAYMENT OF THE PREMIUM, WE PROVIDE THE INSURANCE AS
 DESCRIBED IN THIS POLICY.


 BUSINESS DESCRIPTION:        Distirubution Company



 MORTGAGE HOLDER NAME AND MAILING ADDRESS:



 LOCATION ADDRESS:           Per SOV




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FORMS APPLICABLE TO ALL COVERAGES:

1.CO 0408 (06/2013) Amendatory Endorsement - Georgia
2.CO 1051 (03/2005) Schedule of Coverages - Commercial Output Program
3.CO 1052 (04/2002) Location Schedule
4.BIG MANU F Blanket Loss Payee/Mortgagee
5.CO 1227 (05/2002) Scheduled Locations Endorsement
6.CO 1229 (10/2007) Named Storm Exclusion
7.CO 1235 (04/2002) Multiple Deductible - Scheduled Locations and Property
8.CO 1281 (04/2002) Waiting Period -- Income Coverage
9.CL 0677 (01/2011) How Much We Pay - No Coverage For Diminished Value
10.CL 0620 (01/2015) Certified Act Of Terrorism Exclusion (With Limited Exception)
11.CO 1000 (10/2002) Commercial Output Program - Property Coverage Part
12.CO 1001 (04/2002) Commercial Output Program - Income Coverage Part
13.CO 1003 (04/2002) Equipment Breakdown Coverage Part




PREMIUM:$-


IN WITNESS WHEREOF, WE HAVE CAUSED THIS POLICY TO BE EXECUTED AND ATTESTED.
THIS POLICY SHALL NOT BE VALID UNLESS COUNTERSIGNED BY OUR DULY AUTHORIZED
REPRESENTATIVE.



                                                                          l   iall4w CC~~rik"%1--
                  PRESIDENT                                                    ASST.SECRETARY

                                                                                               ~


                                                                      AUTHORIZED REPRESENTATIVE




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AAIS                                   This endorsement changes
CO 0408 06 13                                  the policy
Page 1 of 1                      -- PLEASE READ THIS CAREFULLY --

                             AMENDATORY ENDORSEMENT
                                     GEORGIA
          1. Under Perils Excluded, Criminal, Fraudulent, Dishonest, or Illegal Acts, item
             2.e. of the Property Coverage Part and items 2.a. of the Crime Coverage
             Parts, if applicable, are amended to include the following:

                However, if the loss is caused by an intentional act of an insured against
                whom a family violence complaint is brought for the act causing this loss, this
                exclusion will not apply to an otherwise covered loss suffered by another
                insured who did not cooperate with or contribute to the act that caused the
                loss.

                Subject to all other "terms" of this policy, "our" payment to an insured who did
                not cooperate in or contribute to the act that caused the loss may be limited
                to that person's insurable interest in the property, less any payment made to
                a mortgagee or other party with a legal secured interest in the property. "We"
                retain all rights set forth in the Subrogation condition of this policy with regard
                to action against the perpetrator of the act that caused the loss.

          2. Under Other Conditions, Misrepresentation, Concealment, or Fraud is
             deleted and replaced by the following:

                Misrepresentation, Concealment, Or Fraud —"We" do not provide
                coverage for "you" or any other insured if, before or after a loss:

                a. "you" or any other insured have willfully concealed or misrepresented:

                    1) a material fact or circumstance that relates to this insurance or the
                       subject thereof; or
                    2) "your" interest herein; or

                b. there has been fraud or false swearing by "you" or any other insured with
                   regard to a matter that relates to this insurance or the subject thereof.




CO 0408 0613




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                              SCHEDULE OF COVERAGES
                            COMMERCIAL OUTPUT PROGRAM
                              (The information required to complete this schedule
                            will be shown below or on the "schedule of coverages".)

                                                                                Limit of Insurance
          Catastrophe Limit -- The most "we" pay for
          any combination of or total of losses arising under
          one or more coverages in any one occurrence is:                       $50,000,000



          PROPERTY COVERAGE PART


          LIMITS

          --    Building Property Limit -- The most
                "we" pay for loss at any one "covered location" is:              Per SOV

          --    Business Personal Property Limit -- The most
                "we" pay for loss at any one "covered location" is:              Per SOV

                                                             or

          --    Combined Blanket Limit -- The most "we" pay
                for loss at any one "covered location" is:                      Not Covered

          ®     Refer To Scheduled Locations

          COVERAGE EXTENSIONS

          --    Consequential Loss                                              See Form

          --    Debris Removal, Additional Expense                              $250,000

          --    Emergency Removal                                               365 days

          --    Emergency Removal Expense                                       $25,000

          --    Fraud and Deceit                                                $5,000

          --    Damage From Theft                                               See Form

          --    Off Premises Utility
                Service Interruption

                -   Limit                                                       $50,000

                ❑   Overhead Transmission Lines Excluded


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          SUPPLEMENTAL COVERAGES

          --    Brands or Labels Expense                                      $50,000

          --    Expediting Expenses                                           $50,000

          --    Fire Department Service Charges                               $25,000

          --    Inventory and Appraisal Expense                               $50,000

          --    Ordinance or Law (Demolition of
                Undamaged Parts of Buildings)                                 $250,000

          --    Ordinance or Law (Increased Cost to Repair/
                Cost to Demolish and Clear Site)                              $250,000

          --    Personal Effects                                              $25,000

          --    Pollutant Cleanup And Removal                                 $100,000

          --    Recharge of Fire Extinguishing Equipment                      Included

          --    Rewards                                                       $250,000

          --    Sewer Backup and Water Below the Surface                      $100,000

          --    Trees, Shrubs, and Plants                                     $50,000

          --    Underground Pipes, Pilings, Bridges,
                and Roadways                                                  $250,000

          SUPPLEMENTAL MARINE COVERAGES

          --    Accounts Receivable                                           $100,000

          --    Electrical or Magnetic Disturbance of
                Computers                                                     See Form

          --    Power Supply Disturbance of
                Computers                                                     See Form

          --    Virus and Hacking Coverage

                -   Limit any one occurrence                                  $25,000

                -   Limit any 12 month period                                 $50,000

          --    Fine Arts                                                     $100,000

          --    Off Premises Computers                                        $25,000

          --    Property On Exhibition                                        $50,000


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          SUPPLEMENTAL MARINE COVERAGES (cont.)

          --    Property In Transit                                              $50,000

          --    Sales Representative Samples                                     $50,000

          --    Software Storage                                                 $50,000

          --    Valuable Papers                                                  $100,000

          ADDITIONAL PROPERTY SUBJECT TO LIMITATIONS

          --    Furs (theft)                                                     $10,000

          --    Jewelry (theft)                                                  $10,000

          --    Stamps, Tickets, Letters of Credit                                 $5,000

          COVERAGE OPTIONS (check if applicable)

          ❑     Actual Cash Value Applies

          ❑     Automatic Increase

                -   Automatic Increase                                           Not Covered

          ®     Scheduled Locations

                -   Newly Built or Acquired Buildings                            $1,000,000

                -   Personal Property - Acquired Locations                       $500,000

                -   Locations "You" Elect Not To Describe                        $250,000

                -   Coinsurance                                                  0%



          DEDUCTIBLE


          Check One
                                                                 Per CO 1235 Multiple Deductible
          ®     Deductible Amount
                                                                 Endorsement
          ❑     Refer to Deductible Endorsements




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          INCOME COVERAGE PART


          COVERAGE (check one)

          ❑     Income Coverage Does Not Apply

          ®     Earnings, Rents, and Extra Expense

          ❑     Earnings and Extra Expense

          ❑     Rents and Extra Expense

          ❑     Extra Expense Only

          LIMIT (check one)

          ® Income Coverage Limit -- The most
            "we" pay for loss at any one "covered location" is:               See Form

          ®     Refer To Scheduled Locations (check if applicable)

          COVERAGE EXTENSIONS

          --    Interruption By Civil Authority                               30 days

          --    Period of Loss Extension                                      90 days

          SUPPLEMENTAL COVERAGES

          --    Computer Virus and Hacking

                -   Limit any one occurrence                                  $25,000

                -   Limit any 12 month period                                 $75,000

                -   Waiting Period                                            12 HOURS

          --    Dependent Locations                                           $100,000

          --    Off Premises Utility
                Service Interruption

                -   Limit                                                     $10,000

                -   Waiting Period                                            12 HOURS

                ❑   Overhead Transmission Lines Excluded




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          INCOME COVERAGE PART (cont.)


          SUPPLEMENTAL COVERAGES (cont.)

          --    Contract Penalty

                -   Limit any one occurrence                                 $25,000

                -   Limit any 12 month period                                $100,000

          --    Pollutants Cleanup and Removal                               $25,000

          --    Property In Transit, On Exhibition, or Custody
                of Sales Representatives                                     $10,000

          COVERAGE OPTIONS (check if applicable)

          ® Scheduled Locations

                -   Newly Built or Acquired Locations                        $500,000

                -   Coinsurance                                              0%

          ® Waiting Period                                                    48 Hours

          ❑     Monthly Limitation                                           Not Covered



          FLOOD COVERAGE


          ❑     Not Covered

          ® Scheduled Flood Coverage

                -   "Catastrophe Limit"                                      $1,000,000
                                                                  Per BIG MANU E- Deductible
                -   Flood Deductible ($,%)
                                                                  Endorsement
          ❑     Blanket Flood Coverage

                -   "Occurrence Limit"                                       Not Covered

                -   "Aggregate Limit"                                        Not Covered

                -   "Catastrophe Limit"                                      Not Covered

                -   Flood Deductible ($,%)                                   Not Covered

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          EARTHQUAKE COVERAGE


          ® Not Covered

          ❑     Scheduled Earthquake Coverage

                -   "Catastrophe Limit"                                      Not Covered

                -   Earthquake Deductible ($,%)                              Not Covered

          ❑     Blanket Earthquake Coverage

                -   "Occurrence Limit"                                       Not Covered

                -   "Aggregate Limit"                                        Not Covered

                -   "Catastrophe Limit"                                      Not Covered

                -   Earthquake Deductible ($,%)                              Not Covered



          EQUIPMENT BREAKDOWN COVERAGE PART


          ❑     Not Covered

          ® EQUIPMENT BREAKDOWN COVERAGE

                                                                  LIMITS              COINSURANCE

          Property Damage                                        Per SOV                       0%

          Income Coverages                                       Per SOV                       0%

          Income Coverages

          Period of Loss Extension                               180 Days

          Coverage Options (check one)

                ® Earnings, Rents, and Extra Expense

                ❑   Earnings and Extra Expense

                ❑   Rents and Extra Expense

                ❑   Extra Expense Only


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              EQUIPMENT BREAKDOWN COVERAGE PART (cont.)


                   COVERAGE EXTENSIONS/SUPPLEMENTAL COVERAGES

                                                         Limit

              --   Expediting Expense               $50,000

              --   Pollutants                       $100,000

                   Ordinance or Law
                   (Undamaged Parts
                   of Buildings)                    $100,000

              --   Ordinance or Law
                   (Increased Cost to
                   Repair / Cost to
                   Demolish and Clear
                   Site)                            $100,000

              --   Off Premises Utility
                   Service Interruption             $100,000

              --   Defense Costs                           covered

                   DEDUCTIBLES

                   Property Coverages                                             $1,000

                   Income Coverages ($, hrs., ADV, or Combined)                   3 Days

                   Other (describe)



                   INCOME COVERAGE OPTIONS (describe)



                   OTHER CONDITIONS (describe)




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         SPOILAGE COVERAGE PART


         ®     Not Covered

         ❑     BLANKET SPOILAGE COVERAGE

               Spoilage Limits

               Location Limit -- The most "we" pay for
               loss at any one "covered location" is:                       Not Covered

               Catastrophe Limit -- The most "we" pay for
               loss in any one occurrence is:                               Not Covered

               Spoilage Deductible                                          Not Covered

               Additional Conditions (check if applicable)

               ❑   Selling Price Valuation

               ❑   Refrigeration, Maintenance, or Service
                   Agreement

         ❑     SCHEDULED SPOILAGE COVERAGE

               Spoilage Limits

               Catastrophe Limit -- The most "we" pay for
               loss in any one occurrence is:                               Not Covered

               Spoilage Deductible                                          Not Covered

               Additional Conditions (check if applicable)

               ❑   Selling Price Valuation

               ❑   Refrigeration, Maintenance, or Service Agreement

               Perils Covered (check if applicable)

               ❑   Breakdown, Malfunction, or Failure (Equipment Breakdown)

               ❑   Refrigerant Contamination (Equipment Breakdown)

               ❑   Refrigerant Contamination (Other Causes Of Loss)

               ❑   Power Disruption (Equipment Breakdown)

               ❑   Power Disruption (Other Causes Of Loss)

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              OPTIONAL COVERAGES AND ENDORSEIVIENTS




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                  aais
                  CO 1052 04 02



                                                                                      LOCATI®iV SCHEDULE
                                                                    (The entries required to complete this endorsement
                                                                  will be shown below or on the "schedule of coverages".)

                                              Coverage provided by the Commercial Output Program coverage parts applies
                                              only to the "covered locations" described below. Refer to "schedule of
                                              coverages" for applicable "limits", additional coverages, and applicable
                                              coinsurance percentage.

Loc .
..__..       __. AUUHt55
                 ___.. _...-_.._                 CITY
                                                 _.,  15T; ZIP                     OCCUPAMCY
                                                                                     _.._...                                                  FLOA
                                                                                                                                               ._._ 'ER~ _ BLDG                                                        BUS PP'a 8PP0 .                          BI        DP_Hard~aLUP SoFtra`                                    Total I
                                                                                                                                                                                                                                                                                         _
   1 2301 SOUiH MAIN Sr      _._               MORrON    ' IL f         OFFICE WHSE                                                                                                                                                                                                                                               5290 000 ,
   2 391LAWiON AVE                            MONROE       OH 45050~ OFFICE                             -                                                       _                     .. -                  $15o000                                                                                                   _       r     =1so000
                                                                                                                                                                                                  ..                   -             'r .                  - -_                                   ---- -
       3..._.
          1601. AND 1609 BLUE ROCK._.
                                   ST         CINCINNATI,
                                                  _         .- ~_ b5223 OFFICE
                                                           OH
                                                                          ._        -                     - -
                                                                                                                                                                000 ...           .           --                                 J,.                                      ,                                                   J     592000`
                                                                                                                                                                                                                       -                                                                      `          - ----
       b 1638 BLUE ROCK ST         _          CINCINNATI i OH4 d5223 WHSE, SHOP OFFICE                                                                                                                                        _~         i10 000 000' $100,000 L-                             I 510100 000 '
                                                                                                                                                                                                                       _-                                                                                     _
       5,1660 DIXON ._.
                      AIRLINE RD            ~ AUGUSTA I GA i 30906
                                                                                                                                                                                                      -:5,000 000:              (                    ; $100,000I                          _ t $5,100,000
                                                                                                                                                                                                                                                                                              i
 _     6  5122  PATTERSO_N_AV_E    _        ' PER_RIS    ! C_A 925711 YAR..D                                                                                        _ __                                                                    $500,000           i'~._.._...-._........-..._.__
                                                                                                                                                                                                                                                                                      "       3 _ 5500,000
   -_.17 906 W CRYSTAL LAKE RD          -'    FOREST CIT} IA I 50436 OFFICE AND YARD__
                                                                           ---
                                                                                                                                                                  _~                      -             5100,000            $9996        $12000000 $100,0001            _                 _   ~  $12,209,996
  18' 80- PAUL
. _         ._ R. FOULKE PKWY            _' HAGERST01 IN ( d7346 OFFICE                                        S3                                                000 '.--                               517662                000
                                                                                                                                                                                                                            55,           $20o0000 ._. $100,000(                              I $2,311,262
                                                                                                                                                                .-_- ~.                -.                   2_
  19,.56960 ELK PAR_ K.DR     _             ~,,ELKHARi i IN ~ _b6516 OFFICE YARD                       ~ _ .                                                                                                i17s 000       $2o 0001 $s 000 000, $10o 000!_                                                                    ~ $5,235,000'
                                                                                             . ....                                                                 1_            - _                                                                                                                             _
  20 , 501KESCO DR                          - BRISiOL ~IN ~_ 46507 OFFICE -YARD__              _                                                                                                            Sd0 000     St851 S2,000.000                   . 5700 0001 ~                                                        _ 52140,785
  21 3052HACKBERRYORIVE                        GOSHEN     IN ~46526.YARO,BLDG10-12ocrcfencad-modularbldgforotfia                                                                                            Sd5000 _        ~ 52000000
  ~_           ._-                                                                                                                                              Y                         ~
                                                                                                                                                                                                  -                            -                              _. _. ~                         -                               ~ S20b5,000
                                                                                                                                                                                                                                                                                                                                  _. -._ -
  22 4800 URBANA RD                             SPRINGFIELCOHf 45504 OFFICE                                                                                S1                                                        s22,000' 53500000                         5100000~                                                          13634,000
  23b620N_WMCKENNONR_0_                       - PEN_DLETONIOR 878012MHOF_FICE-5_A_CREYAflD_                                                                     000#                                                               . $2000000 _                       ~                                                       ~ $2003000'
                                                                                                                                                                                                                                                          _   _                                               _
  25 b900 _  JOHN _.-
                  DEERE PKWY . -          GROVETOWI
                                            ._.     GA 30813 OFFICEfYARD                                                                                                                                                          ~- _$2,500,OOOi - $100000~_ _ ._. . '                                                     ~ 52,600,000
                                                                                                                                                                                                                                                                      --                                          --          ---
  26, 922 MOLLY POND RD -       _         AUGUSrA   GA 30906
                                                          -_ OFFICEIWAREHOUSE                                                            L~                                                                                                              ~1
                                           __                        .__                                                        ~                                                                                                _- 55000000 $100000                                                                      f~   $5,100,000
  27'
  __....2340 DOUG BERNARD
                       .     PKWY-A~ort - AUGUSfA GA ..~ 30906 OFFICE WAREHOUSE                                                                  Z8t             510900000 5250000, .510000000 - 5100000                                           521,825,287
                                                                                                                                                        _                                                            - .                    _
  28--233 JOHN
             - _ DEERE
                  _.__ PKWY               GROVEfOWI GA_..
                                                       ~ 30813
                                                             . , OFFICE  WAREHOUSE
                         _ ....   {                              . ._ _.-._.                                                                    - ~.. ._._ ..-...S250o0,000
                                                                                                                                                ~                _ _ . ..._             $2500000 ._ .$100000
                                                                                                                                                                                                      _. _ . _ . .,..,. _ _                    ~ $27,600,000
  30' d301EVANSTO LOCKS RD                    ~.EVANS   ; GA ~ 30809 6.00 acres                                                          '      _                                    7 $2500000 $100,000                                        f $2600,000
  _..         --- -         -                                       --    -                                                                 - -
  3510011NDUSTRIALPKWY                  .-.   MCDONOUGGA"130253: OFFICE
                                              ~_.                                                                                        •                         5300,000_ 5100,OOOi^ __ ___ ' 5100,000,_-                     il
                                                                                                                                                                                                                           S6Lb00.__   $583,10o _ $1,145,100'
 --- --------
  36
   _.__.10011NDUSTRIAL
                   _.__ PKWY         _ ...    MCDONOUGy GA_. 30253i
                                                               _      OFFICE                                                                                      $1,000A00, $1000m- ,               $100,000 _558,000                              $1,258,000'
                                                                                                                                                                                                                -                    -- --- 4- _.--
  37. _....,.
      10011NDUSiRIALPKWY
                . .....                       A'ICOONOUG
                                                       . GA'   30253 OFFICE                                                                                       51200000 ;3500001                ,$100,000             $100,400 _ T
                           ............           .._       J___..        ._       ,. ., _..          .       .         .                _- ..                                             _ ~                                                      $1,750,400
 _38_10011NOUSTRIALPKWY                        MCOONOUG GA 130253 OFFICE                   _                                             --                                                          5100,000             $1d500                     S36d,500
  39 100I INDUSTRIALPKWY                       MCDONOUG GA j 30253 OFFICE                                                                ~-                        $398,700_ $301300'         - ~ $100,000"               555,000,               -    $855,000
  w                                                                                                                                                                                                   5100,OD0  $20,000"                          ___5100,000.                           $33700                   __ _~
      IVVIIIYVVJIt51f5LPI,W1                  'R9GUVI4UlAWliA13VGD3,                                                                                                                                                                                                                                                               $253.700
                                                             .      , Urt4:C   _                                                          -                         1
                                                                                                                                                                                                  --__._.._.__ -_.__ _ _                                                                    ~
      1001INDUSfRIAL PKWY                      MCDONOUG GA ~ 30253 OFFICE                                               _                 ~~_                                                        $1o0 000'  $50 000                                        5100,000                - $68,100 ~                                  5318,100_
  42 10011NDUSTRIAL
             __.. PKWY                         MCDONOUG GA l 30253 STORAGE                                                                                                                            S80 000-                                             $100,000                                                                 $180,000
                                                                                                                                                                -~-                                                                                _                                                                                    _
  43
   _ 10011NDUSTRIALPKWY
               _ .                             MCDONOUGGA ' 30253 SHOP-OFFICE
                                                                          _            _.....                                                                       I                                       5155000,       5250001_                        5100,000                      $14.300                                   $294,900
  4b 10011NOUSTRIAI PKWY                       MCDONOUG GA I 30253 _OFFICE                                                                                                                                  $165 053       $129353
                                                                       __ .            ---            ----                                    _                                                                                             _             - 5100 000~_                 _ $6b 600                  ~                5459,006
  45 10011NDUSTRIALPKWY                        MCDONOUGGA 30253 YARD                                                                                       525000~ M-A                        -                               -~            52,500,000                                    -H y ~                                  $2,525,000
  46,10011NDUSTRIAL
   r-                PKWY ... .                MCDONOUG GA ~ 30253 ORIVERS LOUNGE                                                                                                                           $76,000         SS,000l                                        I    $S 400                                              $86,400
                                                                                                                                                                                                                _
  d7_3_75RIVERSIOEDRIVE                       ~LITHIASPRINGA~ 30122.DATACENfER                                                           1-                         I_                                                                                                    j _ $27790_0~
                       .. _ . .                                                                           ~             _                                                                                                            ~-.          ,      ---      -              -     - - -- -
                                                                                                                                                                                                                                                                                                                              i   _ 5277,900
  48 bi17 S MERIDIAN
                   _        _                  PAUYALLUP WA! 98373 OFFICE                                                                                                                                                   SSAcOL
                                                                                                                  ---       •---~__                                                                                                                                                                                           f
  501649S53THAVE __                            PHOENIX    A2 850b3OFFICE        _,                                      _.. . _.    s66A1S                                                                                                              -                                                                            566015
                                                                                                                                                                                              _                                                 ___
   51 18111 S SANfA FE AVE UNff B              RANCHO DOi CA 90221 WAREHOUSE YARO.OFFICE                                        ~_ =16 000~~~ --                                                                       -             s 0 000 000 S100A00~-                                                ~                 i     $10,116.000
   2,2366 E VICTORIA ST            µ           RANCHO DO CA ! 90221 WAREHOUSE                                                             -                         I                                                                t $1000 000                --                                                          A     $1,000,000
 53~ 1767 DIXON AIRLINE ROAO                   AUGUSTA } GA ( 30906 SiORAGE
                                                                      -      YARD                                                                                                                                                      52,500,000                     ~                                                -;         52,500,000'
~.-                                                                              -     - --                             -       ---                             - r-             ---                        -                        ~       -- ---                   -~- -             --        -               -                       -
 56' 276 W SiATE RO 130                        VALPARAISC IN 146385 OFFICE -YARO
                                                                             ~---__._..___.                                                                       1                                         569,000         $2,000                                      I                                                     ~      571,000
                                                                                                                        _. -.___                                                   _                    -                  --_                -   ----       --                               -    --      ------
  58 1021E 1TiH ST                             CHATTANOC TN 37d08 OFFICE-YARD                                                 ,                                     ~-~                       -             $175,000       $d0,000i                        S100A00 _                                                                $315,000
  59 Sb510ATES RD                              HOUSI'ON !TX ~ 77013 OFFICE7YARD                                                                                     J_ ~-
                                                                                              _                                           --~                                                            -                      LL 4=5,000,000                                                                            ~       SS 000,000
  6011510 N HAMPTON RD STE 110                 DESOTO
                                                _ _ _   `TX   75115`OFFICE                                                                                   ;                                          5100,000           S10,OOOi               -              -             -                                                    $110,000
  61;106000LDBEAUMONfHWY                       HOUSiON ,TX i 77078 OFFICEYARD                                                                          $505,500_                                        5750,000~          532,0003          5500,000
             --       -                                f-                  - -            -       ---                                                                        -                -                                                           m$100,000I                         $d0,000                      SO'     $1,927,500
  62 402 S MCCOY 6LVD                          NEW BOSTOJX I 75570' OFFICE                                                                             S100,000)                                        $350,000            S15,000' _                     $100,000;                                                                $565000
  63 20951 MINES_RD                           i LARE00   ~TX_ i 780dS OFFICE YARD_ .                  -. ._.            .       . - .                  $d00,000( b3d50 bldg 1, and 72 D00 bldg 2                                     i       :100,000_                                                                             5500,000
                                                                                     --                                                                                                                                                                         -.    _                               -                     I
  64 801N 2ND AVE                        CARBON CLI IL ~61239         OFFICE SHOP                                                                          $d3,000i                                     $d20 000                  j                                    ~~.                                                  I      $d63,000
                                                                                                                                                                                                                                                          T           .;_                                     _
  68.......
      806 NWY 181 NORTH                  BEEVILLE TX , 78102
                                                          _ .         OFFICE
                                                                       . _. AND
                                                                             _ . YARD _ -_ -                                             .,            -            ~                                   $250 000           $15 000, _                                                                                              $265 000
                                                                                                                                                                                                                                                                                   _                                  _
  69 2101NW Frontagc Rd 181 Bypm; Apt 71 BEEVILLE iX ~ 78102          Apartmont
      -~
  TO'b836WL00P281                        LONGVIEW
                                           ._      ITX ~ 75603                                                    _         -       -         _..                   ~                 _                $1083750                                            ~fOQ000                                        _               -~       $1183750
  75' 8515 PRATT AVE                     DURHAM ~ CA ~ 95938          OFFICE                                            _            _                              (                                                       SSA001,                                       Tj                                                          SS,000
                                                                     --                           -           -                                                                                                                                                                                                               i
  80, 608 CARNATION DRIVE                NAMPA     1ID {              YARD ON_LY                                                                                                                                                  t          $250,000 ~                                                                            $250,000
                                                                                                                                                                                                                                                                      -                                                   _
  82;11872 CR 12 „     -      .-          MIOOLEBUR' IN 146540                                                                                                      i                                       510.000 _                                                                                                     ~-         510,000.
                                                                                                                                                                                                                              ~..                                                  _     -                 -~
 8b 118bNMAINSiSTEB
~_.  - ____..- - ----              _           ROXBORO i~NC~  _ _ 27573 OFFICE
                                                                           __.                                                                                                                                             qoADO                                                                                                     $10000
                                                                                                                                                                                              _                                                                                                           _
  86' 13601NOUSTRIAL WAY                       WOODBURN OR ; 97071 OFFICE    _ YARD
                                                 -                                                                                                 -                -                             -- $2S,000                                                                                                                         $2S,000
                                                                                                                                                                                                                                                                                                                                    --    -.
  91 1b
     066
       . R.T 322
             ---                               SHIPPENVILL
                                                         _ !.PA r 16254 OFFIARD
                                                                            CE-Y
                                                                            _..                                             _       . ._.._                                                                                520,000!          f250,000                                                                         L    $270,000
  93-1203 N OLO ROBINSON RD                    ROBINSON ~TX i 76706 MOBILE OFFICE          _                                                  --                         -                                       S0        $10 000!                                                                                         Si0A00
                 -                            - -                                                                                                                                     -       -                                               -                       A--                                 ^          r
                                                                                                                                        _»_ $1867,802'                       -        _           $48908765 $1579934+583,600,000 $2,700,0001                                            =793900               5583700( S140,034,101;
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                                   This endorsement changes
                                           the policy
                              --PLEASE READ THIS CAREFULLY--

This endorsement, effective: March 30, 2019
(at 12:01 A.M. standard time at the address of the Named Insured as shown on the Declarations)
forms a part of Policy No: 0307-2801


                                 Blanket Loss Payee/Mortgagee

This endorsement modifies insurance provided under the following:

COMMERCIAL OUTPUT PROGRAM

The COMMERCIAL OUTPUT PROGRAM PROPERTY COVERAGE PART is amended to
include the following:

Blanket Loss Payee/Mortgagee
   A Blanket Loss Payee is added for covered property under this policy as their interest(s)
   may appear under a written agreement with you prior to any loss or damage.




AII other terms and conditions remain unchanged.




BIG MANU F
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AAIS                                     This endorsement changes
CO 1227 05 02                                    the policy
Page 1 of 3                        -- PLEASE READ THIS CAREFULLY --

                      SCHEDULED LOCATIONS ENDORSEMENT
                                                           b. is not subject to and not considered in
PROPERTY COVERED                                              applying coinsurance when coinsurance
                                                              conditions are added to this coverage;
                                                              and
The following provision is added to Property
Covered.                                                   c. does not extend coverage to personal
                                                              property at fairs or exhibitions.
Scheduled Locations -- Coverage provided by
the Commercial Output Program coverages                1. Newly Built or Acquired Buildings -- "We"
applies only to the "covered locations" described         cover direct physical loss to "your" buildings
on the Location Schedule.                                 or structures:

                                                           a. being built at "covered locations" or while
                                                              being built at other than "covered
                                                              locations"; or
ADDITIONAL COVERAGES
                                                           b. that "you" acquire during the policy
                                                              period.
The following Additional Coverages indicate an
applicable "limit". This "limit" may also be shown         This additional coverage applies for 120 days
on the "schedule of coverages". If a different             from the date "you" acquire or begin to
"limit" is indicated on the "schedule of                   construct the building or structure or until
coverages", that "limit" will apply instead of the         "you" report the property to "us", whichever
"limit" shown below.                                       occurs first. This coverage does not go
                                                           beyond the end of the policy period.
However, if no "limit" is.indicated for an
Additional Coverage, coverage is provided up to            "You" must pay any additional premium due
the full "limit" for the applicable covered property       from the date construction is started or from
unless a different "limit" is indicated on the             the date "you" acquire the property.
"schedule of coverages".
                                                           The most "we" pay in any one occurrence for
Unless otherwise indicated, a"limit" for an                each newly built or acquired building or
Additional Coverage provided below is separate             structure is $500,000.
from, and not part of, the applicable "limit" for
coverage described under Property Covered.             2. Business Personal Property - Acquired
The "limit" available for coverage described              Locations -- "We" cover direct physical loss
under an Additional Coverage:                             to "your" business personal property at
                                                          locations that "you" acquire during the policy
    a. is the only "limit" available for the              period.
       described coverage; and
                                                           This coverage applies for 120 days from the
    b. is not the sum of the "limit" indicated for         date "you" acquire the location or until "you"
       an Additional Coverage and the "limit" for          report the acquired location to "us",
       coverage described under Property                   whichever occurs first. This coverage does
       Covered.                                            not go beyond the end of the policy period.

Unless otherwise stated, each additional                   "You" must pay any additional premium due
coverage:                                                  from the date "you" acquire the location.

    a. applies to loss caused by a covered peril;
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    The most "we" pay in any one occurrence for
    business personal property at each location       HOW MUCH WE PAY
    "you" acquire is $250,000.

3. Locations "You" Elect Not To Describe --
                                                      The following provisions are added to How Much
   "We" cover direct physical loss to "your"
                                                      We Pay if a coinsurance percentage is indicated
   building property and business personal
                                                      on the "schedule of coverages".
   property at locations that are not described
   on the Location Schedule.
                                                      1. Coinsurance, Property Coverage Part --
                                                         "We" pay only a part of the loss if the'9imit" is
    The'9imit" provided under this additional
                                                         less than the value of the covered property at
    coverage cannot be combined or added to
                                                         the time of the loss multiplied by the
    the'9imits" for Newly Acquired Buildings and
                                                         coinsurance percentage. "Our" part of the
    Personal Property - Acquired Locations.
                                                         loss is determined using the following steps:
    The most "we" pay in any one occurrence for
                                                          a. multiply the value of the covered property
    each unscheduled location is $50,000.
                                                             at the time of the loss by the coinsurance
                                                             percentage;
4. Newly Built or Acquired Locations -
   Income Coverage -- If the Commercial
                                                          b. divide the "9imit" for covered property by
   Output Program - Income Coverage Part is
                                                             the result determined in a. above;
   attached to this policy, "we" extend "your"
   coverage for earnings and extra expense to
                                                          c. multiply the total amount of loss, after the
   include direct physical loss to "your" covered
                                                             application of any deductible, by the
   property while at any location being built or at
                                                             result determined in b. above.
   locations that "you" acquire during the policy
   period.
                                                          "We" pay the amount determined in c. above
                                                          or the "9imit", whichever is less. "We" do not
    If a loss occurs at a location being built and
                                                          pay any remaining part of the loss.
    the loss delays the start of "your" "business",
    the "restoration period" starts from the time
                                                          If there is more than one "9imit" indicated on
    "your" "business" would have begun had no
                                                          the "schedule of coverage", this procedure
    loss occurred.
                                                          applies separately to each covered property
                                                          for which a'9imit" is shown.
    This coverage applies for 120 days from the
    date the location is acquired or construction
                                                          If there is only one "9imit" indicated on the
    begins or until "you" report the location to
                                                          "schedule of coverage", this procedure
    "us", whichever occurs first. This coverage
                                                          applies to the total of all covered property to
    does not go beyond the end of the policy
                                                          which the'9imit" applies.
    period.
                                                      2. Coinsurance, Income Coverage Part -- If
    "You" must pay any additional premium due
                                                         the Commercial Output Program - Income
    from the date construction is started or "you"
                                                         Coverage Part is attached to this policy, "we"
    acquire the location.
                                                         pay only a part of the loss if the "9imit" is less
                                                         than the coinsurance percentage multiplied
    The most "we" pay in any one occurrence for
                                                         by the sum of "your" net income (net profit or
    loss of earnings and incurred extra expense
                                                         loss before income taxes) and continuing
    at each newly acquired or built location is
                                                         operating expenses projected for the 12
    $250,000.
                                                         months following the inception of this policy
                                                         or the last previous anniversary date of this
                                                         policy (whichever is later), normally earned
                                                         by "your" "business".
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   "Our" part of the loss is determined using the       "We" pay the amount determined in c. above
   following steps:                                     or the "limit", whichever is less. "We" do not
                                                        pay any remaining part of the loss.
   a. multiply the coinsurance percentage by
      the sum of "your" net income and                  If there is more than one "limit" indicated on
      continuing operating expenses projected           the "schedule of coverage" for the Income
      for the 12 months following the inception         Coverage Part, this procedure applies
      of this policy or the last previous               separately to each "limit".
      anniversary date of this policy;
                                                        Coinsurance does not apply to coverage for
   b. divide the "limit" by the figure determined       extra expense.
      in a. above;

   c. multiply the total amount of loss by the      CO 1227 05 02
      figure determined in b. above.                Copyright, American Association of Insurance Services, 2002
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AAIS                                    This endorsement changes
CO 1229 10 07                                   the policy
Page 1 of 1                       -- PLEASE READ THIS CAREFULLY --
                                  NAMED STORM EXCLUSION
          "We" do not cover the property at the location described below for loss caused
          by or resulting from a named storm.

          Excluded Locations:
                "AII Locations"

          "We" do not pay for loss or damage caused directly or indirectly by a named
          tropical windstorm or hurricane to property at the locations listed above. Such
          loss or damage is excluded regardless of other causes or events that contribute
          to or aggravate the loss, whether such causes or events act to produce the loss
          before, at the same time as, or after the excluded cause.

          A named tropical windstorm or hurricane means a storm system that has been
          declared and named a tropical windstorm or hurricane by the National Hurricane
          Center of the National Weather Service continuing for the time period during
          which the tropical storm or hurricane conditions exist and ending 72 hours
          following the termination of the last tropical storm or hurricane watch or warning
          issued by the National Hurricane Center of the National Weather Service.




CO 1229 10 07




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AAIS                                 This endorsement changes
CO 1235 04 02                                the policy
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                            MULTIPLE DEDUCTIBLE
                       SCHEDULED LOCATIONS AND PROPERTY
                         (The entries required to complete this endorsement
                       will be shown below or on the "schedule of coverages".)


          HOW MUCH WE PAY

          The deductible provision is deleted and replaced by the following:

          For the locations described on this schedule, "we" pay only that part of "your" loss
          over the deductible amount indicated for the described location, in any one
          occurrence.

          AII other "covered locations" not described on the Multiple Deductible schedule


          Scheduled Locations and Property Schedule Locations

          Property/Coverage Deductible ADplies to:                        Deductible:
          Building                                                        $10,000
          Property of Others                                              $10,000
          Interior Water Damage Deductible                                $25,000
          Business Person Property                                        $1,000




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AAIS                                    This endorsement changes
CO 1281 04 02                                   the policy
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                      WAITING PERIOD -- INCOME COVERAGE
As specified below, this endorsement amends              b. requires the demolition of any property,
the provisions of the Commercial Output                     in part or in whole, not damaged by a
Program -- Income Coverage Part.                            covered peril.

                                                         The ordinance, law, or decree must be in
                                                         force at the time of loss.
DEFINITIONS
                                                     3. Only as regards coverage described under
                                                        Dependent Locations in the Coverage
The Definition of "restoration period" is deleted       Extensions, "restoration period" also means
and replaced by the following:                          the time it should reasonably take to resume
                                                        "your" "business" to a similar level of service
"Restoration period" means:                             beginning:

1. The time it should reasonably take to resume          a. for earnings, after the first 72 hours
   "your" "business" to a similar level of service          (unless otherwise indicated on the
   beginning:                                               "schedule of coverages") following the
                                                            direct physical loss of or damage to
    a. for earnings, after the first 72 hours               property at a"covered location" that is
       (unless otherwise indicated on the                   caused by a covered peril; and
       "schedule of coverages") following the
       direct physical loss of or damage to              b. for extra expenses, immediately following
       property at a"covered location" that is              the direct physical loss of or damage to
       caused by a covered peril; and                       property at a"covered location" that is
                                                            caused by a covered peril.
    b. for extra expenses, immediately following
       the direct physical loss of or damage to         The "restoration period" for "dependent
       property at a"covered location" that is          locations" ends on:
       caused by a covered peril.
                                                        a. the date the property at the "dependent
    The "restoration period" ends on the date the          location" should be rebuilt, repaired, or
    property should be rebuilt, repaired, or               replaced; or
    replaced or the date business is resumed at
    a new permanent location. This is not limited       b. the date business is resumed at a new
    by the expiration date of the policy.                  permanent location.

2. The "restoration period" also means the              This is not limited by the expiration date of
   increased time required to comply with the           the policy.
   enforcement of any ordinance, law, or decree
   that:

   a. regulates the construction, use, or repair
      of any property; or
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                                                      2. for extra expense, immediately after the time
COVERAGE EXTENSION                                       the order is issued, and ends 30 consecutive
                                                         days and 72 hours from the date of the order.

The following coverage extension is deleted and
replaced by the following:
                                                      SUPPLEMENTAL COVERAGES
Interruption by Civil Authority -- "We" extend
"your" coverage for earnings and extra expense
to include loss sustained while access to             The waiting period described under OPP Premises
"covered locations" or a dependent location is        Utility Service Interruption is not deleted and
specifically denied by an order of civil authority.   replaced by the provisions of this endorsement.
This order must be a result of direct physical loss
of or damage to property, other than at a             If the Interruption of Web Site endorsement is
"covered location" and must be caused by a            attached to the Commercial Output Program --
covered peril.                                        Income Coverage Part, the described waiting
                                                      period under Interruption of Web Site is not
Unless otherwise indicated on the "schedule of        deleted and replaced by the provisions of this
coverages", this coverage extension begins:           endorsement.

1. for earnings, 72 hours after the time the order
   is issued and ends 30 consecutive days and         CO 1281 04 02
   72 hours from the date of the order; and           Copyright, American Association of Insurance Services, 2002
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AAIS                                  This endorsement changes
CL 0677 01 11                                 the policy
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                                     HOW MUCH WE PAY
                        NO COVERAGE FOR DIMINISHED VALUE


          HOW MUCH WE PAY


          Under How Much We Pay, the Loss Settlement Terms are amended to include
          the following provision.

          No Coverage For Diminished Value -- Regardless of the method used to
          determine the amount under Valuation or under Valuation Of Property Losses,
          "we" do not pay for any loss in market value as a result of repairing, replacing, or
          rebuilding the covered property.




CL 0677 01 11




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AAIS                                  This endorsement changes
CL 0620 01 15                                 the policy
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                  CERTIFIED ACT OF TERRORISM EXCLUSION
                         (WITH LIMITED EXCEPTION)
1. The following definitions are added.                      2. The following exclusion is added.

   a. "Certified act of terrorism" means an act                   CERTIFIED ACT OF TERRORISM
      that is certified by the Secretary of the                   EXCLUSION
      Treasury, in consultation with the
      Secretary of Homeland Security, and the                     "We" will not pay for loss or damage caused
      Attorney General of the United States:                      directly or indirectly by a"certified act of
                                                                  terrorism". Such loss or damage is excluded
        1) to be an act of terrorism;                             regardless of any other cause or event that
        2) to be a violent act or an act that is                  contributes concurrently or in any sequence
           dangerous to human life, property, or                  to the loss.
           infrastructure;
        3) to have resulted in damage:                            Fire Exception -- If a"certified act of
                                                                  terrorism" results in fire, "we" will pay for the
           a) within the United States; or                        loss or damage caused by that fire. This
           b) to an air carrier (as defined in                    exception for fire applies only to direct loss or
              section 40102 of title 49, United                   damage by fire to covered property. This
              States Code); to a United States                    exception does not apply to coverage for loss
              flag vessel (or a vessel based                      of earnings, extra expense, or fire legal
              principally in the United States,                   liability.
              on which United States income
              tax is paid and whose insurance                     If the Secretary of the Treasury determines
              coverage is subject to regulation                   that the aggregate amount of "certified
              in the United States), regardless                   terrorism loss" has exceeded one hundred
              of where the loss occurs; or at                     billion dollars in a calendar year (January 1
              the premises of any United                          through December 31), and "we" have met
              States mission;                                     "our" insurer deductible under the Terrorism
                                                                  Risk Insurance Act, as amended, "we" will
       4) to have been committed by an                            not pay for any portion of "certified terrorism
          individual or individuals, as part of an                loss" that exceeds one hundred billion
          effort to coerce the civilian population                dollars. If the "certified terrorism loss"
          of the United States or to influence                    exceeds one hundred billion dollars in a
          the policy or affect the conduct of the                 calendar year (January 1 through December
          United States Government by                             31), losses up to one hundred billion dollars
          coercion; and                                           are subject to pro rata allocation in
       5) to have resulted in insured losses in                   accordance with procedures established by
          excess of five million dollars in the                   the Secretary of the Treasury under the
          aggregate, attributable to all types of                 Terrorism Risk Insurance Act, as amended.
          insurance subject to the Terrorism
          Risk Insurance Act, as amended.

   b. "Certified terrorism loss" means loss that
      results from a"certified act of terrorism".




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3. The following provisions are added.                            b. the absence of any other terrorism
                                                                     endorsement does not imply coverage
   a. Neither the "terms" of this endorsement                        for any loss that would otherwise be
      nor the "terms" of any other terrorism                         excluded by this Coverage Part under:
      endorsement attached to this Coverage
      Part provide coverage for any loss that                          1) exclusions that address war, military
      would otherwise be excluded by this                                 action, or nuclear hazard; or
      Coverage Part under:                                             2) any other exclusion.

       1) exclusions that address war, military
          action, or nuclear hazard; or                      CL 0620 01 15
       2) any other exclusion; and




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                           COMMERCIAL OUTPUT PROGRAM
                            PROPERTY COVERAGE PART

                                                                    d. explosion of steam boilers, steam pipes,
/-ITC]:7:I:I►ytl=I! n                                                  steam turbines, or steam engines that
                                                                       "you" own or lease or that are operated
                                                                       under "your" control;
In return for "your" payment of the required
premium, "we" provide the coverage described                        e. loss to steam boilers, steam pipes,
herein subject to all the "terms" of the                               steam turbines, or steam engines caused
Commercial Output Program. This coverage is                            by any condition or occurrence within
also subject to the "schedule of coverages" and                        such equipment; or
additional policy conditions relating to
assignment or transfer of rights or duties,                         f.   loss to hot water boilers or heaters
cancellation, changes or modifications,                                  caused by any condition or occurrence
inspections, and examination of books and                                within such equipment.
records.
                                                               4. "Business" means the usual business
Endorsements and schedules may also apply.                        operations occurring at "covered locations"
They are identified on the "schedule of                           including the tenantability of "covered
coverages".                                                       locations" when the selected coverage option
                                                                  includes "rents".
Refer to Definitions for words and phrases that
have special meaning. These words and phrases                  5. "Computers" means:
are shown in quotation marks or bold type.
                                                                    a. "hardware" owned by "you" or in "your"
                                                                       care, custody, or control; or

                                                                    b. "software".
DEFINITIONS
                                                               6. "Computer hacking" means an unauthorized
                                                                  intrusion by an individual or group of
1. The words "you" and "your" mean the                            individuals, whether employed by "you" or
   persons or organizations named as the                          not, into a"computer", a Web site, or a
   insured on the "schedule of coverages".                        "computer" network and that results in but is
                                                                  not limited to:
2. The words "we", "us", and "our" mean the
   company providing this coverage.                                 a. deletion, destruction, generation, or
                                                                       modification of "software";
3. "Accident" means direct physical loss as
   follows:                                                         b. alteration, contamination, corruption,
                                                                       degradation, or destruction of the
    a. mechanical breakdown;                                           integrity, quality, or performance of
                                                                       "software";
    b. rupturing or bursting of moving parts of
       machinery caused by centrifugal force;                       c.   observation, scanning, or copying of
                                                                         "data records", "programs and
    c.   loss caused by arcing or electrical                             applications", and "proprietary
         currents other than lightning;                                  programs";




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    d. damage, destruction, inadequacy,                            b. buildings, structures, or compartments
       malfunction, degradation, or corruption of                     that cover or house "covered
       any "hardware" or "media" used with                            equipment";
       "hardware"; or
                                                                   c.   foundations that support "covered
   e. denial of access to or denial of services                         equipment";
      from "computers", "computer" network, or
      Web site including related "software".                       d. sewage and other underground piping
                                                                      and vessels, water piping, or sprinkler
7. "Computer virus" means the introduction into                       system piping. However, "we" cover:
   a "computer", "computer" network, or Web
   site of any malicious, self-replicating                              1) boiler feedwater and condensate
   electronic data processing code or other                                return piping; and
   code and that is intended to result in, but is                       2) water piping for heating, air
   not limited to:                                                         conditioning, or refrigeration
                                                                           systems;
    a. deletion, destruction, generation, or
       modification of "software";                                 e. "mobile equipment", including but not
                                                                      limited to draglines or other excavation
    b. alteration, contamination, corruption,                         equipment;
       degradation, or destruction of the
       integrity, quality, or performance of                       f.   aircraft or watercraft and their motors,
       "software";                                                      equipment, and accessories;

   c. damage, destruction, inadequacy,                                  automobiles, motor trucks, tractors,
      malfunction, degradation, or corruption of                        trailers, and similar conveyances and
      any "hardware" or "media" used with                               their motors, equipment, and
      "hardware"; or                                                    accessories. However, any property that
                                                                        is stationary, permanently installed at a
    d. denial of access to or denial of services                        "covered location", and receives
       from "computers", "computer" network, or                         electrical power from an external power
       Web site including related "software".                           supplier will not be considered an
                                                                        automobile, motor truck, tractor, or
8. "Covered equipment", unless otherwise                                trailer; or
   specified in a schedule, means equipment:
                                                                   h. "computers".
   a. that generates, transmits, or utilizes
      energy; or                                              9. "Covered location" means any location or
                                                                 premises where "you" have buildings,
    b. which, during normal usage, operates                      structures, or business personal property
       under vacuum or pressure, other than                      covered under this coverage.
       the weight of its contents.
                                                                   However, if the Scheduled Locations
   Such equipment must be covered property,                        Endorsement is added to this policy,
   except as speciflcally provided for under                       "covered location" means a location that is
   Utility Service Interruption coverage and the                   described on the Location Schedule.
   Spoilage Coverage Part.
                                                                   "Covered location" does not mean vehicles
   "Covered equipment" does not mean:                              containing covered property, except vehicles
                                                                   on or within 1,000 feet of the premises of any
   a. equipment manufactured by "you" for                          covered building or structure.
      sale;


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10. "Data records" means files, documents, and                      a. mainframe and mid-range computers
    information in an electronic format and that                       and servers;
    are stored on "media".
                                                                    b. personal computers and workstations;
11. "Dependent locations" means locations that
    are operated by others and that "your"                          c. laptops, palmtops, notebook PCs, other
    "business" depends on, as described below                          portable computer devices and
    Dependent locations includes but is not                            accessories including, but not limited to,
    limited to:                                                        multimedia projectors; and

    a. contributing locations, these are "your"                     d. peripheral data processing equipment,
       suppliers' locations or locations of                            including but not limited to, printers,
       suppliers that deliver services or                              keyboards, monitors, and modems.
       materials to others for "your" account.
       Contributing locations do not include                   15. "Limit" means the amount of coverage that
       suppliers of:                                               applies.

         1) water;                                             16. "Media" means an instrument that is used
         2) telecommunications, including but                      with "hardware" and on which "data records",
            not limited to Internet service                        "programs and applications", and proprietary
            providers; or                                          programs can be recorded or stored. "Media"
         3) power;                                                 includes, but is not limited to, films, tapes,
                                                                   cards, discs, drums, cartridges, cells, DVDs,
    b. recipient locations, these are locations                    or CD-ROMs.
       that receive "your" products;
                                                               17. "Mobile equipment" means:
    c.   leader locations, these are locations that
         attract customers to "your" "business"; or                 a. contractors' equipment or similar
                                                                       equipment of a mobile or floating nature;
    d. manufacturing locations, these are
       locations that make products for delivery                    b. self-propelled vehicles designed and
       to "your" customers under contract of                           used primarily to carry mounted
       sale.                                                           equipment; or

12. "Fine arts" means bona fide works of art of                     c. vehicles designed for highway use that
    rarity, historical value, or artistic merit,                       are unlicensed and not operated on
    including but not limited to paintings,                            public roads.
    etchings, pictures, tapestries, and art glass
    windows.                                                   18. "Money" means currency, bullion, coins,
                                                                   bank notes in current use, and traveler's
13. "Flood" means flood, surface water, waves,                     checks, register checks, and money orders
    tidal water, or the overflow of a body of                      held for sale to the public.
    water, all whether driven by wind or not. This
    includes spray that results from any of these              19. "Off-site server" means a server for "your"
    whether driven by wind or not.                                 Web site that is being maintained or operated
                                                                   by and that is located at the premises of:
14. "Hardware" means a network of electronic
    machine components (microprocessors)                            a. an independent contractor acting as
    capable of accepting instructions and                              "your" Web host; or
    information, processing the information
    according to the instructions, and producing                    b. "your" Internet service provider that is
    desired results. "Hardware" includes but not                       acting as "your" Web host.
    limited to:

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20. "One accident" means:                                            b. the fair rental value of any part of a
                                                                        "covered location" that "you" occupy, less
    When an initial "accident" causes or results                        any expenses that do not continue; and
    in other "accidents", all of the "accidents" will
    be considered "one accident". AII "accidents"                    c. other charges for which a tenant is
    that are the result of the same occurrence                          legally obligated and which "you" would
    will be considered "one accident".                                  otherwise be obligated.

21. "Perishable stock" means personal property                  26. "Restoration period" means:
    preserved and maintained under controlled
    conditions and susceptible to loss or damage                     a. The time it should reasonably take to
    if the controlled conditions change.                                resume "your" "business" to a similar
                                                                        level of service starting from the date of a
22. "Pollutant" means:                                                  physical loss of or damage to property at
                                                                        a"covered location" that is caused by a
    a. any solid, liquid, gaseous, thermal, or                          covered peril and ending on the date:
       radioactive irritant or contaminant,
       including but not limited to acids, alkalis,                       1) the property should be rebuilt,
       chemicals, fumes, smoke, soot, vapor,                                 repaired, or replaced; or
       and waste. Waste includes materials to                             2) business is resumed at a new
       be recycled, reclaimed, or reconditioned,                             permanent location.
       as well as disposed of; and
                                                                          This is not limited by the expiration date
    b. electrical or magnetic emissions, whether                          of the policy.
       visible or invisible, and sound emissions.
                                                                     b. The "restoration period" also means the
23. "Programs and applications" means                                   increased time required to comply with
    operating programs and applications that                            the enforcement of any ordinance, law,
    "you" purchase and that are:                                        or decree that:

    a. stored on "media"; or                                              1) regulates the construction, use, or
                                                                             repair of any property; or
    b. pre-installed and stored in "hardware".                            2) requires the demolition of any
                                                                             property, in part or in whole, not
    Applications includes, but is not limited to,                            damaged by a covered peril.
    programs for word processing, spreadsheet
    calculations, and graphic design.                                     However, except as provided under
                                                                          Supplemental Income Coverage,
24. "Proprietary programs" means proprietary                              Pollutant Cleanup and Removal, "we" do
    operating programs and applications that                              not cover the costs associated with the
    "you" developed or that "you" had developed                           enforcement of any ordinance, law, or
    specifically for "you" and that are:                                  decree that requires "you" or anyone
                                                                          else to test for, monitor, clean up,
    a. stored on "media"; or                                              remove, contain, treat, detoxify, or
                                                                          neutralize or in any way respond to or
    b. installed and stored in "hardware".                                assess the effects of "pollutants".

25. "Rents" means "your" actual loss of:                                  The ordinance, law, or decree must be in
                                                                          force at the time of loss.
    a. rental income from a"covered location"
       as furnished or equipped by "you", less
       any expenses that do not continue;


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    c.   Only as regards coverage described                          b. declarations or supplemental
         under Dependent Locations in the                               declarations which pertain to this
         Supplemental Income Coverages,                                 coverage.
         "restoration period" also means the time
         it should reasonably take to resume                    28. "Securities" means negotiable and
         "your" "business" starting from the date                   nonnegotiable instruments or contracts
         of direct physical loss of or damage to a                  representing either "money" or other
         "dependent location" caused by a                           property. This includes, but is not limited to,
         covered peril, and ending on the date:                     stock certificates; tokens, tickets, revenue, or
                                                                    stamps (whether represented by actual
         1) the property at the "dependent                          stamps or unused value in a meter) in
            location" should be rebuilt, repaired,                  current use; and evidences of debt used in
            or replaced; or                                         connection with charge, credit, or debit cards
         2) business is resumed at a new,                           that are not issued by "you", but does not
            permanent location.                                     include "money".

         This is not limited by the expiration date             29. "Sinkhole collapse" means the sudden
         of the policy.                                             settlement or collapse of earth supporting the
                                                                    covered property into subterranean voids
   d. Only as regards coverage described                            created by the action of water on a limestone
      under Off Premises Utility Service                            or similar rock formation. It does not include
      Interruption; and Property In Transit, On                     the value of the land or the cost of filling
      Exhibition, or In the Custody Of Sales                        sinkholes.
      Representatives in the Supplemental
      Income Coverages, "restoration period"                    30. "Software" means:
      also means the time it should reasonably
      take to resume "your" "business" starting                      a. "media";
      from the date of direct physical loss of or
      damage caused by a covered peril to:                           b. "data records";

         1) property not located at a"covered                        c.   "programs and applications"; and
            location" and that is owned by a
            utility, a landlord, or another utility                  d. "proprietary programs".
            supplier;
         2) the "off-site server" for "your" Web                31. "Specified perils" means aircraft; civil
            site or the location that houses the                    commotion; explosion; falling objects; fire;
            "off-site server" for "your" Web site;                  hail; leakage from fire extinguishing
         3) property in transit, on exhibition, or in               equipment; lightning; riot; "sinkhole collapse";
            the custody of sales representatives;                   smoke; sonic boom; vandalism; vehicles;
                                                                    "volcanic action"; water damage; weight of
         and ending on the date the property                        ice, snow, or sleet; and windstorm.
         should be rebuilt, repaired, or replaced.
         This is not limited by the expiration date                  Falling objects does not include loss to:
         of the policy.
                                                                     a. business personal property in the open;
27. "Schedule of coverages" means:                                      or

   a. all pages labeled schedule of coverages                        b. to the interior of buildings or structures,
      or schedules which pertain to this                                or business personal property inside
      coverage; and                                                     buildings or structures unless the exterior
                                                                        of the roof or walls are first damaged by
                                                                        a falling object.


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    Water damage means the sudden or                                  a. completed additions;
    accidental discharge or leakage of water or
    steam as a direct result of breaking or                           b. fixtures, machinery, and equipment
    cracking of a part of the system or appliance                        which are a permanent part of a covered
    containing the water or steam.                                       building or structure;

32. "Spoilage" means any detrimental change in                       c. outdoor fixtures;
    physical state of "perishable stock".
    Detrimental change includes, but is not                          d. personal property owned by "you" and
    limited to, thawing of frozen goods, warming                        used to maintain or service a covered
    of refrigerated goods, solidification of liquid or                  building or structure or its premises. This
    molten material, chemical reactions to                              includes air-conditioning equipment; fire
    material in process, and reduction in value of                      extinguishing apparatus; floor coverings;
    time sensitive materials.                                           and appliances for refrigerating, cooking,
                                                                        dish washing, and laundering;
33. "Terms" are all provisions, limitations,
    exclusions, conditions, and definitions that                     e. if not covered by other insurance,
    apply.                                                              buildings and additions to buildings
                                                                        under construction, alteration, and repair
34. "Theft" means any act of stealing, including                        including:
    burglary or robbery.
                                                                          1) materials, equipment, supplies, and
35. "Valuable papers" means documents,                                       temporary structures, on or within
    manuscripts, or records that are inscribed,                              1,000 feet of a"covered location",
    printed, or written. This includes, but is not                           intended and designated for use in
    limited to, abstracts, books, deeds, drawings,                           the construction, alteration, and
    films, maps, or mortgages.                                               repair of buildings or additions to
                                                                             buildings; and
36. "Volcanic action" means airborne volcanic                             2) "your" contractual liability for the
    blast or airborne shock waves; ash, dust, or                             interest of contractors and sub-
    particulate matter; or lava flow. It does not                            contractors in buildings and additions
    include the cost to remove ash, dust, or                                 to buildings under construction,
    particulate matter that does not cause direct                            alteration, and repair such as
    physical loss to the covered property.                                   materials, equipment, supplies, and
                                                                             temporary structures, on or within
                                                                             1,000 feet of a"covered location",
                                                                             intended and designated for use in
PROPERTY COVERED                                                             the construction, alteration, and
                                                                             repair of buildings or additions to
                                                                             buildings;
"We" cover the following property unless the
property is excluded or subject to limitations.                      f.   building glass;

"We" cover direct physical loss to covered                           g. the following property if it is located on or
property at a"covered location" caused by a                             within 1,000 feet of a covered building or
covered peril.                                                          structure:

BUILDING PROPERTY                                                         1) radio and television towers,
                                                                             antennas, satellite dishes, masts,
1. Covered Building Property -- Covered                                      lead-in wiring, and guy wires. This
   Building Property means buildings and                                     includes foundations and any other
   structures and:                                                           property that is permanently attached
                                                                             to any of these types of property;

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        2) awnings or canopies; and                                 b. leased personal property which "you"
        3) fences;                                                     have a contractual responsibility to
                                                                       insure;
   h. signs, whether or not they are attached
      to covered buildings, or structures; or                       c. "your" interest in personal property of
                                                                       others to the extent of "your" labor,
   i.   foundations of buildings, structures,                          material, and services;
        machinery, or boilers.
                                                                    d. "computers", if not covered by other
2. Building Property That Is Not Covered --                            insurance;
   Except as provided under Supplemental
   Coverages - Underground Pipes, Pilings,                          e. personal property which will become a
   Bridges and Roadways, Covered Building                              part of "your" installation, fabrication, or
   Property does not include:                                          erection project while:

   a. pilings, piers, wharves, docks, or                                 1) at the site of installation, fabrication,
      retaining walls;                                                      or erection; or
                                                                         2) while in temporary storage awaiting
   b. underground pipes, flues, or drains; and                              installation, fabrication, or erection.

   c. bridges, walkways, roadways, and other                             Coverage under this provision is not
      paved surfaces.                                                    restricted to buildings or structures at a
                                                                         "covered location" or within 1,000 feet of
BUSINESS PERSONAL PROPERTY                                               a "covered location";

   Covered Business Personal Property --                            f.   "mobile equipment", if not covered by
   Covered business personal property means                              other insurance. Coverage under this
   "your" business personal property in                                  provision is not restricted to buildings or
   buildings or structures at a"covered location"                        structures at a"covered location" or
   or in the open (or in vehicles) on or within                          within 1,000 feet of a"covered location";
   1,000 feet of a"covered location". This                               and
   includes:
                                                                    g. personal property of others. This means
   a. "your" use interest as a tenant in                               personal property of others that is in
      improvements to the buildings or                                 "your" care, custody, or control.
      structures. Improvements are fixtures,
      alterations, installations, or additions:                          Personal property of others includes
                                                                         property that is sold under an installation
        1) to a building or structure "you"                              agreement where "your" responsibility
           occupy but do not own; and                                    continues until the property is accepted
        2) made or acquired at "your" expense                            by the buyer.
           and which cannot be legally removed
           by "you".                                                     "Our" payment for loss to personal
                                                                         property of others will only be for the
        "We" also cover "your" interest as a                             benefit of the owners of the personal
        tenant in undamaged improvements that                            property.
        "you" lose because "your" lease has
        been canceled by the lessor as a result                2. Business Personal Property That Is Not
        of damage to the building or structure                    Covered -- Covered business personal
        "you" occupy but do not own. The                          property does not include:
        damage to the building must be caused
        by a covered peril;                                         a. "off-site server"; and


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    b. except as provided under Supplemental                  4. Automobiles and Vehicles -- "We" do not
       Marine Coverages;                                         cover automobiles, motor trucks, tractors,
                                                                 trailers, and similar conveyances designed
        1) personal property in transit as                       and used for over-the-road transportation of
           described under Property In Transit;                  people or cargo.
        2) "fine arts" as described under Fine
           Arts;                                                   "We" do cover:
        3) "computers" while away from a
           "covered location" as described                         a. "mobile equipment" described under
           under Off Premises Computers;                              Business Personal Property; and
        4) property while temporarily on display
           or exhibit as described under                           b. automobiles and vehicles that "you"
           Property On Exhibition;                                    manufacture, process, or warehouse.
        5) samples of "your" stock as described                       However, "we" do not cover automobiles
           under Sales Representative                                 or vehicles held for sale, lease, loan or
           Samples; and                                               rental.
        6) duplicate or back-up "software" as
           described under Software Storage.                  5. Checked Luggage -- "We" do not cover loss
                                                                 resulting from "theft" or disappearance of a
                                                                 laptop, palmtop, notebook PC, or any
                                                                 portable "computer" while in transit as
PROPERTY NOT COVERED                                             checked luggage.

                                                              6. Contraband -- "We" do not cover contraband
1. Airborne or Waterborne Property -- "We"                       or property in the course of illegal
   do not cover airborne or waterborne personal                  transportation or trade.
   property unless the property is being
   transported by regularly scheduled airlines or             7. Cost of Excavation -- "We" do not cover the
   ferry service.                                                cost of excavations, grading, filling, or
                                                                 backfilling. However, if a covered loss occurs
2. Aircraft or Watercraft -- "We" do not cover                   to covered property below the surface of the
   aircraft or watercraft (and their motors,                     ground, "we" cover costs that are a
   equipment, and accessories) that are                          necessary part of the repairing, rebuilding, or
   operated principally away from a"covered                      replacement of the property.
   location". However, "we" do cover:
                                                              8. Crops While Outside of 13uildings -- "We"
   a. aircraft or watercraft (and their motors,                  do not cover grain, hay, straw, or other crops
      equipment, and accessories) that "you"                     while outside of buildings.
      manufacture, process, warehouse, or
      hold for sale; and                                      9. Exports and Imports -- "We" do not cover
                                                                 exported or imported property that is covered
   b. rowboats or canoes out of water at a                       under any ocean marine cargo insurance
      "covered location".                                        policy or any similar policy that anyone has
                                                                 obtained covering exports and imports.
3. Animals -- "We" do not cover animals,
   including but not limited to birds and fish,               10. Land, Water, and Growing Crops -- "We"
   unless owned by others and boarded by                          do not cover:
   "you". "We" do cover animals "you" own and
   hold for sale while inside of buildings.                        a. land, including but not limited to land on
                                                                      which the covered property is located;




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    b. underground or surface water; or                        However, if no "limit" is indicated for a Coverage
                                                               Extension, coverage is provided up to the full
    c. growing crops.                                          "limit" for the applicable covered property unless
                                                               a different "limit" is indicated on the "schedule of
11. Money, Securities, Accounts, and                           coverages".
    Valuable Papers -- Except as provided
    elsewhere in this policy, "we" do not cover                Unless otherwise indicated, the coverages
    "money", "securities", accounts, bills, and the            provided below are part of and not in addition to
    cost to reproduce, replace, or restore                     the applicable "limit" for coverage described
    "valuable papers" and lost information.                    under Property Covered.

12. Outdoor Trees, Shrubs, Plants, or Lawns -                  The "limit" provided under a Coverage Extension
    - Except as provided under Supplemental                    cannot be combined or added to the "limit" for
    Coverages - Trees, Shrubs, and Plants, "we"                any other Coverage Extension or Supplemental
    do not cover trees, shrubs, plants, or lawns               Coverage including a Coverage Extension or
    (other than stock).                                        Supplemental Coverage that is added to this
                                                               policy by endorsement.
13. Property More Specifically Insured -- "We"
    do not cover property which is more                        The following coverage extensions are not
    specifically insured in whole or in part by any            subject to and not considered in applying
    other insurance. "We" do cover the amount in               coinsurance when coinsurance conditions are
    excess of the amount due from the more                     added to this coverage.
    specific insurance whether "you" can collect
    on it or not.                                                   Consequential Loss -- "We" pay for "your"
                                                                    consequential loss of undamaged business
14. Property of Others -- "We" do not cover                         personal property. Consequential loss means
    property of others for which "you" are                          the loss of value of an undamaged part or
    responsible as:                                                 parts of a product which becomes
                                                                    unmarketable. It must be unmarketable due
    a. a carrier for hire; or                                       to a physical loss to another part or parts of
                                                                    the product caused by a covered peril.
    b. an arranger of transportation. This
       includes carloaders, consolidators,                     2. Debris Removal -- "We" pay the cost to
       brokers, freight forwarders, or shipping                   remove the debris of covered property that is
       associations.                                              caused by a covered peril. This coverage
                                                                  does not include costs to:
15. Property You Have Sold -- "We" do not
    cover property that "you" have sold after it                    a. extract "pollutants" from land or water; or
    has been delivered. This does not include
    property which "you" have sold under an                         b. remove, restore, or replace polluted land
    installation agreement.                                            or water.

                                                                    "We" do not pay any more under this
                                                                    coverage than 25% of the amount "we" pay
COVERAGE EXTENSIONS                                                 for the direct physical loss. "We" will not pay
                                                                    more for loss to property and debris removal
                                                                    combined than the "limit" for the damaged
                                                                    property.
The following Coverage Extensions indicate an
applicable "limit". This "limit" may also be shown
in the "schedule of coverages". If a different
"limit" is indicated in the "schedule of coverages",
that "limit" will apply instead of the "limit" shown
below.
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    However, "we" pay up to an additional                      6. Damage From Theft -- "We" cover direct
    $50,000 for debris removal expense when                       physical damage caused by "theft" or
    the debris removal expense exceeds 25% of                     attempted "theft" to:
    the amount "we" pay for direct physical loss
    or when the loss to property and debris                         a. a building that "you" do not own and that
    removal combined exceeds the "limit" for the                       contains "your" business personal
    damaged property.                                                  property; or

    "We" do not pay any expenses unless they                        b. personal property not owned by "you"
    are reported to "us" in writing within 180 days                    within such building and that is used to
    from the date of direct physical loss to                           maintain or service the building or
    covered property.                                                  structure or its premises.

3. Emergency Removal -- "We" pay for any                            This coverage extension only applies to a
   direct physical loss to covered property while                   location where "you" are a tenant and the
   it is being moved or being stored to prevent a                   terms of "your" lease make "you" liable for
   loss caused by a covered peril. This                             damage caused by "theft" or attempted
   coverage applies for up to 365 days after the                    "theft".
   property is first moved, but does not extend
   past the date on which this policy expires.                 7. Off Premises Utility Service Interruption

4. Emergency Removal Expenses -- "We" pay                           a. Coverage -- "We" cover direct physical
   up to $5,000 for "your" expenses to move or                         loss or damage caused by the
   store covered property to prevent a loss                            interruption of an off premises utility
   caused by a covered peril. This coverage                            service when the interruption:
   applies for up to 365 days after the property
   is first moved, but does not extend past the                          1) results in the direct physical loss or
   date on which this policy expires.                                       damage to covered property located
                                                                            at a "covered location"; and
   The "limit" for Emergency Removal                                     2) is a result of direct physical loss or
   Expenses is separate from, and not part of,                              damage by a covered peril to
   the applicable "limit" for coverage described                            property that is not located at a
   under Property Covered.                                                  "covered location" and that is owned
                                                                            by a utility, a landlord, or another
5. Fraud and Deceit -- "We" pay up to $5,000                                supplier who provides "you" with:
   for "theft" of covered property when "you",
   "your" agents, customers, or consignees are                                a) power or gas;
   fraudulently induced to part with the covered                              b) telecommunications, including
   property:                                                                     but not limited to Internet access;
                                                                                 or
   a. to persons who falsely represent                                        c) water, including but not limited to
      themselves as the proper persons to                                        waste water treatment.
      receive the property; or

   b. by the acceptance of fraudulent bills of
      lading or shipping receipts.




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         Overhead Transmission Lines -- If the                 Unless otherwise indicated, a"limit" for a
         "schedule of coverages" indicates that                Supplemental Coverage provided below is
         overhead transmission lines are                       separate from, and not part of, the applicable
         exciuded, coverage under this extension               "limit" for coverage described under Property
         does not include loss to overhead                     Covered. The "limit" available for coverage
         transmission lines that deliver utility               described under a Supplemental Coverage:
         service to "you". Overhead transmission
         lines include, but are not limited to:                a. is the only "limit" available for the described
                                                                  coverage;and
         1) overhead transmission and
            distribution lines;                                b. is not the sum of the "limit" indicated for a
         2) overhead transformers and similar                     Supplemental Coverage and the "limit" for
            equipment; and                                        coverage described under Property Covered.
         3) supporting poles and towers.
                                                               The "limit" provided under a Supplemental
    c.   Perishable Stock Exclusion --                         Coverage cannot be combined or added to the
         Coverage under this extension does not                "limit" for any other Supplemental Coverage or
         include loss of "perishable stock" due to             Coverage Extension including a Supplemental
         "spoilage" that results from:                         Coverage or Coverage Extension that is added to
                                                               this policy by endorsement.
         1) complete or partial lack of electrical
            power; or                                          Unless otherwise stated, each supplemental
         2) fluctuation of electrical current.                 coverage:

    d. Applicable Limit -- The most "we" pay in                a. applies to covered property in or on buildings
       any one occurrence under this Coverage                     or structures at a"covered location" or in the
       Extension is $50,000.                                      open (or in vehicles) within 1,000 feet of a
                                                                  "covered location"; and

                                                               b. is not subject to and not considered in
SUPPLEMENTAL COVERAGES                                            applying coinsurance when coinsurance
                                                                  conditions are added to this coverage.

The following Supplemental Coverages indicate                       Brands or Labels Expense -- If covered
an applicable "limit". This "limit" may also be                     business personal property is damaged and
shown in the "schedule of coverages". If a                          the damage is caused by a covered peril,
different "limit" is indicated in the "schedule of                  "we" have the option to take all or any part of
coverages", that "limit" will apply instead of the                  the damaged business personal property at
"limit" shown below.                                                the agreed or appraised value. "You" may
                                                                    stamp salvage or remove any brands or
However, if no "limit" is indicated for a                           labels from the property or its containers.
Supplemental Coverage, coverage is provided up                      "You" must not damage the property or
to the full "limit" for the applicable covered                      containers when "you" remove the brands or
property unless a different "limit" is indicated on                 labels. "You" must re-label the merchandise
the "schedule of coverages".                                        or its containers if required by law.

                                                                    The most "we" pay in any one occurrence for
                                                                    "your" expenses for stamping or removing
                                                                    brands or labels is $50,000.




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2. Expediting Expenses -- When a covered                              b. regulates the construction or repair of a
   peril occurs to covered property, "we" pay for                        building or structure, or establishes
   reasonable expenses necessary to expedite                             building, zoning, or land use
   permanent repairs or replacement and make                             requirements at a"covered location"; and
   temporary repairs to damaged covered
   property. Expediting expenses include                              c. is in force at the time of loss.
   additional labor or overtime, and
   transportation costs.                                              "We" do not cover the costs associated with
                                                                      the enforcement of any ordinance, law, or
    The most "we" pay for all expediting                              decree that requires "you" or anyone else to
    expenses in any one occurrence is $50,000.                        test for, monitor, clean up, remove, contain,
                                                                      treat, detoxify, or neutralize or in any way
3. Fire Department Service Charges -- "We"                            respond to or assess the effects of
   pay up to $25,000 to cover "your" liability,                       "pollutants".
   assumed by contract or agreement prior to
   the loss, for fire department service charges.                     This coverage is part of and not in addition to
                                                                      the applicable "limit" for coverage described
    This coverage is limited to charges incurred                      under Property Covered.
    when the fire department is called to save or
    protect covered property from a covered                      6. Ordinance or Law (Increased Cost to
    peril.                                                          Repair and Cost to Demolish and Clear
                                                                    Site) --
    No deductible applies.
                                                                      a. Increased Cost to Repair -- When a
4. Inventory and Appraisal Expense -- "We"                               covered peril occurs to a covered
   pay up to $50,000 for reasonable expenses,                            building or structure, "we" cover the:
   for the taking of inventory and appraisals,
   incurred by "you" at "our" request to assist                            1) increased cost to repair, rebuild, or
   "us" in the determination of the amouht of a                               reconstruct damaged portions of a
   loss caused by a covered peril.                                            covered building or structure; and
                                                                           2) increased cost to repair, rebuild, or
   "We" do not pay for:                                                       reconstruct undamaged portions of a
                                                                              covered building or structure whether
   a. any expenses incurred under the Other                                   or not those undamaged portions
      Conditions, Appraisal section of this                                   need to be demolished;
      coverage; or
                                                                           as a result of the enforcement of
   b. any public adjusters' fees or attorneys'                             building, zoning, or land use ordinance,
      fees.                                                                law, or decree and is in force at the time
                                                                           when a covered peril occurs to a covered
5. Ordinance or Law (Undamaged Parts of a                                  building or structure.
   Building) -- When a covered peril occurs to
   a covered building or structure, "we" pay for                           If a covered building or structure is
   the value of undamaged parts of a covered                               repaired or rebuilt, it must be intended for
   building or structure that is required to be                            similar occupancy as the current
   demolished as a result of the enforcement of                            property, unless otherwise required by
   any ordinance, law, or decree that:                                     building, zoning, or land use ordinance,
                                                                           law, or decree.
   a. requires the demolition of undamaged
      parts of a covered building or structure
      that is damaged or destroyed by a
      covered peril;


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      "We" do not cover the increased cost of                     e. What We Pay If The Building Is Not
      construction until the covered building or                     Repaired or Replaced -- If the covered
      structure is actually repaired or replaced                     building or structure is not repaired or
      and unless the repairs or replacement                          replaced, "we" pay the lesser of:
      are made as soon as reasonably
      possible after the loss, not to exceed two                       1) the amount "you" actually spend to
      years.                                                              demolish and clear the site; plus the
                                                                          cost "you" would have incurred to
   b. Cost to Demolish and Clear Site --                                  replace the damaged or destroyed
      "We" cover the cost to demolish and                                 property with other property:
      clear the site of undamaged parts of the
      covered building or structure that is                                 a) of like kind, and quality;
      damaged or destroyed by a covered                                     b) of the same height, floor area,
      peril. The demolition must be a result of                                and style; and
      the enforcement of a building, zoning, or                             c) used for the same purpose; or
      land use ordinance, law, or decree that is
      in force at the time when a covered peril                        2) $100,000.
      occurs to a covered building or structure.
                                                             7. Personal Effects -- "We" cover direct
   c. We Do Not Cover -- "We" do not cover                      physical loss caused by a covered peril to
      the costs associated with the                             personal effects owned by "you", "your"
      enforcement of any ordinance, law, or                     officers, "your" partners, or "your"
      decree that:                                              employees.

      1) requires "you" or anyone else to test                    The most "we" pay for loss to personal
         for, monitor, clean up, remove,                          effects in any one occurrence or at any one
         contain, treat, detoxify, or neutralize                  "covered location" is $15,000.
         or in any way respond to or assess
         the effects of "pollutants"; or                     8. Pollutant Cleanup arid Removal -- "We"
      2) "you" were required to comply with                     pay "your" expense to extract "pollutants"
         before the covered peril occurred to                   from land or water if the discharge, dispersal,
         a covered building or structure, even                  seepage, migration, release, or escape of the
         if the building or structure was                       "pollutants" is caused by a covered peril that
         undamaged and "you" failed to                          occurs during the policy period. The
         comply with the ordinance, law, or                     expenses are paid only if they are reported to
         decree.                                                "us" in writing within 180 days from the date
                                                                the covered peril occurs.
   d. What We Pay If The Building Is
      Repaired or Replaced -- If the covered                      "We" do not pay the cost of testing,
      building or structure is repaired or                        evaluating, observing, or recording the
      replaced, "we" pay the lesser of:                           existence, level, or effects of "pollutants".
                                                                  However, "we" pay the cost of testing which
      1) the amount "you" actually spend to                       is necessary for the extraction of "pollutants"
         demolish and clear the site, plus the                    from land or water.
         actual increased cost to repair,
         rebuild, or construct the property but                   The most "we" pay for each site or "covered
         not for more than a building or                          location" is $50,000 for the sum of all such
         structure of the same height, floor                      expenses arising out of a covered peril
         area, and style; or                                      occurring during each separate 12 month
      2) $100,000.                                                period of this policy.




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9. Recharge of Fire Extinguishing                                   The most "we" pay for loss caused by sewer
   Equipment -- "We" pay up to $50,000 to                           backup and water below the surface in any
   cover "your" incurred expenses to recharge                       one occurrence is $25,000.
   "your" automatic fire extinguishing equipment
   or hand held flre extinguishing equipment                   12 Trees, Shrubs, and Plants -- "We" cover
   when the equipment is discharged:                              direct physical loss (and debris removal
                                                                  expenses) to outdoor trees, shrubs, plants,
    a. to fight a fire;                                           and lawns at a"covered location". "We" only
                                                                  cover loss caused by:
    b. as a result of a covered peril; or
                                                                    a. fire;
    c. as a result of an accidental discharge.
                                                                    b. lightning;
    However, "we" do not pay for "your"
    expenses to recharge equipment as a result                      c. explosion;
    of a discharge during testing or installation.
                                                                    d. riot or civil commotion;
    If it is less expensive to do so, "we" will pay
    "your" costs to replace "your" automatic fire                   e. falling objects; or
    extinguishing equipment or hand held fire
    extinguishing equipment rather than                             f.   vandalism.
    recharge the equipment.
                                                                    The most "we" pay for loss to trees, shrubs,
10. Rewards -- "We" pay up to $10,000 as a                          and plants in any one occurrence is $50,000.
    reward for information that leads to a
    conviction for arson, "theft", or vandalism.                    Coverage under this supplemental coverage
    The conviction must involve a covered loss                      does not apply to property held for sale by
    caused by arson, "theft", or vandalism.                         "you".

    The amount "we" pay is not increased by the                13. Underground Pipes, Pilings, Bridges, and
    number of persons involved in providing the                    Roadenrays -- "We" cover direct physical loss
    information.                                                   caused by a covered peril to:

11. Sewer Backup and Water Below the                                a. pilings, piers, wharves, docks, or
    Surface -- "We" cover direct physical loss                         retaining walls;
    caused by:
                                                                    b. underground pipes, flues, or drains; and
    a. water that backs up through a sewer or
       drain; or                                                    c. bridges, walkways, roadways, and other
                                                                       paved surFaces.
        water below the surface of the ground,
        including but not limited to water that                     The most "we" pay under this Supplemental
        exerts pressure on or flows, seeps, or                      Coverage in any one occurrence or at any
        leaks through or into a covered building                    one "covered location" is $250,000.
        or structure, sidewalk, driveway,
        foundation, swimming pool, or other
        structure.




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                                                                1. Accounts Receivable -- "We" pay up to
SUPPLEMENTAL MARINE                                                $50,000 to cover losses and expenses that
                                                                   "you" incur as a result of a direct physical
COVERAGES
                                                                   loss caused by a covered peril to "your"
                                                                   records of accounts receivable.
The following Supplemental Marine Coverages                          Losses and expenses under this coverage
indicate an applicable "limit". This "limit" may also                means:
be shown in the "schedule of coverages". If a
different "limit" is indicated in the "schedule of                   a. all sums due "you" from customers,
coverages", that "limit" will apply instead of the                      provided "you" are unable to effect
"limit" shown below.                                                    collection;
However, if no "limit" is indicated for a                            b. interest charges on any loan used to
Supplemental Marine Coverage, coverage is                               offset impaired collections pending "our"
provided up to the full "limit" for the applicable
                                                                        payment of such sums;
covered property unless a different "limit" is
indicated on the "schedule of coverages".                            c. collection expenses in excess of normal
                                                                        collection costs made necessary
Unless otherwise indicated, a"limit" for a
                                                                        because of loss or damage; and
Supplemental Marine Coverage provided below
is separate from, and not part of the applicable
                                                                     d. other reasonable expenses incurred by
"limit" for coverage described under Property                           "you" in recreating records of accounts
Covered. The "limit" available for coverage
                                                                        receivable following such loss or
described under a Supplemental Marine                                   damage.
Coverage:
                                                                2. Electrical or Magnetic Disturbance of
a. is the only "limit" available for the described
                                                                   Computers -- "We" cover direct physical loss
   coverage; and
                                                                   to "computers" caused by electrical or
                                                                   magnetic disturbance that results in electrical
b. is not the sum of the "limit" indicated for a
                                                                   or magnetic damage to "computers" and
   Supplemental Marine Coverage and the
                                                                   damage to, disturbance of, or erasure of
   "limit" for coverage described under Property
                                                                   electronic records.
   Covered.
                                                                     This coverage is part of and not in addition to
The "limit" provided under a Supplemental
                                                                     the applicable "limit" for coverage described
Marine Coverage cannot be combined or added
                                                                     under Property Covered.
to the "limit" for any other Supplemental Marine
Coverage, Supplemental Coverage, or Coverage
                                                                3. Power Supply Disturbance of Computers -
Extension including a Supplemental Marine
                                                                   -"We" cover direct physical loss to
Coverage, Supplemental Coverage, or Coverage
                                                                   "computers" caused by power supply
Extension that is added to this policy by
                                                                   disturbance such as interruption of power
endorsement.
                                                                   supply, power surge, blackout, or brownout.
The following supplemental marine coverages
                                                                     This coverage is part of and not in addition to
are not subject to and not considered in applying
                                                                     the applicable "limit" for coverage described
coinsurance when coinsurance conditions are
                                                                     under Property Covered.
added to this coverage.




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4. Virus and Ffacking Coverage -- "We" cover                  5. Fine Arts -- "We" cover direct physical loss
   direct physical loss to covered "computers",                  caused by a covered peril to "your" "fine arts"
   "your" "computer" network and "your" Web                      at a"covered location". "We" also cover
   site caused by a"computer virus" or by                        "your" "fine arts" while:
   "computer hacking". However, "we" do not
   cover:                                                          a. temporarily on display or exhibit away
                                                                      from a "covered location"; or
   a. loss of exclusive use of any "data
      records" or "proprietary programs" that                      b. in transit between a"covered location"
      have been copied, scanned, or altered;                          and a location where the "fine arts" will
                                                                      be temporarily on display or exhibit.
   b. loss of or reduction in economic or
      market value of any "data records" or                        The most "we" pay for loss to "fine arts" in
      "proprietary programs" that have been                        any one occurrence or at any one "covered
      copied, scanned, or altered;                                 location" is $100,000.

   c. theft from "your" "data records" or                     6. Off Premises Computers -- "We" cover
      "proprietary programs" of confidential                     direct physical loss caused by a covered peril
      information through the observation of                     to "computers" in the custody of "you", "your"
      the "data records" or "proprietary                         officers, "your" partners, or "your"
      programs" by accessing covered                             employees, while:
      "computers", "your" computer network, or
      "your" Web site without any alteration or                    a. away from a"covered location"; or
      other physical loss or damage to the
      records or programs.                                         b. in transit between a"covered location"
                                                                      and "you", "your" officers, "your"
       Confidential information includes, but is                      partners, or "your" employees.
       not limited to, customer information,
       processing methods; or trade secrets;                       The most "we" pay in any one occurrence for
       and                                                         loss to off premises "computers" is $25,000.

       except as provided under the                           7. Property on Exhibition -- "We" cover direct
       Supplemental Income Coverages section                     physical loss caused by a covered peril to
       of the Commercial Output Program -                        business personal property while temporarily
       Income Coverage Part (if attached to this                 on display or exhibit at locations "you" do not
       policy), denial of access to or services                  regularly occupy.
       from "computers", "your" "computer"
       network, or "your" Web site.                                The most "we" pay in any one occurrence for
                                                                   loss to property on exhibition is $50,000.
   The most "we" pay in any one occurrence
   under this Supplemental Marine Coverage is                 8. Property in Transit -- "We" cover direct
   $25,000.                                                      physical loss caused by a covered peril to
                                                                 business personal property while in transit,
   The most "we" pay for all covered losses                      regardless if the loss involves one or more
   under this Supplemental Marine Coverage                       vehicles, conveyances, containers, trailers,
   during each separate 12-month period of this                  or any combination of these.
   policy is $50,000.




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    a. Property You Have Sold -- "We" also                           c.   in transit between a"covered location"
       cover direct physical loss caused by a                             and "your" sales representatives.
       covered peril to business personal
       property that "you" have sold and are                         The most "we" pay in any one occurrence for
       shipping at the owner's risk. "We" only                       loss to samples of "your" stock in trade is
       pay for loss to business personal                             $50,000.
       property that "you" have sold when the
       shipment has been rejected by the owner                  10. Software Storage -- "We" cover direct
       because:                                                     physical loss caused by a covered peril to
                                                                    duplicate and back-up "software" stored at a
        1) the property is damaged; and                             "software" storage location. Each "software"
        2) the owner of the property has                            storage location must be in a separate
           refused to pay "you".                                    building which is at least 100 feet away from
                                                                    a "covered location".
    b. Rejected Shipments -- "We" also cover
       direct physical loss caused by a covered                      The most "we" pay in any one occurrence for
       peril to rejected shipments while in due                      loss to duplicate and back-up "software" is
       course of transit back to "you" or while                      $50,000.
       awaiting return shipment to "you".
                                                                11. Valuable Papers -- "We" pay up to $100,000
    c. Bills of Lading -- "You" may accept bills                    for the cost of research or other expenses
       of lading or shipping receipts issued by                     necessary to reproduce, replace, or restore
       carriers for hire that limit their liability to              lost information that results from a direct
       less than the actual cash value of the                       physical loss caused by a covered peril to
       covered property.                                            "your" "valuable papers".

    d. Perishable Stock -- "We" do not cover
       loss to "perishable stock" resulting from a
       breakdown of refrigeration equipment on                  PERILS COVERED
       any vehicle, conveyance, container, or
       trailer.
                                                                "We" cover risks of direct physical loss unless the
    The most "we" pay in any one occurrence for
                                                                loss is limited or caused by a peril that is
    loss to property in transit is $50,000.
                                                                excluded.
9. Sales Representative Samples -- "We"
   cover direct physical loss caused by a
   covered peril to samples of "your" stock in
   trade (and containers) and similar property of               PERILS EXCLUDED
   others.

   "We" cover samples of "your" stock in trade                       "We" do not pay for loss or damage caused
   while the property is:                                            directly or indirectly by one or more of the
                                                                     following excluded causes or events. Such
   a. in the custody of "your" sales                                 loss or damage is excluded regardless of
      representatives and agents;                                    other causes or events that contribute to or
                                                                     aggravate the loss, whether such causes or
   b. in "your" custody while acting as a sales                      events act to produce the loss before, at the
      representative; or                                             same time as, or after'the excluded causes
                                                                     or events.




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   a. Ordinance or Law -- Except as provided                      c.   Civil Authority -- "We" do not pay for
      under Supplemental Coverages -                                   loss caused by order of any civil
      Ordinance or Law, "we" do not pay for                            authority, including seizure, confiscation,
      loss or increased cost caused by                                 destruction, or quarantine of property.
      enforcement of any code, ordinance, or
      law regulating the use, construction, or                         "We" do cover loss resulting from acts of
      repair of any building or structure; or                          destruction by the civil authority to
      requiring the demolition of any building or                      prevent the spread of fire, unless the fire
      structure including the cost of removing                         is caused by a peril excluded under this
      its debris.                                                      coverage.

       "We" do not pay for loss regardless if the                 d. Nuclear Hazard -- "We" do not pay for
       loss is caused by or results from the:                        loss caused by or resulting from a
                                                                     nuclear reaction, nuclear radiation, or
       1) enforcement of any code, ordinance,                        radioactive contamination (whether
          or law even if a building or structure                     controlled or uncontrolled; whether
          has not been damaged; or                                   caused by natural, accidental, or artificial
       2) increased costs that "you" incur                           means). Loss caused by nuclear hazard
          because of "your" compliance with a                        is not considered loss caused by fire,
          code, ordinance, or law during the                         explosion, or smoke. Direct loss by fire
          construction, repair, rehabilitation,                      resulting from the nuclear hazard is
          remodeling, or razing of a building or                     covered.
          structure, including the removal of
          debris, following a direct physical                     e. War and Military Action -- "We" do not
          loss to the property.                                      pay for loss caused by:

   b. Earth Movement -- "We" do not pay for                            1) war, including undeclared war or civil
      loss caused by any earth movement                                   war; or
      (other than "sinkhole collapse") or                              2) a warlike action by a military force,
      caused by eruption, explosion, or                                   including action taken to prevent or
      effusion of a volcano. Earth movement                               defend against an actual or expected
      includes, but is not limited to:                                    attack, by any government,
      earthquake; landslide; mudflow;                                     sovereign, or other authority using
      mudslide; mine subsidence; or sinking,                              military personnel or other agents; or
      rising, or shifting of earth.                                    3) insurrection, rebellion, revolution, or
                                                                          unlawful seizure of power including
      "We" do cover direct loss by fire,                                  action taken by governmental
      explosion, or "volcanic action" resulting                           authority to prevent or defend
      from either earth movement or eruption,                             against any of these.
      explosion, or effusion of a volcano.
                                                                       With regard to any action that comes
      This exclusion does not apply to                                 within the "terms" of this exclusion and
      "computers", "mobile equipment", and                             involves nuclear reaction, nuclear
      the Supplemental Marine Coverages.                               radiation, or radioactive contamination,
                                                                       this War and Military Action Exclusion
                                                                       will apply in place of the Nuclear Hazard
                                                                       Exclusion.




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   f.    Flood -- "We" do not pay for loss caused                           This exclusion does not apply to
         by "flood". However, "we" do cover the                             "computers", "mobile equipment", and
         resulting loss if fire, explosion, or                              the Supplemental Marine Coverages.
         sprinkler leakage results.
                                                                  2. "We" do not pay for loss or damage that is
         This exclusion does not apply to                            caused by or results from one or more of the
         "computers", "mobile equipment", and                        following excluded causes or events:
         the Supplemental Marine Coverages.
                                                                       a. Animal Nesting, Infestation, or
         Utility Failure -- Except as provided                            Discharge -- "We" do not pay for loss
         under Coverage Extensions - Off                                  caused by nesting, infestation,
         Premises Utility Service Interruption,                           discharge, or release of waste products
         "we" do not pay for loss caused by or                            or secretions by animals, including but
         resulting from the failure of a utility to                       not limited to, birds, insects, or vermin.
         supply electrical power or other utility
         service to a"covered location", however                            But if nesting, infestation, discharge, or
         caused, if the failure takes place away                            release of waste products or secretions
         from the "covered location".                                       by animals results in a"specified peril" or
                                                                            breakage of building glass, "we" cover
         But if failure of a utility to supply electrical                   the loss or damage caused by that
         or other utility service to a"covered                              "specifled peril" or breakage of building
         location" results in a covered peril, "we"                         glass.
         cover the loss or damage caused by that
         covered peril.                                                b. Collapse -- "We" do not pay for loss
                                                                          caused by collapse, except as provided
         This exclusion does not apply to                                 under the Other Coverages, Collapse.
         "computers", "mobile equipment", and                             But if collapse results in a covered peril,
         the Supplemental Marine Coverages.                               "we" cover the loss or damage caused
                                                                          by that covered peril.
   h. Sewer Backup and Water Below the
         Sunface -- Except as provided under                                This exclusion does not apply to
         Supplemental Coverages - Sewer                                     "computers", "mobile equipment", and
         Backup and Water Below the Surface,                                the Supplemental Marine Coverages.
         "we" do not pay for loss caused by or
         resulting from:                                               c. Computer Virus or Computer Hacking
                                                                          -- Except as provided under
         1) water that backs up through a sewer                           Supplemental Marine Coverages - Virus
            or drain; or                                                  and Hacking Coverage, "we" do not pay
         2) water below the surface of the                                for:                 ~
            ground, including but not limited to
            water that exerts pressure on or                                1) any direct or indirect loss or damage;
            flows, seeps, or leaks through or into                               or
            a covered building or structure,                                2) loss of access, loss of use, or loss of
            sidewalk, driveway, foundation,                                    functionality
            swimming pool, or other structure.
                                                                            caused by a"computer virus" or by
         But if sewer backup and water below the                            "computer hacking".
         surface results in fire, explosion, or
         sprinkler leakage, "we" cover the loss or
         damage caused by that fire, explosion, or
         sprinkler leakage.



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   d. Contamination or Deterioration -- "We"                      f.   Defects, Errors, and Omissions -- "We"
      do not pay for loss caused by                                    do not pay for loss which results from
      contamination or deterioration including                         one or more of the following:
      corrosion, decay, fungus, mildew, mold,
      rot, rust, or any quality, fault, or                             1) an act, error, or omission (negligent
      weakness in covered property that                                   or not) relating to:
      causes it to damage or destroy itself.
                                                                            a) land use;
       But if contamination or deterioration                                b) the design, specification,
       results in a"specified peril" or breakage                               construction, workmanship,
       of building glass, "we" cover the loss or                               installation, or maintenance of
       damage caused by that "specified peril"                                 property;
       or breakage of building glass.                                       c) planning, zoning, development,
                                                                               siting, surveying, grading, or
       This exclusion does not apply to loss                                   compaction; or
       caused by corrosion, decay, fungus,                                  d) maintenance of property (such
       mildew, mold, rot, or rust to "computers"                               as land, structures, or
       that results from direct physical damage                                improvements);
       by a covered peril to the air conditioning
       system that services "your" "computers".                             whether on or off a"covered
                                                                            location";
   e. Criminal, Fraudulent, Dishonest, or
      Illegal Acts -- "We" do not pay for loss                         2) a defect, weakness, inadequacy,
      caused by or resulting from criminal,                               fault, or unsoundness in materials
      fraudulent, dishonest, or illegal acts                              used in construction or repair,
      committed alone or in collusion with                                whether on or off a"covered
      another by:                                                         location";
                                                                       3) the cost to make good an error in
       1) "you";                                                          design; or
       2) others who have an interest in the                           4) a data processing error or omission
          property;                                                       in programming or giving improper
       3) others to whom "you" entrust the                                instructions.
          property;
       4) "your" partners, officers, directors,                        In addition, "we" do not pay for loss to
          trustees, joint adventurers; or                              business personal property caused by
       5) the employees or agents of 1), 2), 3),                       deficiencies or defects in design,
          or 4) above, whether or not they are                         specifications, materials, or
          at work.                                                     workmanship, or caused by latent or
                                                                       inherent defects.
      This exclusion does not apply to acts of
      destruction by "your" employees, but                             But if a defect, error, or omission as
      "we" do not pay for "theft" by employees                         described above results in a covered
                                                                       peril, "we" cover the loss or damage
      This exclusion does not apply to covered                         caused by that covered peril.
      property in the custody of a carrier for
      hire.




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   g. Electrical Currents -- "We" do not pay                             But if a mechanical breakdown or
      for loss caused by arcing or by electrical                         rupturing or bursting of moving parts of
      currents other than lightning. But if arcing                       machinery caused by centrifugal force
      or electrical currents other than lightning                        results in a"specified peril", the
      result in fire, "we" cover the loss or                             breakage of building glass, or an elevator
      damage caused by that fire.                                        collision, "we" cover the loss or damage
                                                                         caused by that "specified peril",
         "We" do cover the direct loss by a                              breakage of building glass, or elevator
         covered peril which occurs at "covered                          collision.
         locations" as a result of any power
         interruption or other utility services.                         This exclusion does not apply to
                                                                         "computers".
         This exclusion does not apply to
         "computers".                                               I.   Neglect -- "We" do not pay for loss
                                                                         caused by "your" neglect to use all
   h. Steam Boiler Explosion -- "We" do not                              reasonable means to save covered
      pay for loss caused by an explosion of                             property at and after the time of loss.
      steam boilers, steam pipes, steam
      turbines, or steam engines that "you"                              "We" do not pay for loss caused by
      own or lease or that are operated under                            "your" neglect to use all reasonable
      "your" control.                                                    means to save and preserve covered
                                                                         property when endangered by a covered
         But if an explosion of steam boilers,                           peril.
         steam pipes, steam turbines, or steam
         engines results in a fire or combustion                    m. Pollutants -- "We" do not pay for loss
         explosion, "we" cover the loss or damage                      caused by or resulting from release,
         caused by that fire or combustion                             discharge, seepage, migration, dispersal,
         explosion. "We" also cover loss or                            or escape of "pollutants":
         damage caused by or resulting from the
         explosion of gas or fuel in a firebox,                          1) unless the release, discharge,
         combustion chamber, or flue.                                       seepage, migration, dispersal, or
                                                                            escape is caused by a"specified
   i.    Increased Hazard -- "We" do not pay for                            peril" or
         loss occurring while the hazard has been                        2) except as specifically provided under
         materially increased by any means within                           the Supplemental Coverages,
         "your" knowledge or "your" control.                                Pollutant Cleanup and Removal.

   j.    Loss of Use -- "We" do not pay for loss                         "We" do pay for any resulting loss
         caused by loss of use, delay, or loss of                        caused by a "specified peril".
         market.
                                                                         Seepage -- "We" do not pay for loss
   k. Mechanical Breakdown -- "We" do not                                caused by continuous or repeated
      pay for loss caused by mechanical                                  seepage or leakage of water or steam
      breakdown or rupturing or bursting of                              that occurs over a period of 14 days or
      moving parts of machinery caused by                                more.
      centrifugal force.




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   o. Settling, Cracking, Shrinking, Bulging,                           "We" do pay for loss to "computers" that
      or Expanding -- "We" do not pay for loss                          results from direct physical damage by a
      caused by settling, cracking, shrinking,                          covered peril to the air conditioning
      bulging, or expanding of pavements,                               system that services "your" "computers".
      footings, foundations, walls, ceilings, or
      roofs. But if settling, cracking, shrinking,                 s. Wear and Tear -- "We" do not pay for
      bulging, or expanding results in a                              loss caused by wear and tear, marring,
      "specified peril" or the breakage of                            or scratching.
      building glass, "we" cover the loss or
      damage caused by that "specified peril"                           But if wear and tear, marring, or
      or the breakage of building glass.                                scratching results in a"specified peril" or
                                                                        the breakage of building glass, "we"
        This exclusion does not apply to                                cover the loss or damage caused by that
        "computers" and "mobile equipment".                             "specified peril" or the breakage of
                                                                        building glass.
   p. Smoke, Vapor, or Gas -- "We" do not
      pay for loss caused by smoke, vapor, or                      t.   Weather -- "We" do not pay for loss
      gas from agricultural smudging or                                 caused by weather conditions if the
      industrial operations.                                            weather conditions contribute in any way
                                                                        with a cause or event excluded in
        This exclusion does not apply to                                paragraph 1. above to produce the loss
        "computers" and "mobile equipment".                             or damage.

   q. Smog -- "We" do not pay for loss caused                           But if weather conditions result in a
      by smog . But if smog results in a                                covered peril, "we" cover the loss or
      "specified peril" or the breakage of                              damage caused by that covered peril.
      building glass, "we" cover the loss or
      damage caused by that "specified peril"                      u. Voluntary Parting -- Except as provided
      or the breakage of building glass.                              under Coverage Extensions - Fraud and
                                                                      Deceit, "we" do not pay for loss caused
        This exclusion does not apply to                              by or resulting from voluntary parting with
        "computers" and "mobile equipment".                           title to or possession of any property
                                                                      because of any fraudulent scheme, trick,
   r.   TemperaturelHumidity -- "We" do not                           or false pretense.
        pay for loss to:

        1) personal property, except as
           provided under Coverage Extensions                 ADDITIONAL PROPERTY NOT
           - Off Premises Utility Senrice
           Interruption; or
                                                              COVERED OR SUBJECT TO
        2) "perishable stock";                                LIMITATIONS

        caused by dryness, dampness, humidity,
        or changes in or extremes of                          1. Accounts Receivable -- "We" do not cover
        temperature.                                             loss to accounts receivables that is a result
                                                                 of:
        But if dryness, dampness, humidity, or
        changes in or extremes of temperature,                     a. an error or omission in bookkeeping,
        as described above, results in a                              accounting, or billing; or
        "specified peril" or the breakage of
        building glass, "we" cover the loss or
        damage caused by that "specified peril"
        or the breakage of building glass.

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    b. "your" discovery of a discrepancy in                         d. "fine arts" as described under
       "your" books or records if an audit or                          Supplemental Marine Coverages.
       inventory computation is necessary to
       prove the factual existence of the                      7. Jewelry, Watches, and Precious Stones --
       discrepancy.                                               "We" do not cover more than $10,000 total in
                                                                  any one occurrence for loss by "theft" of
2. Animals -- "We" do not cover loss to                           jewelry, watches, and precious stones,
   animals, including but not limited to birds and                including but not limited to watch
   fish, except death or destruction of animals                   movements, jewels, pearls, and semi-
   held for sale caused by "specified perils" or                  precious stones. This limitation does not
   breakage of building glass.                                    apply to items of jewelry, watches, or
                                                                  precious stones worth $100 or less.
3. Boilers -- "We" do not cover loss to steam
   boilers, steam pipes, steam turbines, or                    8. Missing Property -- "We" do not cover
   steam engines caused by any condition or                       missing property when the only proof of loss
   occurrence within such equipment. "We" do                      is unexplained or mysterious disappearance,
   cover loss to such equipment caused by the                     or shortage discovered on taking inventory,
   explosion of gas or fuel in a firebox,                         or other instance where there is no physical
   combustion chamber, or flue.                                   evidence to show what happened to the
                                                                  property.
    "We" do not cover loss to hot water boilers or
    heaters caused by any condition or                              This exclusion does not apply to property in
    occurrence within such equipment other than                     the custody of carriers for hire.
    explosion. This exclusion includes bursting,
    cracking, or rupturing.                                    9. Personal Property in the Open -- "We" do
                                                                  not cover loss to personal property in the
4. Contamination of Perishable Stock Due to                       open caused by rain, snow, ice, or sleet.
   Release of Refrigerant -- "We" do not pay
   for loss of "perishable stock" due to                            This exclusion does not apply to "mobile
   contamination from the release of a                              equipment" or to property in the custody of
   refrigerant, including but not limited to                        carriers for hire.
   ammonia.
                                                               10. Stamps, Tickets, and/or Letters of Credit
5. Furs -- "We" do not cover furs or fur                           -- "We" do not cover more than $5,000 total
   garments for loss by "theft" for more than                      in any one occurrence for loss by "theft" to
   $10,000 total in any one occurrence.                            stamps, tickets (such as lottery tickets held
                                                                   for sale), or letters of credit.
6. GlasswarelFragile Articles -- "We" do not
   cover breakage of fragile articles such as                  11 Unauthorized or Fraudulent Transfer --
   glassware and porcelains, except as a result                   Except as provided under Coverage
   of "specified perils" or breakage of building                  Extensions - Fraud and Deceit, "we" do not
   glass.                                                         cover loss of, or loss caused by the transfer
                                                                  or delivery of covered property from a
    This exclusion does not apply to:                             "covered location" or "your" "computer" to a
                                                                  person or place outside of a"covered
    a. glass that is a part of a building or                      location" on the basis of unauthorized or
       structure;                                                 fraudulent instructions, including but not
                                                                  limited to instructions transmitted:
    b. bottles or other containers held for sale;
                                                                    a. by a computer, whether or not owned by
    c. lenses of photographic and scientific                           "you", or
       instruments; or


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    b. via any telecommunications transmission                          The following property is covered for loss
       method.                                                          involving collapse only if the collapse is
                                                                        of a building or structure or any part of a
12. Valuable Papers -- "We" do not cover loss to                        building or structure and is caused by
    "valuable papers" caused by errors or                               one or more of the causes listed above in
    omissions in processing or copying.                                 1.a. or collapse caused by "specified
                                                                        perils" or breakage of building glass all
                                                                        only as insured against in this Coverage
                                                                        Part:
OTHER COVERAGES
                                                                        1) outdoor radio or television antennas
                                                                           (and satellite dishes) and their lead-
1. Collapse -- "We" pay for loss caused by                                 in wiring, masts, or towers;
   direct physical loss involving collapse as                           2) awnings, gutters, and down spouts;
   described in a., b., and c. below.                                   3) yard fixtures;
                                                                        4) outdoor swimming pools;
    a. Collapse of a building or structure, any                         5) fences;
                                                                        6) bulkheads, piers, wharves, and
       part of a building or structure, or personal
       property inside a building or structure, if                         docks;
       the collapse is caused by one or more of                         7) beach or diving platforms or
       the following:                                                      appurtenances;
                                                                        8) retaining walls that are not part of
                                                                           buildings; and
        1) "specified perils" or breakage of
                                                                        9) bridges, walkways, roadways, and
           building glass all only as insured
                                                                           other paved surfaces.
           against in this Coverage Part;
        2) hidden decay, unless "you" know of
                                                                   c. Collapse means a sudden and
           the presence of the decay prior to
                                                                      unexpected falling in or caving in of a
           the collapse;
                                                                      building or structure or any portion of a
        3) hidden insect or vermin damage,
                                                                      building or structure with the result that
           unless "you" know of the damage
                                                                      the building or portion of the building
           prior to the collapse;
                                                                      cannot be occupied for its intended
        4) weight of people or personal
                                                                      purpose.
           property;
        5) weight of rain that collects on a roof;
                                                                   d. The following are not considered to be in
           or
                                                                      a state of collapse:
        6) use of defective material or methods
           in construction, remodeling, or
                                                                        1) a building or structure that is
           renovation if the collapse occurs
                                                                           standing or any portion of a building
           during the course of the construction,
                                                                           that is standing even if it displays
           remodeling, or renovation.
                                                                           evidence of bending, bulging,
                                                                           cracking, expansion, leaning,
            However, if the collapse occurs after
                                                                           sagging, settling, or shrinkage;
            construction, remodeling, or
                                                                        2) a building or structure or any portion
            renovation is complete and is caused
                                                                           of a building structure in danger of
            in part by a peril listed in 1) through
                                                                           falling in or caving; and
            5) above, "we" will pay for the loss or
                                                                        3) a portion of a building or structure
            damage even if the use of defective
                                                                           that is standing even if it has
            material or methods in construction,
                                                                           separated from another portion of the
            remodeling, or renovation,
                                                                           building or structure.
            contributes to the collapse.




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2. Tearing Out and Replacing -- When "we"                     3. Proof of Loss -- "You" must send "us",
   cover buildings or structures and a loss                      within 60 days after "our" request, a signed,
   caused by water, other liquids, powder, or                    sworn proof of loss. This must include the
   molten material is covered, "we" also pay the                 following information:
   cost of tearing out and replacing any part of
   the covered building or structure to repair                     a. the time, place, and circumstances of the
   damage to the system or appliance from                             loss;
   which the water or other substance escapes.
                                                                   b. other policies of insurance that may
   "We" also pay the cost to repair or replace                        cover the loss;
   damaged parts of fire extinguishing
   equipment if the damage results in discharge                    c. "your" interest and the interests of all
   of any substance from an automatic fire                            others in the property involved, including
   protection system; or is directly caused by                        all mortgages and liens;
   freezing.
                                                                   d. changes in title or occupancy of the
                                                                      covered property during the policy
                                                                      period;
WHAT MUST BE DONE
                                                                   e. detailed estimates for repair or
IN CASE OF LOSS
                                                                      replacement of covered property; and

                                                                   f.   an inventory of damaged and
   Notice -- In case of a loss, "you" must:                             undamaged covered property showing in
                                                                        detail the quantity, description, cost,
   a. give "us" or "our" agent prompt notice                            actual cash value, and amount of the
      including a description of the property                           loss. "You" must attach to the inventory
      involved ("we" may request written                                copies of all bills, receipts, and related
      notice);                                                          documents that substantiate the
                                                                        inventory.
    b. give notice to the police when the act
       that causes the loss is a crime; and                   4. Examination -- "You" must submit to
                                                                 examination under oath in matters connected
    c. give notice to the credit card company if                 with the loss as often as "we" reasonably
       the loss involves a credit card.                          request and give "us" sworn statements of
                                                                 the answers. If more than one person is
2. Protect Property -- "You" m,ust take all                      examined, "we" have the right to examine
   reasonable steps to protect covered property                  and receive statements separately and not in
   at and after an insured loss to avoid further                 the presence of others.
   loss. "We" will pay the reasonable costs
   incurred by "you" for necessary repairs or                 5. Records -- "You" must produce records,
   emergency measures performed solely to                        including tax returns and bank microfilms of
   protect covered property from further                         all canceled checks relating to value, loss,
   damage by a peril insured against if a peril                  and expense and permit copies and extracts
   insured against has already caused a loss to                  to be made of them as often as "we"
   covered property. "You" must keep an                          reasonably request.
   accurate record of such costs. However "we"
   will not pay for such repairs or emergency                 6. Damaged Property -- "You" must exhibit the
   measures performed on property which has
                                                                 damaged and undamaged property as often
   not been damaged by a peril insured against.                  as "we" reasonably request and allow "us" to
   This does not increase "our" "limit".                         inspect or take samples of the property.



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7. Volunteer Payments -- "You" must not,                      3. Fine Arts -- The value of "fine arts" will be
   except at "your" own expense, voluntarily                     based on the fair market value at the time of
   make any payments, assume any                                 loss.
   obligations, pay or offer any rewards, or incur
   any other expenses except as respects                      4. Glass -- The value of glass will be based on
   protecting property from further damage.                      the cost of safety glazing material where
                                                                 required by code, ordinance, or law.
8. Abandonment -- "You" may not abandon the
   property to "us" without "our" written consent.            5. Hardware -- The following is the value of
                                                                 "hardware":
9. Cooperation -- "You" must cooperate with
   "us" in performing all acts required by the                     a. Hardware That Is Replaced -- The
   Commercial Output Program coverages.                               value of "hardware" that is replaced will
                                                                      be based on the cost of replacing the
                                                                      "hardware" with new equipment that is
                                                                      functionally comparable to the
VALUATION                                                             "hardware" that is being replaced.

                                                                   b. Hardware That Is Not Replaced -- The
1. Replacement Cost -- The value of covered                           value of "hardware" that is not repaired
   property will be based on replacement cost                         or replaced will be based on the actual
   without any deduction for depreciation unless                      cash value at the time of loss (with a
   Actual Cash Value is indicated on the                              deduction for depreciation).
   "schedule of coverages".
                                                                   c. Partial Loss -- In no event will "we" pay
   The replacement cost is limited to the cost of                     more than the reasonable cost of
   repair or replacement with similar materials                       restoring partially damaged "hardware"
   on the same site and used for the same                             to its condition directly prior to the
   purpose. The payment will not exceed the                           damage.
   amount "you" spend to repair or replace the
   damaged or destroyed property.                                  Software -- The following is the value of
                                                                   "software":
   Replacement cost valuation does not apply
   until the damaged or destroyed property is                      a. Programs and Applications -- The
   repaired or replaced. "You" may make a                             value of "programs and applications" will
   claim for actual cash value before repair or                       be based on the cost to reinstall the
   replacement takes place, and later for the                         "programs or applications" from the
   replacement cost if "you" notify "us" of "your"                    licensed discs that were originally used
   intent within 180 days after the loss.                             to install the programs or applications.

   This replacement cost provision does not                             If the original licensed discs are lost,
   apply to paragraphs 3. through 13. below.                            damaged, or can no longer be obtained,
                                                                        the value of "programs and applications"
   Actual Cash Value -- When Actual Cash                                will be based on the cost of the most
   Value is indicated on the "schedule of                               current version of the "programs or
   coverages" for covered property, the value of                        applications".
   covered property will be based on the actual
   cash value at the time of the loss (with a
   deduction for depreciation) except as
   provided in paragraphs 3. through 13. below.




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    I@   Proprietary Programs -- The value of                   10. Loss to Parts -- The value of a lost or
         "proprietary programs" will be based on                    damaged part of an item that consists of
         the cost of reproduction from duplicate                    several parts when it is complete is based on
         copies. The cost of reproduction                           the value of only the lost or damaged part or
         includes, but is not limited to, the cost of               the cost to repair or replace it.
         labor to copy or transcribe from duplicate
         copies.                                                11. Tenant's Improvements -- The value of lost
                                                                    or damaged tenant's improvements and the
         If duplicate copies do not exist, the value                loss of undamaged tenant's improvements
         of "proprietary programs" will be based                    due to the cancellation of a lease will be
         on the cost of research or other                           based on the replacement cost if repaired or
         expenses necessary to reproduce,                           replaced at "your" expense within 24 months.
         replace, or restore lost "proprietary
         programs".                                                  The value of lost or damaged tenant's
                                                                     improvements and the loss of undamaged
    C.   Data Records -- The value of "data                          tenant's improvements due to the
         records" will be based on the cost of                       cancellation of a lease will be based on a
         reproduction from duplicate copies. The                     portion of "your" original cost if not repaired
         cost of reproduction includes, but is not                   or replaced within 24 months. This portion is
         limited to, the cost of labor to copy or                    determined as follows:
         transcribe from duplicate copies.
                                                                     a. divide the number of days from the date
         If duplicate copies do not exist, the value                    of the loss to the expiration date of the
         of "data records" will be based on the                         lease by the number of days from the
         cost of research or other expenses                             date of installation to the expiration date
         necessary to reproduce, replace, or                            of the lease; and
         restore lost files, documents, and
         records.                                                    b. multiply the figure determined in 11.a.
                                                                        above by the original cost.
    d. Media -- The value of "media" will be
       based on the cost to repair or replace the                    If "your" lease contains a renewal option, the
       "media" with material of the same kind or                     expiration of the lease in this procedure will
       quality.                                                      be replaced by the expiration of the renewal
                                                                     option period.
7. Merchandise Sold -- The value of
   merchandise that "you" have sold but not                          Lost or damaged tenant's improvements and
   delivered will be based on the selling price                      the loss of undamaged tenant's
   less all discounts and unincurred expenses.                       improvements due to the cancellation of a
                                                                     lease are not covered if repaired or replaced
8. Manufactured Stock -- The value of stock                          at another's expense.
   manufactured by "you" will be based on the
   price that such stock would have been sold                   12. Valuable Papers -- The value of "valuable
   for, less all discounts and unincurred                           papers" will be based on their actual cash
   expenses.                                                        value at the time of loss.

9. Pair or Set -- The value of a lost or damaged                13. Accounts Receivable -- The value of
   article which is part of a pair or set is based                  accounts receivable will be based on the
   on a reasonable proportion of the value of                       total sum of accounts receivable due. From
   the entire pair or set. The loss is not                          this total "we" will deduct:
   considered a total loss of the pair or set.
                                                                     a. all amounts due from the records of
                                                                        accounts receivable that are not lost;


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    b. all amounts due that can be established                 4. Loss Settlement Terms -- Subject to
       by other means;                                            paragraphs 1., 2., 3., 5., 6., and 7. under
                                                                  How Much We Pay and coinsurance
    c. all amounts due that "you" have collected                  provisions (if applicable), "we" pay the lesser
       from the records that are lost;                            of:

    d. all unearned interest and service                            a. the amount determined under Valuation;
       charges; and
                                                                    b. the cost to repair, replace, or rebuild the
    e. an amount to allow for bad debts.                               property with material of like kind and
                                                                       quality to the extent practicable; or
    If a loss occurs and "you" cannot establish
    the actual accounts receivable due, it will be                  c.   the "limit" that applies to covered
    determined as follows:                                               property.

    a. "We" will determine the total of the                    5. Insurance Under More Than One
       average monthly accounts receivable                        Coverage -- If more than one coverage of
       amounts for the 12 month period that                       this policy insures the same loss, "we" pay
       directly precedes the month in which the                   no more than the actual claim, loss, or
       loss occurred.                                             damage sustained.

    b. "We" will adjust the total for any normal               6. Insurance Under More Than One Policy --
       variance in the accounts receivable                        "You" may have another policy subject to the
       amount for the month in which the loss                     same plan, "terms", conditions, and
       occurred.                                                  provisions as this policy. If "you" do, "we" will
                                                                  pay "our" share of the covered loss. "Our"
                                                                  share is the proportion that the applicable
                                                                  "limit" under this policy bears to the "limit" of
HOW MUCH WE PAY                                                   all policies covering on the same basis.

                                                                    If there is another policy covering the same
1. Insurable Interest -- "We" do not cover more                     loss, other than that described above, "we"
   than "your" insurable interest in any property.                  will pay only for the amount of covered loss
                                                                    in excess of the amount due from that other
2. Deductible -- "We" pay only that part of                         policy, whether "you" can collect on it or not.
   "your" loss over the deductible amount stated                    But "we" will not pay more than the
   on the "schedule of coverages" in any one                        applicable "limit".
   occurrence. The deductible applies to the
   loss before application of any coinsurance or               7    Automatic Increase -- The "limit" on the
   reporting provisions.                                            "schedule of coverages" or the Scheduled
                                                                    Locations Endorsement is automatically
3. Earthquake Period -- AII earthquakes or                          increased annually by the annual percentage
   volcanic eruptions that occur within a.168-                      shown on the "schedule of coverages" or
   hour period will be considered a single event.                   Scheduled Locations Endorsement for
   This 168-hour period is not limited by the                       Automatic Increase.
   policy expiration.                          ,




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LOSS PAYMENT                                                   C631111: 14►ZOIS]   `m111[0PP
1. Our Options -- In the event of loss covered                 In addition to the "terms" which are contained in
   by this coverage form, "we" have the                        other sections of the Commercial Output
   following options:                                          Program coverages, the following conditions
                                                               apply.
    a. pay the value of the lost or damaged
       property;                                               1. Appraisal -- If "you" and "we" do not agree
                                                                  on the amount of the loss or the value of
    b. pay the cost of repairing or replacing the                 covered property, either party may demand
       lost or damaged property;                                  that these amounts be determined by
                                                                  appraisal.
    c. rebuild, repair, or replace the property
       with other property of equivalent kind and                   If either makes a written demand for
       quality, to the extent practicable, within a                 appraisal, each will select a competent,
       reasonable time; or                                          independent appraiser and notify the other of
                                                                    the appraiser's identity within 20 days of
    d. take all or any part of the property at the                  receipt of the written demand. The two
       agreed or appraised value.                                   appraisers will then select a competent,
                                                                    impartial umpire. If the two appraisers are
    "We" must give "you" notice of "our" intent to                  unable to agree upon an umpire within 15
    rebuild, repair, or replace within 30 days after                days, "you" or "we" can ask a judge of a
    receipt of a duly executed proof of loss.                       court of record in the state where the
                                                                    property is located to select an umpire.
2. Your Losses -- "We" will adjust all losses
   with "you". Payment will be made.to "you"                        The appraisers will then determine and state
   unless another loss payee is named in the                        separately the amount of each loss.
   policy. An insured loss will be payable 30
   days after a satisfactory proof of loss is                       The appraisers will also determine the value
   received, and the amount of the loss has                         of covered property items at the time of the
   been established either by written agreement                     loss, if requested.
   with "you" or the filing of an appraisal award
   with "us".                                                       If the appraisers submit a written report of
                                                                    any agreement to "us", the amount agreed
3. Property of Others -- Losses to property of                      upon will be the amount of the loss. If the
   others may be adjusted with and paid to:                         appraisers fail to agree within a reasonable
                                                                    time, they will submit only their differences to
   a. "you" on behalf of the owner; or                              the umpire. Written agreement so itemized
                                                                    and signed by any two of these three sets the
   b. the owner.                                                    amount of the loss.

   If "we" pay the owner, "we" do not have to                       Each appraiser will be paid by the party
   pay "you". "We" may also choose to defend                        selecting that appraiser. Other expenses of
   any suits arising from the owners at "our"                       the appraisal and the compensation of the
   expense.                                                         umpire will be paid equally by "you" and "us".




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2. Benefit to Others -- Insurance under the                    9. Recoveries -- If "we" pay "you" for the loss
   Commercial Output Program coverages will                       and lost or damaged property is recovered,
   not directly or indirectly benefit anyone                      or payment is made by those responsible for
   having custody of "your" property.                             the loss, the following provisions apply:

3. Conformity With Statute -- When a                                a. "you" must notify "us" promptly if "you"
   condition of this coverage is in conflict with                      recover property or receive payment;
   an applicable law, that condition is amended
   to conform to that law.                                          b. "we" must notify "you" promptly if "we"
                                                                       recover property or receive payment;
4. Control of Property -- The Commercial
   Output Policy coverages are not affected by                      c. any recovery expenses incurred by either
   any act or neglect beyond "your" control.                           are reimbursed first;

    Death -- If "you" die, "your" rights and duties                 d. "you" may keep the recovered property,
    will pass to "your" legal representative but                       but "you" must refund to "us" the amount
    only while acting within the scope of duties                       of the claim paid, or any lesser amount to
    as "your" legal representative. Until "your"                       which "we" agree; and
    legal representative is appointed, anyone
    having proper temporary custody of "your"                       e. if the claim paid is less than the agreed
    property will have "your" rights and duties but                    loss due to a deductible or other limiting
    only with respect to that property.                                "terms" of this policy, any recovery will be
                                                                       prorated between "you" and "us" based
6. Liberalization -- If a revision of a form or                        on "our" respective interest in the loss.
   endorsement which broadens Commercial
   Output Program coverages without additional                 10 Restoration of Limits -- Except as indicated
   premium is adopted during the policy period,                   under Supplemental Coverages - Pollutant
   or within six months before this coverage is                   Cleanup and Removal and Supplemental
   effective, the broadened coverage will apply.                  Marine Coverages = Virus and Hacking
                                                                  Coverage, any loss "we" pay under the
7. Misrepresentation, Concealment, or Fraud                       Commercial Output Program coverages does
   -- These Commercial Output Program                             not reduce the "limits" applying to a later
   coverages are void as to "you" and any other                   loss.
   insured if, before or after a loss:
                                                               11. Subrogation -- If "we" pay for a loss, "we"
    a. "you" or any other insured have willfully                   may require "you" to assign to "us" "your"
       concealed or misrepresented:                                right of recovery against others. "You" must
                                                                   do all that is necessary to secure "our" rights.
        1) a material fact or circumstance that                    "We" will not pay for a loss if "you" impair this
           relates to this insurance or the                        right to recover.
           subject thereof; or
        2) "your" interest herein; or                               "You" may waive "your" right to recover from
                                                                    others in writing before a loss occurs.
    b. there has been fraud or false swearing
       by "you" or any other insured with regard               12. Suit Against Us -- No one may bring a legal
       to a matter that relates to this insurance                  action against "us" under this coverage
       or the subject thereof.                                     unless:

8. Policy Period -- "We" pay for a covered loss                     a. all of the "terms" of the Commercial
   that occurs during the policy period.                               Output Program coverages have been
                                                                       complied with; and



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    b. the suit has been brought within two                         As an alternative, "we" may pay the
       years after "you" first have knowledge of                    mortgagee the remaining principal and
       the loss.                                                    accrued interest in return for a full
                                                                    assignment of the mortgagee's interest and
        If any applicable law makes this limitation                 any instruments given as security for the
        invalid, then suit must begin within the                    mortgage debt.
        shortest period permitted by the law.
                                                                    If "we" choose not to renew this policy, "we"
13. Territorial Limits -- "We" cover property                       will give written notice to the mortgagee at
    while in the United States of America, its                      least ten days before the expiration date of
    territories and possessions, Canada, and                        this policy.
    Puerto Rico.
                                                               15. Vacancy - Unoccupancy -- "We" do not pay
    However, "we" do cover foreign shipments as                    for loss caused by attempted "theft";
    described under Overseas Transit.                              breakage of building glass; sprinkler leakage
                                                                   (unless "you" have protected the system
14. Mortgage Provisions -- If a mortgagee                          against freezing); "theft"; vandalism; or water
    (mortgage holder) is named in this policy,                     damage occurring while the building or
    loss to building property will be paid to the                  structure has been:
    mortgagee and "you" as their interest
    appears. If more than one mortgagee is                          a. vacant for more than 60 consecutive
    named, they will be paid in order of                               days; or
    precedence.
                                                                    b. unoccupied for more than:
    The insurance for the mortgagee continues
    in effect even when "your" insurance may be                          1) 60 consecutive days; or
    void because of "your" acts, neglect, or                             2) the usual or incidental unoccupancy
    failure to comply with the coverage "terms".                            period for a "covered location";
    The insurance for the mortgagee does not
    continue in effect if the mortgagee is aware                         whichever is longer.
    of changes in ownership or substantial
    increase in risk and does not notify "us".                      The amount "we" will pay will be reduced by
                                                                    15% for any loss by a covered peril, not
    If "we" cancel this policy, "we" will notify the                otherwise excluded above, if the building or
    mortgagee at least ten days before the                          structure is vacant or unoccupied, as
    effective date of cancellation if "we" cancel                   described above.
    for "your" nonpayment of premium, or 30
    days before the effective date of cancellation                  Unoccupied means that the customary
    if "we" cancel for any other reason.                            activities or operations at a"covered
                                                                    location" are suspended, but business
    "We" may request payment of the premium                         personal property has not been removed.
    from the mortgagee if "you" fail to pay the                     The building or structure will be considered
    premium.                                                        vacant and not unoccupied when the
                                                                    occupants have moved, leaving the building
    If "we" pay the mortgagee for a loss where                      or structure empty or containing only limited
    "your" insurance may be void, the                               business personal property. Buildings or
    mortgagee's right to collect that portion of the                structures under construction are not
    mortgage debt from "you" then belongs to                        considered vacant or unoccupied.
    "us". This does not affect the mortgagee's
    right to collect the remainder of the mortgage
    debt from "you".                                           CO 1000 10 02



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                           COMMERCIAL OUTPUT PROGRAM
                             INCOME COVERAGE PART
Coverage provided under this coverage part is        If "you" lease, rent, or do not own the building
also subject to the "terms" and conditions in the    "you" occupy, for the purposes of determining an
Commercial Output Program - Property                 Income Coverage loss, "your" location is the
Coverage Part under the sections titled              space that "you" lease, rent, or occupy, including
Agreement, Definitions, Property Not Covered,        but not limited to:
Perils Covered, Perils Excluded, What Must Be
Done In Case Of Loss, Loss Payment, and Other        1. all passageways to "your" location within the
Conditions.                                             building; and

                                                     2. "your" business personal property in the
                                                        open (or in a vehicle) within 1,000 feet.
COVERAGE OPTIONS
                                                     EARNINGS

One of the following described coverage options      "We" cover "your" actual loss of net income (net
applies when that option is indicated on the         profit or loss before income taxes) that would
"schedule of coverages":                             have been earned or incurred and continuing
                                                     operating expenses normally incurred by "your"
    Earnings, "rents", and extra expense.            "business", including but not limited to payroll
                                                     expense.
2. Earnings and extra expense.
                                                     The net sales value of goods that would have
3. "Rents" and extra expense.                        been produced is included in net income for
                                                     manufacturing risks.
4. Extra expense only.
                                                     EXTRA EXPENSE
If option 1. above is selected, the term Earnings
includes "rents". When Option 3. is indicated, the   "We" cover only the extra expenses that are
term Earnings means only "rents".                    necessary during the "restoration period" that
                                                     "you" would not have incurred if there had been
                                                     no direct physical loss or damage to property
                                                     caused by or resulting from a covered peril.
COVERAGE                                             "We" cover any extra expense to avoid or reduce
                                                     the interruption of "business" and continue
                                                     operating at a"covered location", replacement
"We" provide the following coverage unless the       location, or a temporary location. This includes
coverage is excluded or subject to limitations.      expenses to relocate and costs to outfit and
                                                     operate a replacement or temporary location.
"We" provide the coverages described below
during the "restoration period" when "your"          "We" will also cover any extra expense to reduce
"business" is necessarily wholly or partially        the interruption of "business" if it is not possible
interrupted by direct physical loss of or damage     for "you" to continue operating during the
to property at a"covered location" or in the open    "restoration period".
(or in vehicles) within 1,000 feet thereof as a
result of a covered peril.
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To the extent that they reduce a loss otherwise
payable under this Coverage Part, "we" will cover      INCOME COVERAGE EXTENSIONS
any extra expenses to:

1. repair, replace, or restore any property; and
                                                       The following Income Coverage Extensions
                                                       indicate an applicable "limit" or limitation. This
2. research, replace, or restore information on
                                                       "limit" or limitation may also be shown on the
   damaged "valuable papers" or "data
                                                       "schedule of coverages". If a different "limit" or
   records".
                                                       limitation is indicated on the "schedule of
                                                       coverages", that "limit" or limitation will apply
                                                       instead of the "limit" or limitation shown below.

EXCLUSIONS AND LIMITATIONS                             The following Income Coverage Extensions are
                                                       part of and not in addition to the applicable
                                                       Income Coverage "limit".
The following exclusions apply in addition to the
exclusions and limitations in the Commercial               Interruption by Civil Authority -- "We"
Output Program - Property Coverage Part.                   extend "your" coverage for earnings and
                                                           extra expense to include loss sustained while
    Finished Stock -- "We" do not cover loss               access to "covered locations" or a
    caused by or resulting from loss or damage             "dependent location" is specifically denied by
    to stock manufactured by "you" which is                an order of civil authority. This order must be
    ready to pack, ship, or sell. This includes loss       a result of direct physical loss of or damage
    caused by or resulting from the time required          to property, other than at a"covered location"
    to reproduce such stock. This does not apply           and must be caused by a covered peril.
    to stock manufactured and held for sale at             Unless otherwise indicated on the "schedule
    retail outlets that "you" own and that are             of coverages", this Income Coverage
    insured under this Coverage Part.                      Extension is limited to 30 consecutive days
                                                           from the date of the order.
2. Leases, Licenses, Contracts, or Orders --
   "We" do not cover any increase in loss due to       2   Period of Loss Extension After Business
   the suspension, lapse, or cancellation of               Resumes -- "We" extend "your" coverage for
   leases, licenses, contracts, or orders.                 earnings to cover loss from the date the
                                        ,
                                                           covered property that incurred the loss is
    However, "we" do cover loss during the                 rebuilt, repaired, or replaced and "business"
    "restoration period" if the suspension, lapse,         is resumed or tenantability is restored until:
    or cancellation results directly from the
    interruption of "your" "business".                     a. the end of 90 consecutive days (unless
                                                              otherwise indicated on the "schedule of
    "We" do not cover any extra expense caused                coverages"); or
    by the suspension, lapse, or cancellation of
    leases, licenses, contracts, or orders beyond          b. the date "you" could reasonably resume
    the "restoration period".                                 "your" "business" to the conditions that
                                                              would generate the earnings amount or
    Strikes, Protests, and Other Interference                 "rents" that would have existed had no
    -- "We" do not cover any increase in loss due             loss or damage occurred,
    to interference by strikers or other persons at
    a"covered location". This applies to                   whichever is earlier.
    interference with rebuilding, repairing, or
    replacing the property or with resuming                Loss of earnings or "rents" must be caused
    "your" "business".                                     by direct physical loss of or damage to
                                                           property at a"covered location" or in the
                                                           open (or in vehicles) within 1,000 feet thereof
                                                           as a result of a covered peril.
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    Supplemental Income coverages                       b. Exclusions -- "We" do not cover loss of
                                                           earnings or extra expenses under this
Unless otherwise indicated, the following                  Supplemental Income Coverage that
Supplemental Income Coverages apply                        results from:
separately to each "covered location".
                                                             1) loss of exclusive use of any "data
The following Supplemental Income Coverages                     records" or "proprietary programs"
indicate an applicable "limit". This "limit" may also           that have been copied, scanned, or
be shown on the "schedule of coverages". If a                   altered;
different "limit" is indicated on the "schedule of           2) loss of or reduction in economic or
coverages", that "limit" will apply instead of the              market value of any "data records" or
"limit" shown below.                                            "proprietary programs" that have
                                                                been copied, scanned, or altered; or
Unless otherwise indicated, a"limit" for a                   3) theft from "your" "data records" or
Supplemental Income Coverage provided below                     "proprietary programs" of confidential
is separate from, and not part of, the applicable               information through the observation
Income Coverage "limit". The "limit" available for              of the "data records" or "proprietary
coverage described under a Supplemental                         programs" by accessing covered
Income Coverage:                                                "computers", "your" computer
                                                                network, or "your" Web site without
a. is the only "limit" available for the described              any alteration or other physical loss
   coverage;and                                                 or damage to the records or
                                                                programs.
b. is not the sum of the "limit" indicated for a
   Supplemental Income Coverage and the                          Confidential information includes, but
   Income Coverage "limit".                                      is not limited to customer
                                                                 information, processing methods, or
The "limit" provided under a Supplemental                        trade secrets.
Income Coverage cannot be combined or added
to the "limit" for any other Supplemental In(iome       c.   Waiting Period -- Unless otlierwise
Coverage.                                                    indicated on the "schedule of
                                                             coverages", "we" do not pay for "your"
1. Computer Virus and Hacking --                             loss of earnings under this Supplemental
                                                             Income Coverage until after the first 12
    a. Coverage -- Coverage for earnings                     hours following the direct physical loss of
       and/or extra expense is extended to loss              or damage to "your" "computers", "your"
       of earnings or extra expenses caused by               computer network, or "your" Web site.
       a "computer virus" or by "computer                    This waiting period does not apply to
       hacking" that results in:                             extra expenses that "you" incur.

        1) direct physical loss or damage to            d. Applicable Limit -- The most "we" pay in
           covered "computers", "your"                     any one occurrence under this
           computer network, or "your" Web                 Supplemental Income Coverage is
           site; or                                        $25,000.
        2) denial of access to or services from
           "your" "computer", "your" computer                The most "we" pay for all covered losses
           network, or "your" Web site.                      under this Supplemental Income
                                                             Coverage during each 12-month period
                                                             of this policy is $75,000.
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2. Dependent Locations -- Coverage for                  c. Waiting Period -- Unless otherwise
   earnings and/or extra expense is extended to            indicated on the "schedule of
   loss of earnings or extra expenses that "you"           coverages", "we" do not pay for "your"
   incur during the "restoration period" when              loss of earnings under this Supplemental
   "your" "business" is interrupted by direct              Income Coverage until after the flrst 12
   physical loss of or damage, caused by a                 hours following the direct physical loss of
   covered peril, to property at a"dependent               or damage to the property owned by a
   location".                                              utility, a landlord, or another supplier.
                                                           This waiting period does not apply to
   The most "we" pay in any one occurrence                 extra expenses that "you" incur.
   under this Supplemental Income Coverage is
   $100,000.                                            d. Applicable Limit -- The most "we" pay in
                                                           any one occurrence under this
3. Off Premises Utility Service Interruption --            Supplemental Income Coverage is
                                                           $10,000.
   a. Coverage -- Coverage for earnings
      and/or extra expense is extended to loss      4. Pollutant Cleanup and Removal -- When
      of earnings or extra expenses that "you"         there is a loss to a"covered location" caused
      incur during the "restoration period"            by a covered peril, coverage for earnings is
      when "your" "business" is interrupted due        extended to loss of earnings during the
      to the interruption of an ofP premises           "restoration period" due to the increased time
      utility services when the interruption is a      of interruption of "your" "business" caused by
      result of direct physical loss or damage         the enforcement of any ordinance, law, or
      by a covered peril to property that is not       decree that requires "you" to extract
      located at a"covered location" and that is       "pollutants" from land or water at the
      owned by a utility, a landlord, or another       "covered location".
      supplier who provides "you" with:
                                                       This Supplemental Income Coverage only
       1) power or gas;                                applies if the discharge, dispersal, seepage,
       2) telecommunications, including but            migration, release, or escape of the
          not limited to Internet access; or           "pollutants" into the land or water at the
       3) water, including but not limited to          "covered locations" is caused by a covered
          waste water treatment.                       peril and occurs during the policy period.

   b. Overhead Transmission Lines -- If the            Coverage for earnings is not extended to
      "schedule of coverages" indicates that           loss of earnings during the "restoration
      overhead transmission lines are                  period" due to the increased time of
      excluded, coverage under this                    interruption of "your" "business" caused by
      Supplemental Income Coverage does                the enforcement of any ordinance, law, or
      not include loss to overhead                     decree that requires "you" to test, evaluate,
      transmission lines that deliver utility          observe, or record the existence, level, or
      service to "you". Overhead transmission          effects of "pollutants". However, "we" cover
      lines include, but are not limited to:           the increased period of interruption when
                                                       testing is necessary for the extraction of
       1) overhead transmission and                    "pollutants" from land or water.
          distribution lines;
       2) overhead transformers and similar            The ordinance, law, or decree must be in
          equipment; and                               force at the time of loss.
       3) supporting poles and towers.
                                                       The most "we" pay in any one occurrence or
                                                       at any one location under this Supplemental
                                                       Income Coverage is $25,000.
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    5. Contract Penalty -- Coverage for
    earnings is extended to cover contract               VALUATION
    penalties that "you" are assessed or are
    required to pay because "you" are unable to
    complete a project or fill an order in
                                                         1. Earnings -- In determining an earnings loss
    accordance with contract terms or conditions.
                                                            "we" consider:
    "Your" inability to complete a project or fill an
                                                            a. the experience of "your" "business",
    order on time must be a direct result of
                                                               before the loss and the probable
    physical loss of or damage to covered
                                                               experience during the time of interruption
    property caused by a covered peril at a
                                                               had no loss occurred;
    "covered location".
                                                            b. "your" continuing operating ~expenses
    The most "we" pay in any one occurrence
                                                                                       your business ~,
    under this Supplemental Income Coverage is                 normally incurred by
                                                               including but not limited to payroll
    $25,000.
                                                               expense necessary to resume "business"
                                                               to a similar level of service that existed
    The most "we" pay for all covered losses
                                                               before the occurrence of direct physical
    under this Supplemental Income Coverage
                                                               loss or damage; and
    during each 12-month period of this policy is
    $100,000.
                                                            c. pertinent sources of information and
                                                               reports including:
6. Property In Transit, On Exhibition, or In
   The Custody Of Sales Representatives --
                                                                1) "your" accounting procedures and
   Coverage for earnings is extended to loss of
                                                                   financial records;
   earnings during the "restoration period" when
                                                                2) bills, invoices, and other vouchers;
   "your" "business" is interrupted as a result of
                                                                3) contracts, deeds, and liens
   a direct physical loss, caused by a covered
                                                                4) reports on feasibility and status; and
   peril, to property in transit, on exhibition, or in
                                                                5) records documenting "your" budget
   the custody of sales representatives as
                                                                   and marketing objectives and results.
   described under the Supplemental Marine
   Coverages in Commercial Output Program -
                                                            "N/e" do not pay for any increase in loss due
   Property Coverage Part.
                                                            to "your" failure to use reasonable efforts to
                                                            resume all or part of "your" "business". This
    The most "we" pay in any one occurrence
                                                            includes making use of other locations and
    under this Supplemental Income Coverage is
                                                            property to reduce the loss.
    $10,000.
                                                            If "your" "business" is not resumed as soon
                                                            as possible, or if it is not resumed at all, the
WHAT MUST BE DONE                                           value of loss payment is based on the period
IN CASE OF LOSS                                             of time it would have otherwise taken to
                                                            resume "your" "business" as soon as
                                                            possible.
Other "terms" relating to What Must Be Done In
Case Of Loss also apply. These "terms" are                  Only as regards coverage described under
described in the Commercial Output Program -                Dependent Locations in the Income
Property Coverage Part.                                     Coverage Extensions, "we" will reduce the
                                                            amount of "your" loss of earnings to the
Intent to Continue Business -- If "you" intend to           extent "you" can resume "your" "business" by
continue "your" "business", "you" must resume all           using other available sources of materials or
or part of "your" "business" as soon as possible.           outlets for "your" products.
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2. Extra Expense -- In determining extra
   expenses that "you" have incurred, "we"         LOSS PAYMENT
   consider the salvage value of any property
   bought for temporary use during the
   "restoration period" and it will be deducted
                                                   See the Commercial Output Program - Property
   from the amount of loss determined for extra
                                                   Coverage Part.
   expense.



                                                   OTHER CONDITIONS
HOW MUCH WE PAY

                                                   The following condition applies as it relates to
Other "terms" relating to How Much We Pay also
                                                   this Coverage Part, other "terms" also apply.
apply. These "terms" are described in the
                                                   These "terms" are described in the Commercial
Commercial Output Program - Property
                                                   Output Program - Property Coverage Part.
Coverage Part.
                                                   Appraisal -- If "you" and "we" do not agree on
"We" pay no more than the Income Coverage
                                                   the amount of net income (net profit or loss
"9imit" indicated on the "schedule of coverages"
                                                   before income taxes), payroll expense, and
for any one loss. Payment for earnings, extra
                                                   operating expenses, or the amount of loss, either
expense, and "rents" combined does not exceed
                                                   party may demand that these amounts be
the'9imit".
                                                   determined by appraisal in accordance with the
                                                   provisions described in the Commercial Output
                                                   Program - Property Coverage Part under Other
                                                   Conditions, Appraisal.


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                  EQUIPMENT BREAKDOWN COVERAGE PART
Coverage provided under this coverage part is
also subject to the "terms" and conditions in the   COVERAGE
Commercial Output Program - Property
Coverage Part under the sections titled
Agreement, Definitions, Property Not Covered,
                                                    Property Damage -- "We" cover direct physical
What Must Be Done In Case Of Loss, Loss
                                                    loss to covered property caused by or resulting
Payment, and Other Conditions.
                                                    from an "accident" to "covered equipment" at
                                                    "covered locations" .
Reference to Equipment Breakdown Schedule or
schedule in this coverage part means the
                                                    The term covered property as used in this
Equipment Breakdown Schedule or the
                                                    coverage part means the types of property
"schedule of coverages".
                                                    described under the Property Covered section of
                                                    the Commercial Output Program - Property
                                                    Coverage Part as well as the covered property
                                                    described in the Supplemental and Supplemental
ADDITIONAL DEFINITIONS                              Marine Coverages.


Some of the following definitions may not appear
elsewhere in this coverage part, but may appear     ADDITIONAL PROPERTY
in the Equipment Breakdown Schedule.
                                                    NOT COVERED
1. "Boilers and vessels" means:

    a. Boilers, including attached steam,           In addition to the property identified under the
       condensate, and feedwater piping; and        Property Not Covered in the Commercial Output
                                                    Program - Property Coverage Part, the following
    b. Fired or unfired pressure vessels subject    additional property is not covered:
       to vacuum or internal pressure other than
       the static pressure of its contents.         1. Animals -- "We" do not cover animals,
                                                       including but not limited to:
2. "Production machinery" means machines or
   apparatus that process or produce a product          a. birds and fish;
   intended for eventual sale. This includes all
   component parts of such machine or                   b. animals owned by others and boarded by
   apparatus and any other equipment used                  "you"; and
   exclusively with such machine or apparatus.
                                                        c. animals "you" own and hold for sale.
    "Suit" means a judicial proceeding that has
    been set up to determine liability and          2. Perishable Stock -- "We" do not pay for loss
    damages for loss to property of others             of "perishable stock" due to:
    consisting of covered property that is in
    "your" care, custody, or control. Judicial          a. "spoilage" that results from an "accident"
    proceedings also includes arbitration                  to "covered equipment";
    proceedings that "you" may be required to
    submit to.                                          b. contamination from the release of a
                                                           refrigerant, including but not limited to
                                                           ammonia;
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    c. "spoilage" that results from a complete or          2) "your" business personal property in
       partial lack of electrical power; or                   the open (or in a vehicle) within
                                                              1,000 feet.
    d. "spoilage" that results from a fluctuation
       of electrical current.                           b. Coverage Options -- Coverage options
                                                           include:

                                                           1)   Earnings, "rents", and extra expense.
COVERAGE EXTENSIONS                                        2)   Earnings and extra expense.
                                                           3)   "Rents" and extra expense.
                                                           4)   Extra expense only
If indicated on the Equipment Breakdown
Schedule, the following additional coverages also          Earnings includes "rents" when option 1.
apply to loss caused by or resulting from an               is selected. Earnings means only "rents"
"accident" to "covered equipment". The most that           when option 3. is selected.
"we" will pay for loss arising from any "one
accident" is the amount indicated on the                c. Earnings -- "We" cover "your" actual
schedule for the applicable Coverage Extension.            loss of net income (net profit or loss
                                                           before income taxes) that would have
If two or more "limits" apply to the same portion          been earned or incurred and continuing
of a loss, "we" will only pay the smaller "limit" for      operating expenses normally incurred by
that portion of the loss.                                  "your" "business", including but not
                                                           limited to payroll expense.
Except as otherwise provided, the "limits" for the
additional coverages are a part of, and not in             The net sales value of goods that would
addition to, the Property Damage Limit.                    have been produced is included in net
                                                           income for manufacturing risks.
1. Income Coverages --
                                                           Extra Expense -- "We" cover orily the
    a. Coverage -- If a"limit" is indicated on the         extra expenses that are necessary
       Equipment Breakdown Schedule, "we"                  during the "restoration period" that "you"
       provide the coverages described below               would not have incurred if there had
       during the "restoration period" when                been no direct physical loss or damage
       "your" "business" is necessarily wholly or          to property caused by or resulting from
       partially interrupted as a result of an             an "accident" to "covered equipment".
       "accident" to "covered equipment".
                                                           "We" cover any extra expense to avoid or
        This coverage applies only when the                reduce the interruption of "business" and
        "accident" to "covered equipment" occurs           continue operating at a "covered
        at "covered locations" or in the open (or          location", replacement location, or a
        in vehicles) within 1,000 feet thereof.            temporary location. This includes
                                                           expenses to relocate and costs to outfit
        If "you" lease, rent, or do not own the            and operate a replacement or temporary
        building "you" occupy, for the purposes            location.
        of determining an Income Coverage loss,
        "your" location is the space that "you"            "We" will also cover any extra expense to
        lease, rent, or occupy, including but not          reduce the interruption of "business" if it
        limited to:                                        is not possible for "you" to continue
                                                           operating during the "restoration period".
        1) all passageways to "your" location
           within the building; and
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        To the extent that they reduce a loss            "We" will also pay for additional loss as
        otherwise payable under this Coverage            described under Income Coverages caused
        Part, "we" will cover any extra expenses         by contamination by "pollutants", if this
        to:                                              coverage is also indicated on the Equipment
                                                         Breakdown Schedule.
        1) repair, replace, or restore any
           property; and                              4. Ordinance or Law --
        2) research, replace, or restore
           information on damaged "valuable                 Undamaged Parts of a Building --
           papers" or "data records".                       When an "accident" to "covered
                                                            equipment" at a "covered location"
    e. Period of Loss Extension After                       occurs, "we" pay for the value of
       Business Resumes -- "We" extend                      undamaged parts of a covered building
       "your" coverage for earnings to cover                or structure that is required to be
       loss from the date the covered property              demolished as a result of the
       that incurred the loss is rebuilt, repaired,         enforcement of any ordinance, law, or
       or replaced until:                                   decree that:

        1) the end of 30 consecutive days                   1) requires the demolition of
           (unless otherwise indicated on the                  undamaged parts of a covered
           schedule); or                                       building or structure that is damaged
        2) the date "you" could reasonably                     or destroyed by an "accident" to
           resume "your" "business" to the                     "covered equipment";
           conditions that would generate the               2) regulates the construction or repair
           earnings amount or "rents" that                     of a building or structure, or
           would have existed had no loss or                   establishes building, zoning, or land
           damage occurred,                                    use requirements at a "covered
                                                               location"; and
        whichever is earlier. This do(is not                3) is in force at the time of loss.
        increase the'9imit".
                                                            "We" do not cover the costs associated
2. Expediting Expenses -- "We" pay the                      with the enforcement of any ordinance,
   reasonable extra costs to expedite                       law, or decree that requires "you" or
   permanent repairs or replacement and make                anyone else to test for, monitor, clean
   temporary repairs to damaged covered                     up, remove, contain, treat, detoxify, or
   property.                                                neutralize or in any way respond to or
                                                            assess the effects of "pollutants".
3. Pollutants -- "We" pay for the additional cost
   to repair or replace covered property                 b. Increased Cost to Repair and Cost to
   because of contamination by "pollutants".                Demolish and Clear Site --
   This includes the additional expenses to
   clean up or dispose of such property.                    1) Increased Cost to Repair -- When
                                                               an "accident" occurs to "covered
   Additional expenses mean those beyond                       equipment" at a "covered location",
   what would have been required had no                        "we" cover the:
   "pollutants" been involved.
                                                                a) increased cost to repair, rebuild,
                                                                   or reconstruct damaged portions
                                                                   of a covered building or
                                                                   structure; and
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          b) increased cost to repair, rebuild,      a) requires "you" or anyone else to
             or reconstruct undamaged                   test for, monitor, clean up,
             portions of a covered building or          remove, contain, treat, detoxify,
             structure whether or not those             or neutralize or in any way
             undamaged portions need to be              respond to or assess the effects
             demolished;                                of "pollutants"; or
                                                     b) "you" were required to comply
          as a result of the enforcement of             with before the occurrence of an
          building, zoning, or land use                 "accident" to "covered
          ordinance, law, or decree and is in           equipment" at a "covered
          force at the time when the "accident"         location", even if the building or
          to covered equipment occurs at a              structure was undamaged and
          covered location.                             "you" failed to comply with the
                                                        ordinance, law, or decree.
          If a covered building or structure is
          repaired or rebuilt, it must be         4) What We Pay If The Building Is
          intended for similar occupancy as the      Repaired or Replaced -- If the
          current property, unless otherwise         covered building or structure is
          required by building, zoning, or land      repaired or replaced, "we" pay the
          use ordinance, law, or decree.             lesser of:

          "We" do not cover the increased cost       a) the amount "you" actually spend
          of construction until the covered             to demolish and clear the site,
          building or structure is actually             plus the actual increased cost to
          repaired or replaced and unless the           repair, rebuild, or construct the
          repairs or replacement are made as            property but not for more than a
          soon as reasonably possible after             building or structure of the same
          the loss, not to exceed two years.            height, floor area, and style; or
                                                     b) the "limit" indicated on the
      2) Cost to Demolish and Clear Site --             Schedule.
         "We" cover the cost to demolish and
         clear the site of undamaged parts of     5) What We Pay If The Building Is Not
         the covered building or structure that      Repaired or Replaced -- If the
         is damaged or destroyed by an               covered building or structure is not
         "accident" to "covered equipment".          repaired or replaced, "we" pay the
         The demolition must be a result of          lesser of:
         the enforcement of a building,
         zoning, or land use ordinance, law,         a) the amount "you" actually spend
         or decree that is in force at the time         to demolish and clear the site,
         when the "accident" occurs to                  plus the cost "you" would have
         "covered equipment".                           incurred to replace damaged or
      3) We Do Not Cover -- "We" do not                 destroyed property with other
         cover the costs associated with the            property of like kind, and quality;
         enforcement of any ordinance, law,             of the same height, floor area,
         or decree that:                                and style; and used for the same
                                                        purpose; or
                                                     b) the "limit" indicated on the
                                                        schedule.
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5. Off Premises Utility Service Interruption --             e. Interest that accrues after entry of a
   "We" extend Income Coverages to loss of                     judgment, until "we" tender, deposit in
   earnings or extra expenses that "you" incur                 court, or pay "our" part of the judgment.
   during the "restoration period" when "your"
   "business" is interrupted due to the                     f.   Interest that is awarded against "you"
   interruption of an off premises utility senrice               before the entry of a judgment. If "we"
   when the interruption is a result of an                       make an offer to settle the "suit", "we" will
   "accident" to "covered equipment" that is not                 not pay any interest that accrues after
   located at a"covered location" and that is                    the offer to settle.
   owned by a utility, a landlord, or another
   supplier who provides "you" with:                        g. Cost of a bond for the release of
                                                               attachments. "We" are not required to
    a. power or gas;                                           furnish a bond itself.

    b. telecommunications, including but not                This Coverage Extension will not reduce the
       limited to Internet access; or                       available Property Damage Limit and does
                                                            not have to be indicated on the schedule.
    c. water, including but not limited to waste
       water treatment. ,

6. Defense Costs -- "We" have the right and             PERILS COVERED
   duty to defend any "suit" brought against
   "you" as a result of damage to property of
   others that is in "your" care, custody, or
                                                        "We" cover risks of direct physical loss caused by
   control and is caused by an "accident" to            or resulting from an "accident" to "covered
   "covered equipment". "We" may investigate
                                                        equipment" unless the loss is limited or caused
   and settle a claim or "suit". "We" do not have       by a peril that is excluded.
   to provide a defense after "we" have paid the
   "limit" as a result of a judgment or written
   settlement.

    "You" must not admit liability for a loss, settle   PERILS EXCLUDED
    a claim, or incur expense without "our"
    written consent. "You" must not interfere with
    "our" negotiation for a settlement.                     "We" do not pay for loss or damage caused
                                                            directly or indirectly by one or more of the
    "We" will pay the following additional                  following excluded causes or events. Such
    expenses associated with any "suit" "we"                loss or damage is excluded regardless of
    defend:                                                 other causes or events that contribute to or
                                                            aggravate the loss, whether such causes or
    a. Expenses which "we" incur while                      events act to produce the loss before, at the
       investigating and defending the "suit".              same time as, or after the excluded causes
                                                            or events.
    b. Actual loss of "your" salary, up to $250
       per day, for "your" time spent away from             a. Ordinance or Law -- Except as provided
       work at "our" request.                                  under Coverages Extensions -
                                                               Ordinance or Law, "we" do not pay for
    c. Expenses that "you" incur at "our"                      loss or increased cost caused by
       request.                                                enforcement of any code, ordinance, or
                                                               law regulating the use, construction, or
    d. AII costs that "you" are required to pay as             repair of any building or structure; or
       a result of any "suit" "we" defend.                     requiring the demolition of any building or
                                                               structure including the cost of removing
                                                               its debris.
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   b. Earth Movement or Volcanic Eruption                      2) water that backs up through a sewer
      -- "We" do not pay for loss caused by any                   or drain; and
      earth movement or caused by eruption,                    3) water below the surFace of the
      explosion, or effusion of a volcano. Earth                  ground. This includes water that
      movement includes, but is not limited to:                   exerts pressure on or flows, seeps,
      earthquake; landslide; mudflow;                             or leaks through or into a building or
      mudslide; mine subsidence; or sinking,                      structure, sidewalk, driveway,
      rising, shifting of earth, or "sinkhole                     foundation, swimming pool, or other
      collapse".                                                  structure.

   c.    Civil Authority -- "We" do not pay for                However, if electrical "covered
         loss caused by order of any civil                     equipment" requires drying out as a
         authority, including seizure, confiscation,           result of the above described peril, "we"
         destruction, or quarantine of property.               pay for the direct expenses for drying out
                                                               the electrical "covered equipment".
   d. Nuclear Hazard -- "We" do not pay for
      loss caused by or resulting from a               2. "We" do not pay for loss or damage that is
      nuclear reaction, nuclear radiation, or             caused by or results from one or more of the
      radioactive contamination (whether                  following excluded causes or events:
      controlled or uncontrolled; whether
      caused by natural, accidental, or artificial        a. Wear, Tear, Deterioration, and
      means).                                                Corrosion -- "We" do not pay for loss
                                                             caused by wear and tear, marring,
   e. War and Military Action -- "We" do not                 scratching, deterioration, erosion, or
      pay for loss caused by:                                corrosion.

         1) war, including undeclared war or civil             "We" do pay for any resulting loss
            war; or                                            caused by an "accident".
         2) a warlike action by a military force,
            including action taken to prevent or          b. Animals -- "We" do not pay for loss
            defend against an actual or expected             caused by animals, including birds,
            attack, by any government,                       insects, or vermin. "We" do pay for any
            sovereign, or other authority using              resulting loss caused by an "accident".
            military personnel or other agents; or
         3) insurrection, rebellion, revolution, or       c. Windstorm and Hail —"We" do not pay
            unlawful seizure of power including              for loss caused by windstorm or hail.
            action taken by governmental
            authority to prevent or defend                d. Fire and Combustion Explosion --
            against any of these.                            "We" do not pay for loss caused by fire or
                                                             combustion explosion whether or not
         With regard to any action that comes                caused by or resulting from an
         within the "terms" of this exclusion and            "accident".
         involves nuclear reaction, nuclear
         radiation, or radioactive contamination,         e. Discharge of Water -- "We" do not pay
         this War and Military Action Exclusion              for loss caused by the discharge of water
         will apply in place of the Nuclear Hazard           or other extinguishing agent to fight a
         Exclusion.                                          fire.

   f.    Water -- "We" do not pay for loss caused         f.   Breakage of Glass, Freezing,
         by water. This means:                                 Collapse, and Molten Material -- "We"
                                                               do not pay for loss caused by breakage
         1) "flood";                                           of glass, weather related freezing,
                                                               collapse, or molten materials.
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   g. Specified Perils -- "We" do not pay for           b. items 3. through 9;
      loss caused by "specifled perils".
      However, this exclusion does not apply            as described in the Valuation section of the
      to explosion of steam boilers, steam              Commercial Output Program - Property
      pipes, steam turbines, or steam engines           Coverage Part and is subject to the
                                                        provisions described below for
3. "We" do not pay for "your" loss of earnings or       Environmental, Safety, and Efficiency
   extra expenses that "you" incur if one or            Improvements and Equipment Utilizing CFC
   more of the following excluded causes or             Refrigerants.
   events apply.
                                                    2. Environmental, Safety, and Efficiency
   a. Leases, Licenses, Contracts, or                  Improvements -- If "covered equipment"
      Orders -- "We" do not pay for any                requires replacement due to an "accident",
      increase in loss of earnings or extra            "we" will pay your additional cost to replace
      expenses due to the suspension, lapse,           with equipment that "we" agree is better for
      or cancellation of leases, licenses,             the environment, safer for people, or more
      contracts, or orders. However, "we" do           energy efficient than the equipment being
      cover loss during the "restoration period"       replaced, subject to the following conditions:
      if the suspension, lapse, or cancellation
      results directly from the interruption of         a. "we" will not pay more than 125% of what
      "your" "business".                                   the cost would have been to replace with
                                                           like kind and quality;
       "We" do not cover any loss of earnings
       or extra expense beyond the "restoration         b. "we" will not pay to increase the size or
       period" caused by the suspension, lapse,            capacity of the equipment;
       or cancellation of leases, licenses,
       contracts, or orders.                            c. this provision only applies to Property
                                                           Damage coverage;
   b. Due Diligence to Resume Your
      Business -- "We" do not pay for any               d. this provision does not increase any of
      increase in loss of earnings or extra                the applicable limits;
      expenses due to "your" failure to use due
      diligence and dispatch and all                    e. this provision does not apply to any
      reasonable means to resume "your"                    property valued on an Actual Cash Value
      "business".                                          basis; and

                                                        f.   this provision does not apply to the
                                                             replacement of component parts.
VALUATION
                                                    3. Equipment Utilizing CFC Refrigerants --
                                                       Air conditioning or refrigeration equipment
                                                       that utilizes a refrigerant containing CFC
1. Covered Property -- Unless otherwise
                                                       (chlorofluorocarbon) substances will be
   indicated on the Equipment Breakdown
                                                       valued at the cost to do the least expensive
   Schedule, the value of covered property will
                                                       of the following:
   be determined in accordance with:
                                                        a. repair or replace the damaged property
   a. replacement cost provisions; and
                                                           and replace any lost CFC refrigerant;

                                                        b. repair the damaged property, retrofit the
                                                           system to accept a non-CFC refrigerant,
                                                           and charge the system with a non-CFC
                                                           refrigerant; or
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    c.   replace the system with one using a non-    b. Application of Deductibles --
         CFC refrigerant.
                                                        1) Dollar Deductibles -- "We" will not
    In determining the least expensive option,             pay for loss resulting from any "one
    "we" will include any associated Income or             accident" until the amount of loss
    Extra Expense loss. If option b. or c. is more         exceeds the applicable deductible
    expensive than a., but you wish to retrofit or         indicated on the Equipment
    replace anyway, "we" will consider this better         Breakdown Schedule. "We" will then
    for the environment and therefore eligible for         pay the amount of loss in excess of
    valuation under paragraph 2., Environmental,           the applicable deductible or
    Safety, and Efficiency Improvements. In such           deductibles, subject to the applicable
    case, a. of that section is amended to read:           "limit" indicated on the schedule.
    "We" will not pay more than 125% of what            2) Multiple of Average Daily Value
    the cost would have been to repair or replace          Deductibles -- If a deductible is
    with like kind and quality.                            expressed as a number times
                                                           Average Daily Value (ADV), the
                                                           deductible will be calculated as
                                                           follows:
HOW MUCH WE PAY
                                                            The ADV will be the operating
                                                            expenses that would have been
1. Insurable Interest -- "We" do not cover more             normally earned or incurred during
   than "your" insurable interest in any property.          the "restoration period" by "your"
                                                            "business" had no "accident"
2. Deductible -- If deductibles vary by type of             occurred divided by the number of
   "covered equipment" and more than one type               working days in that period.
   of equipment is involved in any "one
   accident", the highest deductible will apply.            Operating expenses includes net
   Unless the Equipment Breakdown Schedule                  income (net profit or loss before
   indicates that a single deductible applies to            income taxes), payroll expense,
   all Equipment Breakdown coverages,                       interest, and other continuing
   multiple deductibles may apply to any "one               operating expenses.
   accident".
                                                            No reduction will be made:
    a. Property and Income Coverages --
       Unless otherwise indicated on the                    a) #or operating expenses not being
                                                               earned;
       Equipment Breakdown Schedule, the
                                                            b) in the number of working days
       Property Coverage Deductible applies to
       all loss covered by this coverage part,                 because of the "accident"; or
                                                            c) for any other scheduled or
       with the exception of those coverages
       subject to the Income Coverage                          unscheduled shutdowns during
                                                               the "restoration period".
       Deductible as described below.
                                                            The ADV applies to all "covered
         Unless more specifically indicated on the
                                                            locations" included in the valuation of
         Equipment Breakdown Schedule, the
                                                            the loss. The number indicated on
         Income Coverage Deductible applies to
                                                            the Equipment Breakdown Schedule
                                                            will be multiplied by the ADV as
         1) earnings, "rents", and extra expense;
                                                            determined above. The result will be
            and
         2) service interruption.                           used as the applicable deductible.
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        3) Time Deductibles -- If a time                b. Income Coverage -- "We" pay only a part
           deductible is indicated on the                  of the loss if the "9imit" is less than the
           Equipment Breakdown Schedule,                   coinsurance percentage multiplied by the
           "we" will not be liable for any loss            sum of "your" net income (net profit or
           occurring during the specified                  loss before income taxes), payroll
           number of hours or days immediately             expense, interest, and other continuing
           following the "accident". If a time             operating expenses projected for the 12
           deductible is expressed in days,                months following the inception, or last
           each consecutive day will mean                  previous anniversary date of this policy
           twenty-four consecutive hours.                  (whichever is later), normally earned by
                                                           "your" "business". "Our" part of the loss
3. Loss Settlement Terms -- Subject to                     is determined using the following steps:
   paragraphs 1., 2., 4., 5., and 6. under How
   Much We Pay, "we" pay the lesser of:                     1) multiply the coinsurance percentage
                                                               by the sum of "your" net income (net
   a. the amount determined under Valuation;                   profit or loss before income taxes),
                                                               payroll expense, interest, and other
   b. the cost to repair, replace, or rebuild the              continuing operating expenses
      property with material of like kind and                  projected for the 12 months following
      quality to the extent practicable subject                the inception, or last previous
      to the Valuation provisions under:                       anniversary date of this policy;
                                                            2) divide the "9imit" by the figure
        1) Environmental, Safety and Efficiency                determined in 1. above;
           Improvements; and                                3) multiply the total amount of loss by
        2) Equipment Utilizing CFC                             the figure determined in 2) above.
           Refrigerants; or
                                                                "We" pay the amount determined in
   c.   the "9imit" that applies to covered                     3) above or the "9imit", whichever is
        property.                                               less. "We" do not pay any remaining
                                                                part of the loss.
4. Coinsurance -- If indicated on the
   Equipment Breakdown Schedule, specified              Coinsurance does not apply to coverage for
   coverages may be subject to coinsurance.             extra expense.

   a. Property Damage -- "We" will not pay for      5. Insurance Under More Than One
      the full amount of "your" loss if the            Coverage -- If more than one coverage of
      applicable "9imit" is less than the product      this policy insures the same loss, "we" pay
      of the specified coinsurance percentage          no more than the actual claim, loss, or
      times the value of the property subject to       damage sustained.
      the coverage at the time of the loss.
      Instead, "we" will determine what             6. Insurance Under More Than One Policy
      percentage this calculated product is             -- "You" may have another policy subject to
      compared to the applicable "limit" and           the same plan, "terms", conditions, and
      apply that percentage to the loss after          provisions as this policy. If "you" do, "we" will
      application of the Deductible. The               pay "our" share of the covered loss. "Our"
      resulting amount or the applicable "9imit"       share is the proportion that the applicable
      is the most "we" will pay. "We" will not         "9imit" under this policy bears to the'9imit" of
      pay for the remainder of the loss.               all policies covering on the same basis.
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   If there is another policy covering the same          "We" can do this by mailing or delivering a
   loss, other than that described above, "we"           written notice of suspension to "your"
   will pay only for the amount of covered loss          address as shown in the declarations, or at
   in excess of the amount due from that other           the address where the "covered equipment"
   policy, whether "you" can collect on it or not.       is located.
   But "we" will not pay more than the
   applicable "limit".                                   Once so suspended, "your" insurance can be
                                                         reinstated only by written notice from "us". If
                                                         "your" insurance is so suspended, "you" will
                                                         get a pro rata premium refund. But the
ADDITIONAL CONDITIONS                                    suspension is effective even if "we" have not
                                                         yet offered or made a refund.

   Suspension -- When any "covered                       Jurisdictional Inspections -- If any property
   equipment" is discovered to be in, or                 that is "covered equipment" under the
   exposed to a dangerous situation or                   Equipment Breakdown Coverage requires
   condition, any representative of "ours" may           inspection to comply with state or municipal
   immediately suspend the insurance coverage            boiler and pressure vessel regulations, "we"
   against loss from an "accident" to that               agree to perform such inspection on "your"
   equipment. The suspension will not apply to           behalf.
   any other covered peril under any other
   coverage part.
                                                     CO 1003 04 02
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M
AM   ALLIED
     WORLD

             ALLIED WORLD SPECIALTY INSURANCE COMPANY
 1690 New Britain Avenue, Farmington, CT 06032 -Tel. (860) 284-1300 - Fax (860) 284-1301


              COMMERCIAL INLAND MARINE -- DECLARATIONS

 POLICY NUMBER: 0307-2801                                     RENEWAL OF: 0307-2801


 PRODUCER NAME AND ADDRESS:                Assured Partners NL, LLC
                                           2305 River Road
                                           Louisville, KY 40206


 NAME OF INSURED: Bennett International Group, LLC

 MAILING ADDRESS:      1001 Industrial Parkway
                       Mcdonough, GA 30253


 POLICY PERIOD:        From: March 30, 2019                To: March 30, 2020        at
                       12:01 a.m. Standard Time at your mailing address shown above.


 IN RETURN FOR YOUR PAYMENT OF THE PREMIUM, WE PROVIDE THE INSURANCE AS
 DESCRIBED IN THIS POLICY.


 BUSINESS DESCRIPTION:        Distribution Company


 LOSS PAYABLE NAME AND MAILING ADDRESS:


 LOCATION ADDRESS: Per SOV

 FORMS APPLICABLE TO ALL COVERAGES:

 1.IM 2021 (06/2013) Amendatory Endorsement - Georgia
 2. CL 0610 (01/2015) Certified Act of Terrorism Exclusion
 3. IM 7030 (01/2012) Equipment Schedule Contractor's Equipment
 4. IM 7005 (01/2012) Schedule of Coverages Contractors' Equipment
 5. IM 7019 (01/2012) Waterborne Endorsement
 6. BIG MANU G Blanket Loss Payee
 7. Z-IMCE 00003 00 (06/2019) Fraud and Deceit Coverage Endorsement
 8. IM 7000 (04/2004) Contractors' Equipment Coverage



 PREMIUM:   $-
 CM 00011 00 (07/15)                                     Page 1 of 2

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IN WITNESS WHEREOF, WE HAVE CAUSED THIS POLICY TO BE EXECUTED AND ATTESTED.
THIS POLICY SHALL NOT BE VALID UNLESS COUNTERSIGNED BY OUR DULY AUTHORIZED
REPRESENTATIVE.




                 PRESIDENT                                                  ASST.SECRETARY




                                                               AUTHORIZED REPRESENTATIVE




CM 00011 00 (07/15)                                    Page 2 of 2

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AAIS                                   This endorsement changes
IM 2021 06 13                                  the policy
Page 1 of 1                      -- PLEASE READ THIS CAREFULLY --

                             AMENDATORY ENDORSEMENT
                                     GEORGIA
          1. Under Perils Excluded, Criminal, Fraudulent, Dishonest, Or Illegal Acts, if
             applicable, is amended to include the following:

                However, if the loss is caused by an intentional act of an insured against
                whom a family violence complaint is brought for the act causing this loss, this
                exclusion will not apply to an otherwise covered loss sufFered by another
                insured who did not cooperate with or contribute to the act that caused the
                loss.

                Subject to all other "terms" of this policy, "our" payment to an insured who did
                not cooperate in or contribute to the act that caused the loss may be limited
                to that person's insurable interest in the property, less any payment made to
                a mortgagee or other party with a legal secured interest in the property. "We"
                retain all rights set forth in the Subrogation condition of this policy with regard
                to action against the perpetrator of the act that caused the loss.

          2. Under Other Conditions, Misrepresentation, Concealment, Or Fraud is
             deleted and replaced by the following:

                Misrepresentation, Concealment, Or Fraud —"We" do not provide
                coverage for "you" or any other insured if, before or after a loss:

                a. "you" have or any other insured has willfully concealed or
                   misrepresented:

                    1) a material fact or circumstance that relates to this insurance or the
                       subject thereof; or
                    2) "your" interest herein; or

                b. there has been fraud or false swearing by "you" or any other insured with
                   regard to a matter that relates to this insurance or the subject thereof.




IM 2021 06 13




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AAIS                                     This endorsement changes
CL 0610 01 15                                    the policy
Page 1 of 1                        -- PLEASE READ THIS CAREFULLY --

                    CERTIFIED ACT OF TERRORISM EXCLUSION
1. The following definition is added.                          2. The following exclusion is added.

   "Certified act of terrorism" means an act that                   CERTIFIED ACT OF TERRORISM
   is certified by the Secretary of the Treasury,                   EXCLUSION
   in consultation with the Secretary of
   Homeland Security, and the Attorney                              "We" will not pay for loss or damage caused
   General of the United States:                                    directly or indirectly by a"certified act of
                                                                    terrorism". Such loss or damage is excluded
   a. to be an act of terrorism;                                    regardless of any other cause or event that
                                                                    contributes concurrently or in any sequence
    b. to be a violent act or an act that is                        to the loss.
       dangerous to human life, property, or
       infrastructure;                                         3. The following provisions are added.

    c.   to have resulted in damage:                                a. Neither the "terms" of this endorsement
                                                                       nor the "terms" of any other terrorism
         1) within the United States; or                               endorsement attached to this Coverage
         2) to an air carrier (as defined in section                   Part provide coverage for any loss that
            40102 of title 49, United States                           would otherwise be excluded by this
            Code); to a United States flag vessel                      Coverage Part under:
            (or a vessel based principally in the
            United States, on which United                               1) exclusions that address war, military
            States income tax is paid and whose                             action, or nuclear hazard; or
            insurance coverage is subject to                             2) any other exclusion; and
            regulation in the United States),
            regardless of where the loss occurs;                    b. the absence of any other terrorism .
            or at the premises of any United                           endorsement does not imply coverage
            States mission;                                            for any loss that would otherwise be
                                                                       excluded by this Coverage Part under:
   d. to have been committed by an individual
      or individuals, as part of an effort to                            1) exclusions that address war, military
      coerce the civilian population of the                                 action, or nuclear hazard; or
      United States or to influence the policy or                        2) any other exclusion.
      affect the conduct of the United States
      Government by coercion; and
                                                               CL 0610 01 15
   e. to have resulted in insured losses in
      excess of five million dollars in the
      aggregate, attributable to all types of
      insurance subject to the Terrorism Risk
      Insurance Act, as amended.




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    AAIS                                                                                                                                                                                                                      POLICY NUMBER
    IM 7030 01 12                                                                                                                                                                                                             0307-2801



                                                                                                     EQUIPNiENT SCFiEDULE
                                                                                                     CONTRACTORS'EQUIPMENT
                                                                (The entries required to complete this schedule
                                                           will be shown below or on the "schedule of coverages".)


                          EQUIPMENT SCHEDULE


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                                                                                                        __..       1IGA          ';   30253fOFFICE     ..          ..                . .               . .                    .                                .                               ..... .
    __42 1001. INDUSTRIAL
                    ._           PKWY .                               —._.                           . ~MCDONOUGH (GA            :~„ 30253 1 STORAGE
    .._ 43 1001   INDUSTRIAL   . PKWY
                                   .                                                                     MCDONOUGH I GA .
                                                                                                       .......                       30253 1 5HOP  OFFICE
                                                                                                                                 -..          ....                          _.                       ... . . .                                                                                       _.
         4410011NDUSTRIALPKWV
         _                                                                                             1MCDONOUGH GA                  30253 10FFICE                                                                                                                                        ~
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         4S11001 INDUSTRIAL PKWY                                                                       MCDONOUGH            GA
                                                                                                                         30253 VARD                                                                                                                                                    $25,000
                                                                                                                                                                                                       _
         4611OO11NDU5TRIALPKWY
                .__ . _._._... _                                                                      ~MCDONOUGH IGA _ I 302531DRIVERSLOUNGE
                                                                                                                              I_.                                                                                                                                                  -
k
                                                                                                                                       ___..                                     .                         .                      ...                 ..                                       _._-
i        471375RIVERSID,EDRIVE                                                                        (LITHIASPRING I GA 30122FDATACENTER                                                                                                                                                                       I
         48~41175 MERIDIAN                                                                            t PAUVALLUP        WA i-
                                                                                                                        ~,._..__      98373 1 OFFICE                                     ~
~        50~1649559THAVE
           1 16       _          _                                                                    ;PHOENIX          iAZ      ; 8504310FFICE                                                                                                                        i               $66,015
                                                                                                                                 ,
I        51i 181115 SANTA FE AVE U,NIT B                                                              ~R_ANCHO DOMII CA          ~ 90221jWAREHOUSE-YARD-OFFICE                                                                                                         i               $16,000
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~        522966EVICiORIAST                                                                            iRANCODOM
                                                                                                          _H   IICA              ;.._ 90221fWAREOUSE H
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i        53,1767....
                  DIXON AIRLINE
                          . .... ROAD
                                    ...                     . .              __.                      ~AUGUSTA
                                                                                                      ~.._.                 GA   ~ 309061STORAGE
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I
L    -- —561276 W STATE RD 130 — _          .__                  _                               _    L._ _
                                                                                                       VALPARAI50           IN   ~ 46385}OFFICE -_...~_~
                                                                                                                                                  VARD
 ._.. 58~1021  E 17TH. ST
            .....                           .     ..                                                  {jCHATTANOOGATN
                                                                                                             ...... ...          ;    37408iOFFICE-VARD
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~ 591 5451__._.OATES RD                                                                               IHOUSTON          I TX     I     770131OFFICE/VARD
                                                                                                                                            ._._      _...                  .... __                                                                                                        .         .
      60~1510.. N
                ..... HAMPTON RD STE
                                  .. .. ..110                                                         :DESOTO
    —                                      .. .. . _                                                   ._._..     iTX             ., 75115. !...
                                                                                                                                              OFFICE
                                                                                                                                                 .                           . ... .         ...                                                                       i
    - 61110600OLD BEAUMONTHWY                                                                         ~HOUSTON _  I TX           I~ 77078.OFFICE-VARD
                                                                                                                                            ~        ._....                          --.._.____                    ._.                                         _ I                 $5_05,500_ .
      6214025 MCCOV BLVD                                                                              !NEW BOSTON TX               " 755701OFFICE                                                                                                                                  $100,000 C
         63 20951 MINES RD                                                                            (LAREDO       I TX         ~i 78045 OFFICE-VARD                                .--                           '               '
                                        _                                        _                      _              _                                                                                                                                           _ ~             $400,000!
~        64 801 N 2ND AVE                                                                _             CARBON CLIFF IIL          '~ 61239~OFFICE-SHOP                                                                                                                +                 $43,0001
                                                                                                    _
~68~806__._.._
             HWY 181 NORTH                      IBEEVILLE
                                                  ._        _._...~..
                                                               _      JTX . . 78102~OFFICE AND YARD
                         ___.
     69 2101 NW F ontage Rd 181 Bypass__Apt 715 fBEEVILLE             ITX      78102+Ap rtment                                                                                                                                                                         I                   ~
     70 4836 W LOOP 281    ....                 ILOIVGVIEW...         i TX
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i _ 758515PRATTAVE
                ..._ _.___ __..   ..   __ ...   , DURHAM
                                                   ._   ...           ~CA.__ . 95938jOFFICE ..                                                                                                                                                                         ~
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;}.. 80 1 608CARNATIONDRIVE
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     8211872CR12                                  MIDDLEBURY
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      _84 i7 1144NMAINSTSTEB                                                                          IROXBORO          INC      I    27573EOFFICE                                                                                                                     I
          7                                                                                                                                                             _
._     86I1360INDUSTRIAL
           t      ._  _   _ WAY.. _                    _             _ _                              kWOODBURN
                                                                                                      .         . _    OR ! 97071'OFFICE YARD    _.
    _  91t10646RT322
                 ..             ....                                                                    SHIPPENVILLE [ PA .., 16254'OFFICEYARD
                                                                                                                                            . .... ..                            .._ -__ ..
       93~1203   N OLD ROBINSON RD                                                                    IROBINSON      ITX   i_ 767064MOBILE OFFICE                                                                                                                      ~
                __                                                                                                                    _            .
         ;                                                                                                                 .                                                          --'-'--'—
                                                                                                                                                                                                                                                                       I$1,867,802,1



IM 7030 01 12
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AAiS                                                                                          POLICY NUMBER
IM 7005 01 12                                                                                 0307-2801
Page 1 of 2

                               SCHEDULE OF COVERAGES
                                    CONTRACTORS' EQUIPMENT

                               (The entries required to complete this schedule
                          will be shown below or on the "schedule of coverages".) .

          PROPERTY COVERED

          (check one)

          [X] Scheduled Equipment (Refer to Equipment Schedule)

          [ ] Schedule On File

                                                                                 "Limit"


          Catastrophe Limit -- The most "we" pay
          for loss in any one occurrence is:                            $1,867,802


          COVERAGE EXTENSIONS

          Additional Debris Removal Expenses                            $5,000


          SUPPLEMENTAL COVERAGES

          Employee Tools                                                $5,000

          Equipment Leased or Rented From Others                        $125,000

          Newly Purchased Equipment (check one)

                [ ] Percentage of Catastrophe Limit

                [X] Dollar Limit                                       $250,000

          Pollutant Cleanup and Removal                                 $25,000

          Rental Reimbursement

                -- Reimbursement Limit                                  $5,000

                -- Waiting Period                                        72 Hours

          Spare Parts and Fuel                                          $10,000




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            COINSURANCE (check one)

           [ ] 80%          [ ] 90%          [ ] 100%              [ ] Other              %


           REPORTING CONDITIONS                (check if applicable)

           [] Equipment Leased or Rented From Others

                -- Reporting Rate                                      $

                -- Deposit Premium                                     $

                -- Minimum Premium                                     $


           VALUATION       (check if applicable)

           [X] Actual Cash Value                                       AII Other Equipment

           [X] Replacement Cost                                        Equipment 5 Years and Newer

           [ ] Indicated on Equipment Schedule


           DEDUCTIBLE (check one)

           [X] Flat Deductible Amount

          [ ] Percentage Deductible

                Maximum Deductible Amount

                Minimum Deductible Amount


          ADDITIONAL INFORMATION

          Fraud and Deceit - $50,000

          Waterborne Eguipment - $50,000




IM 7005 01 12
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AAIS                                This endorsement changes the                              POLICY NUMBER
IM 7019 01 12                      Contractors' Equipment Coverage                            0307-2801
Page 1 of 1                    -- PLEASE READ THIS CAREFULLY --

                          WATERBORNE ENDORSEMENT
                         (The entries required to complete this endorsement
                       will be shown below or on the "schedule of coverages".)



          SCHEDULE

                                                                                        "Limit"
          Waterborne Equipment -- The most "we" pay
          in any one occurrence for loss to covered
          property while waterborne is:                                          $50,000

          Waterborne Equipment Deductible -- "We"
          pay only that part of "your" loss over the
          deductible amount in any one occurrence:                               $5,000



          COVERAGE EXTENSIONS

          Waterborne Property -- "We" cover direct physical loss caused by a covered
          peril to covered property while waterborne.



          PROPERTY NOT COVERED

          The exclusion for Waterborne Property still applies except to the extent that
          coverage is provided under this endorsement.




IM 7019 01 12




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                                   This endorsement changes
                                           the policy
                              --PLEASE READ THIS CAREFULLY--

This endorsement, effective: March 30, 2019
(at 12:01 A.M. standard time at the address of the Named Insured as shown on the Declarations)
forms a part of Policy No: 0307-2801


                                        Blanket Loss Payee

This endorsement modifies insurance provided under the following:

COMMERCIAL INLAND MARINE
CONTRACTORS' EQUIPMENT
EQUIPMENT SCHEDULE

The COMMERCIAL INLAND MARINE; CONTRACTORS EQUIPMENT SCHEDULE, is
amended to include the following:

Blanket Loss Payee
   Blanket Loss Payee is added for covered property under this policy as their interest(s) may
   appear under a written agreement with you prior to any loss or damage.




AII other terms and conditions remain unchanged.




BIG MANU G
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                                     This endorsement changes
                                             the policy
                                --PLEASE READ THIS CAREFULLY--

This endorsement, effective:March 30, 2019
(at 12:01 A.M. standard time at the address of the Named Insured as shown on the Declarations)
forms a part of Policy No:0307-2801


                          FRAUD AND DECEIT COVERAGE ENDORSEMENT

This endorsement modifies the insurance provided under the following:

CONTRACTORS' EQUIPMENT COVERAGE

The SUPPLEMENTAL COVERAGES section is amended to include the following:
       Fraud And Deceit --
       a. Coverage -- "We" cover theft of covered property when "you", "your" agents,
          customers, or consignees are fraudulently induced to part with the covered property:
          1) to persons who falsely represent themselves as the proper persons to receive the
          property; 2) by the acceptance of fraudulent bills of lading or shipping receipts; or 3)
          as a result of or directly related to the use of any electronic data processing hardware
          or software.

       b. Limit -- The most "we" pay in any one occurrence for theft of covered property under
          this Coverage is $50,000.


AII other terms and conditions remain unchanged.




Z-IMCE 00003 00 (06/19)
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                     CONTRACTORS' EQUIPMENT COVEReo►GE
                                                                   b. vehicles designed for highway use that
AGREEMENT                                                             are unlicensed and not operated on
                                                                      public roads.

In return for "your" payment of the required                  4. "Equipment schedule" means a schedule of
premium, "we" provide the coverage described                     "contractors' equipment" that is aftached to
herein subject to all the "terms" of the                         this policy and that describes each piece of
Contractors' Equipment Coverage. This coverage                   covered equipment.
is also subject to the "schedule of coverages"
and additional policy conditions relating to                  5. "Jobsite" means any location, project, or
assignment or transfer of rights or duties,                      work site where "you" are in the process of
cancellation, changes or modifications,                          construction, installation, erection, repair, or
inspections, and examination of books and                        moving.
records.
                                                              6. "Limit" means the amount of coverage that
Endorsements and schedules may also apply.                       applies.
They are identified on the "schedule of
coverages".                                                   7. "Pollutant" means:

Refer to Definitions for words and phrases that                         any solid, liquid, gaseous, thermal, or
have special meaning. These words and phrases                           radioactive irritant or contaminant,
are shown in quotation marks or bold type.                              including acids, alkalis, chemicals,
                                                                        fumes, smoke, soot, vapor, and waste.
                                                                        Waste includes materials to be recycled,
                                                                        reclaimed, or reconditioned, as well as
                                                                        disposed of; and
DEFINITIONS
                                                                   b. electrical or magnetic emissions, whether
                                                                      visible or invisible, and sound emissions.
1. The words "you" and "your" mean the
   persons or organizations named as the                      8. "Schedule of coverages" means:
   insured on the declarations.
                                                                   a. all pages labeled schedule of coverages
2. The words "we", "us", and "our" mean the                           or schedules which pertain to this
   company providing this coverage.                                   coverage; and

3. "Contractors' equipment" means machinery,                            declarations or supplemental
   equipment, and tools of a mobile nature that                         declarations which pertain to this
   "you" use in "your" contracting, installation,                       coverage.
   erection, repair, or moving operations or
   projects.                                                       "Sinkhole collapse" means the sudden
                                                                   settlement or collapse of earth supporting the
    "Contractors' equipment" also means:                           covered property into subterranean voids
                                                                   created by the action of water on a limestone
    a. self-propelled vehicles designed and                        or similar rock formation. It does not include
       used primarily to carry mounted                             the value of the land or the cost of filling
       equipment; or                                               sinkholes.




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10. "Specified perils" means aircraft; civil                             2) "contractors' equipment" of others in
    commotion; explosion; falling objects; fire;                            "your" care, custody, or control.
    hail; leakage from fire extinguishing
    equipment; lightning; riot; "sinkhole collapse";                b. Coverage Limitation -- "We" only cover
    smoke; sonic boom; vandalism; vehicles;                            "your" "contractors' equipment" and
    "volcanic action"; water damage; weight of                         "contractors' equipment" of others:
    ice, snow, or sleet; and windstorm.
                                                                         1) that are described on the "equipment
    Falling objects does not include loss to:                               schedule"; and
                                                                         2) when Scheduled Equipment is
    a. personal property in the open; or                                    indicated on the "schedule of
                                                                            coverages".
    b. the interior of buildings or structures or to
       personal property inside buildings or                   2. Schedule On File --
       structures unless the exterior of the roofs
       or walls are first damaged by a falling                      a. Coverage -- "We" cover direct physical
       object.                                                         loss caused by a covered peril to:

    Water damage means the sudden or                                     1) "your" "contractors' equipment"; and
    accidental discharge or leakage of water or                          2) "contractors' equipment" of others in
    steam as a direct result of breaking or                                 "your" care, custody, or control.
    cracking of a part of the system or appliance
    containing the water or steam.                                  b. Coverage Limitation -- "We" only cover
                                                                       "your" "contractors' equipment" and
11. "Terms" means all provisions, limitations,                         "contractors' equipment" of others:
    exclusions, conditions, and definitions that
    apply.                                                               1) that are listed in a schedule which
                                                                            "you" must submit to "us" and "we"
12. "Volcanic action" means airborne volcanic                               keep on file, the schedule must
    blast or airborne shock waves; ash, dust, or                            contain a description of each item to
    particulate matter; or lava flow.                                       be covered and a"limit" for each
                                                                            item; and
    Volcanic action does not include the cost to                         2) when Schedule on File is indicated
    remove ash, dust, or particulate matter that                            on the "schedule of coverages".
    does not cause direct physical loss to the
    covered property.

                                                               PROPERTY NOT COVERED
PROPERTY COVERED
                                                               1. Aircraft Or Watercraft -- "We" do not cover
                                                                  aircraft or watercraft.
"We" cover the following property unless the
property is excluded or subject to limitations.                2. Contraband -- "We" do not cover contraband
                                                                  or property in the course of illegal
1. Scheduled Equipment --                                         transportation or trade.

    a. Coverage -- "We" cover direct physical                  3. Leased Or Rented Property -- "We" do not
       loss caused by a covered peril to:                         cover property that "you" lease or rent to
                                                                  others.
        1) "your" "contractors' equipment"; and



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4. Loaned Property -- "We" do not cover                         The "limit" provided under a Coverage Extension
   property that "you" loan to others.                          cannot be combined or added to the "limit" for
                                                                any other Coverage Extension or Supplemental
5. Underground Mining Operations -- "We"                        Coverage including a Coverage Extension or
   do not cover property while stored or                        Supplemental Coverage that is added to this
   operated underground in connection with any                  policy by endorsement.
   mining operations.
                                                                If coinsurance provisions are part of this policy,
6. Vehicles -- "We" do not cover automobiles,                   the following coverage extensions are not subject
   motor trucks, tractors, trailers, and similar                to and not considered in applying coinsurance
   conveyances designed for highway use and                     conditions.
   used for over the road transportation of
   people or cargo. However, this does not                      Debris Removal --
   include:
                                                                1. Coverage -- "We" pay the cost to remove the
    a. self-propelled vehicles designed and                        debris of covered property that is caused by
       used primarily to carry mounted                             a covered peril.
       equipment; or
                                                                2. We Do Not Cover -- This coverage does not
    b. vehicles designed for highway use that                      include costs to:
       are unlicensed and not operated on
       public roads.                                                 a. extract "pollutants" from land or water; or

7. Waterborne Property -- "We" do not cover                          b. remove, restore, or replace polluted land
   property while waterborne except while in                            or water.
   transit in the custody of a carrier for hire.
                                                                3. Limit -- "We" do not pay any more under this
                                                                   coverage than 25% of the amount "we" pay
                                                                   for the direct physical loss. "We" will not pay
COVERAGE EXTENSIONS                                                more for loss to property and debris removal
                                                                   combined than the "limit" for the damaged
                                                                   property.
Provisions That Apply To Coverage
Extensions -- The following Coverage                            4. Additional Limit -- "We" pay up to an
Extensions indicate an applicable "limit". This                    additional $5,000 for debris removal expense
"limit" may also be shown on the "schedule of                      when the debris removal expense exceeds
coverages".                                                        25% of the amount "we" pay for direct
                                                                   physical loss or when the loss to property
If a different "limit" is indicated on the "schedule               and debris removal combined exceeds the
of coverages", that "limit" will apply instead of the              "limit" for the damaged property.
"limit" shown below.
                                                                5. You Must Report Your Expenses -- "We"
However, if no "limit" is indicated for a Coverage                 do not pay any expenses unless they are
Extension, coverage is provided up to the full                     reported to "us" in writing within 180 days
"limit" for the applicable covered property unless                 from the date of direct physical loss to
a different "limit" is indicated on the "schedule of               covered property.
coverages".

Unless otherwise indicated, the coverages
provided below are part of and not in addition to
the applicable "limit" for coverage described
under Property Covered.


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                                                                1. Employee Tools --
SUPPLEMENTAL COVERAGES
                                                                     a. Coverage -- "We" cover direct physical
                                                                        loss caused by a covered peril to tools
Provisions That Apply To Supplemental                                   owned by "your" employees.
Coverages -- The following Supplemental
Coverages indicate an applicable "limit". This                       b. Coverage Limitation -- "We" only cover
"limit" may also be shown on the "schedule of                           tools owned by "your" employees while
coverages".                                                             at a:

If a different "limit" is indicated on the "schedule                      1) premises that "you" own or operate;
of coverages", that "limit" will apply instead of the                        or
"limit" shown below.                                                      2) "jobsite".

However, if no "limit" is indicated for a                            c. Limit -- The most "we" pay in any one
Supplemental Coverage, coverage is provided up                          occurrence for loss to employee tools is
to the full "limit" for the applicable covered                          $5,000.
property unless a different "limit" is indicated on
the "schedule of coverages".                                    2. Equipment Leased Or Rented From
                                                                   Others --
Unless otherwise indicated, a"limit" for a
Supplemental Coverage provided below is                              a. Coverage -- "We" cover direct physical
separate from, and not part of, the applicable                          loss caused by a covered peril to
"limit" for coverage described under Property                           "contractors' equipment" that "you" have
Covered.                                                                leased or rented from others.

The "limit" available for coverage described                         b. Limit -- The most "we" pay in any one
under a Supplemental Coverage:                                          occurrence for equipment leased or
                                                                        rented from others is $25,000.
a. is the only "limit" available for the described
   coverage; and                                                3. Newly Purchased Property --

b. is not the sum of the "limit" indicated for a                     a. Coverage -- "We" cover direct physical
   Supplemental Coverage and the "limit" for                            loss caused by a covered peril to
   coverage described under Property Covered                            additional "contractors' equipment" that
                                                                        "you" purchase during the policy period.
The "limit" provided under a Supplemental
Coverage cannot be combined or added to the                          b. Limit -- The most that "we" pay for any
"limit" for any other Supplemental Coverage or                          loss under this supplemental coverage is
Coverage Extension including a Supplemental                             the least of the:
Coverage or Coverage Extension that is added to
this policy by endorsement.                                               1) actual cash value of the covered
                                                                             property; or
If coinsurance provisions are part of this policy,                        2) "limit" for newly purchased property
the following supplemental coverages are not                                 indicated on the "schedule of
subject to and not considered in applying                                    coverages". If no "limit" is indicated,
coinsurance conditions.                                                      then 30% of the Catastrophe Limit
                                                                             indicated on the "schedule of
                                                                             coverages" applies to this coverage.




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   c. Time Limitation -- "We" extend                         5. Rental Reimbursement --
      coverage to the additional "contractors'
      equipment" that "you" purchase for up to                    a. Coverage -- In the event of a direct
      60 days.                                                       physical loss by a covered peril to "your"
                                                                     "contractors' equipment", "we" reimburse
       This supplemental coverage will end                           "you" for "your" expense to rent similar
       when any of the following first occur:                        equipment while "your" equipment is
                                                                     inoperable.
       1) this policy expires;
       2) 60 days after "you" obtain the                               The deductible amount indicated on the
          additional "contractors' equipment";                         "schedule of coverages" does not apply
          or                                                           to a loss covered under this
       3) "you" report the additional                                  supplemental coverage.
          "contractors' equipment" to "us".
                                                                  b. Waiting Period -- "We" will not
   d. Additional Premium -- "You" must pay                           reimburse "you" for the rental of
      any additional premium due from the                            equipment until after the first 72-hours
      date "you" purchase the additional                             (unless otherwise indicated on the
      "contractors' equipment".                                      "schedule of coverages") following the
                                                                     direct physical loss to "your" "contractors'
4. Pollutant Cleanup And Removal --                                  equipment" caused by a covered peril.

   a. Coverage -- "We" pay "your" expense to                      c. Incurred Rental Expenses -- After the
      extract "pollutants" from land or water if                     waiting period has passed, "we" will only
      the discharge, dispersal, seepage,                             reimburse "you" for the rental expenses
      migration, release, or escape of the                           that "you" actually incur.
      "pollutants" is caused by a covered peril
      that occurs during the policy period.                       d. Coverage After Expiration Date -- "We"
                                                                     will continue to reimburse "you" for the
   b. Time Limitation -- The expenses to                             rental of equipment after the expiration
      extract "pollutants" are paid only if they                     date of this coverage, provided the loss
      are reported to "us" in writing within 180                     occurred before the expiration date.
      days from the date the covered peril
      occurs.                                                     e. Coverage Limitations -- "We" will not
                                                                     reimburse "you":
   c. We Do Not Cover -- "We" do not pay the
      cost of testing, evaluating, observing, or                       1) if "you" can continue or resume
      recording the existence, level, or effects                          "your" operations with similar
      of "pollutants".                                                    equipment that is available to "you"
                                                                          at no additional expense to "you"; or
       However, "we" pay the cost of testing                           2) for the rental expense of any
       which is necessary for the extraction of                           equipment unless "you" make every
       "pollutants" from land or water.                                   reasonable effort to repair, replace,
                                                                          or rebuild the inoperable equipment
   d. Limit -- The most "we" pay for each                                 after the loss by a covered peril
      location is $25,000 for the sum of all                              occurs.
      such expenses arising out of a covered
      peril occurring during each separate 12-                    f.   Limit -- The most "we" reimburse "you"
      month period of this policy.                                     in any one occurrence for rental
                                                                       expenses is $5,000.




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6. Spare Parts And Fuel --                                               Nuclear Hazard -- "We" do not pay for
                                                                         loss caused by or resulting from a
    a. Coverage -- "We" cover direct physical                            nuclear reaction, nuclear radiation, or
       loss caused by a covered peril to:                                radioactive contamination (whether
                                                                         controlled or uncontrolled; whether
        1) spare parts and accessories for                               caused by natural, accidental, or artificial
           "contractors' equipment"; and                                 means). Loss caused by nuclear hazard
        2) fluids for vehicles and "contractors'                         is not considered loss caused by fire,
           equipment"; fluids include gasoline,                          explosion, or smoke. Direct loss by fire
           oil, and hydraulic fluid.                                     resulting from the nuclear hazard is
                                                                         covered.
    b. Limit -- The most "we" pay in any one
       occurrence for loss to spare parts and                       c.   War And Military Action -- "We" do not
       accessories is $5,000.                                            pay for loss caused by:

                                                                         1) war, including undeclared war or civil
                                                                            war; or
PERILS COVERED                                                           2) a warlike action by a military force,
                                                                            including action taken to prevent or
                                                                            defend against an actual or expected
"We" cover risks of direct physical loss unless the                         attack, by any government,
loss is limited or caused by a peril that is                                sovereign, or other authority using
excluded.                                                                   military personnel or other agents; or
                                                                         3) insurrection, rebellion, revolution, or
                                                                            unlawful seizure of power including
                                                                            action taken by governmental
                                                                            authority to prevent or defend
PERILS EXCLUDED                                                             against any of these.

                                                                         With regard to any action that comes
    "We" do not pay for loss or damage caused                            within the "terms" of this exclusion and
    directly or indirectly by one or more of the                         involves nuclear reaction, nuclear
    following excluded causes.or events. Such                            radiation, or radioactive contamination,
    loss or damage is excluded regardless of                             this War and Military Action Exclusion will
    other causes or events that contribute to or                         apply in place of the Nuclear Hazard
    aggravate the loss, whether such causes or                           Exclusion.
    events act to produce the loss before, at the
    same time as, or after the excluded causes                 2. "We" do not pay for loss or damage that is
    or events.                                                    caused by or results from one or more of the
                                                                  following:
    a. Civil Authority -- "We" do not pay for
       loss caused by order of any civil                            a. Contamination or Deterioration -- "We"
       authority, including seizure, confiscation,                     do not pay for loss caused by
       destruction, or quarantine of property.                         contamination or deterioration including
                                                                       corrosion, decay, fungus, mildew, mold,
        "We" do cover loss resulting from acts of                      rot, rust, or any quality, fault, or
        destruction by the civil authority to                          weakness in the covered property that
        prevent the spread of fire, unless the fire                    causes it to damage or destroy itself.
        is caused by a peril excluded under this
        coverage.                                                        But if contamination or deterioration
                                                                         results in a covered peril, "we" do cover
                                                                         the loss or damage caused by that
                                                                         covered peril.

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   b. Criminal, Fraudulent, Dishonest Or                               Missing Property -- "We" do not pay for
      Illegal Acts -- "We" do not pay for loss                         missing property where the only proof of
      caused by or resulting from criminal,                            loss is unexplained or mysterious
      fraudulent, dishonest, or illegal acts                           disappearance of covered property, or
      committed alone or in collusion with                             shortage of property discovered on
      another by: :                                                    taking inventory, or any other instance
                                                                       where there is no physical evidence to
       1) "you";                                                       show what happened to the covered
       2) others who have an interest in the                           property.
          property;
       3) others to whom "you" entrust the                             This exclusion does not apply to covered
          property;                                                    property in the custody of a carrier for
       4) "your" partners, officers, directors,                        hire.
          trustees, joint venturers, or "your"
          members or managers if "you" are a                      f.   Pollutants -- "We" do not pay for loss
          limited liability company; or                                caused by or resulting from release,
       5) the employees or agents of 1), 2), 3),                       discharge, seepage, migration, dispersal,
          or 4) above, whether or not they are                         or escape of "pollutants":
          at work.
                                                                       1) unless the release, discharge,
       This exclusion does not apply to acts of                           seepage, migration, dispersal, or
       destruction by "your" employees, but                               escape is caused by a"specified
       "we" do not pay for theft by employees.                            peril"; or
                                                                       2) except as specifically provided under
       This exclusion does not apply to covered                           the Supplemental Coverages -
       property in the custody of a carrier for                           Pollutant Cleanup and Removal.
       hire.
                                                                       "We" do cover any resulting loss caused
   c. Loss Of Use -- "We" do not pay for loss                          by a "specified peril".
      caused by or resulting from loss of use,
      delay, or loss of market.                                   g. Temperature/Humidity -- "We" do not
                                                                     pay for loss caused by dryness,
   d. Mechanical Breakdown -- "We" do not                            dampness, humidity, or changes in or
      pay for loss caused by any mechanical,                         extremes of temperature.
      structural, or electrical breakdown or
      malfunction including a breakdown or                             But if dryness, dampness, humidity, or
      malfunction resulting from a structural,                         changes in or extremes of temperature
      mechanical, or reconditioning process.                           results in a covered peril, "we" do cover
                                                                       the loss or damage caused by that
       But if a mechanical, structural, or                             covered peril.
       electrical breakdown or malfunction
       results in a covered peril, "we" do cover                  h. Voluntary Parting -- "We" do not pay for
       the loss or damage caused by that                             loss caused by or resulting from
       covered peril.                                                voluntary parting with title to or
                                                                     possession of any property because of
                                                                     any fraudulent scheme, trick, or false
                                                                     pretense.




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    i.   Wear And Tear -- "We" do not pay for                       a. the time, place, and circumstances of the
         loss caused by wear and tear, marring,                        loss;
         or scratching.
                                                                     b. other policies of insurance that may
         But if wear and tear, marring, or                              cover the loss;
         scratching results in a covered peril, "we"
         do cover the loss or damage caused by                      c. "your" interest and the interests of all
         that covered peril.                                           others in the property involved, including
                                                                       all mortgages and liens;

                                                                    d. changes in title of the covered property
WHAT MUST BE DONE                                                      during the policy period; and
IN CASE OF LOSS
                                                                    e. estimates, specifications, inventories,
                                                                       and other reasonable information that
1. Notice -- In case of a loss, "you" must:                            "we" may require to settle the loss.

                                                               4. Examination -- "You" must submit to
    a. give "us" or "our" agent prompt notice
                                                                  examination under oath in matters connected
       including a description of the property
                                                                  with the loss as often as "we" reasonably
       involved ("we" may request written
                                                                  request and give "us" sworn statements of
       notice); and
                                                                  the answers. If more than one person is
                                                                  examined, "we" have the right to examine
    b. give notice to the police when the act that
                                                                  and receive statements separately and not in
       causes the loss is a crime.
                                                                  the presence of others.
2. You Must Protect Property -- "You" must
                                                               5. Records -- "You" must produce records,
   take all reasonable steps to protect covered
                                                                  including tax returns and bank microfilms of
   property at and after an insured loss to avoid
                                                                  all canceled checks relating to value, loss,
   further loss.
                                                                  and expense and permit copies and extracts
                                                                  to be made of them as often as "we"
    a. Payment of Reasonable Costs -- "We"
                                                                  reasonably request.
       do pay the reasonable costs incurred by
       "you" for necessary repairs or emergency
                                                               6. Damaged Property -- "You" must exhibit the
       measures performed solely to protect
                                                                  damaged and undamaged property as often
       covered property from further damage by
                                                                  as "we" reasonably request and allow "us" to
       a peril insured against if a peril insured
                                                                  inspect or take samples of the property.
       against has already caused a loss to
       covered property. "You" must keep an
                                                               7. Volunteer Payments -- "You" must not,
       accurate record of such costs. "Our"
                                                                  except at "your" own expense, voluntarily
       payment of reasonable costs does not
                                                                  make any payments, assume any
       increase the "9imit".
                                                                  obligations, pay or offer any rewards, or incur
                                                                  any other expenses except as respects
    b. We Do Not Pay -- "We" do not pay for
                                                                  protecting property from further damage.
       such repairs or emergency measures
       performed on property which has not
                                                               8. Abandonment -- "You" may not abandon the
       been damaged by a peril insured against.
                                                                  property to "us" without "our" written consent.
3. Proof Of Loss -- "You" must send "us",
                                                               9. Cooperation -- "You" must cooperate with
   within 60 days after "our" request, a signed,
                                                                  "us" in performing all acts required by this
   sworn proof of loss. This must include the
                                                                  policy.
   following information:



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VALUATION                                                       HOW MUCH WE PAY


1. Actual Cash Value -- The value of covered                   1. Insurable Interest -- "We" do not cover more
   property will be based oh the actual cash                      than "your" insurable interest iri any property.
   value at the time of the loss (with a deduction
   for depreciation) unless replacement cost is                2. Flat Deductible -- "We" pay only that part of
   indicated on the "schedule of coverages".                      "your" loss over the deductible amount
                                                                  indicated on the "schedule of coverages" in
2. Replacement Cost -- The value of covered                       any one occurrence unless Percentage
   property will be based on the replacement                      Deductible is indicated on the "schedule of
   cost without any deduction for depreciation                    coverages".
   unless Actual Cash Value is indicated on the
   "schedule of coverages".                                    3. Percentage Deductible -- When a
                                                                  percentage deductible is indicated on the
    a. Replacement Cost Limitation -- The                         "schedule of coverages", "we" pay only that
       replacement cost is limited to the cost of                 part of "your" loss over the deductible
       repair or replacement with similar                         amount as determined below.
       materials and used for the same
       purpose. The payment will not exceed                         a. Determining The Deductible Amount --
       the amount "you" spend to repair or                             The deductible amount is determined by
       replace the damaged or destroyed                                applying the percentage indicated on the
       property.                                                       "schedule of coverages" to the value of
                                                                       the covered property that is involved in
    b. Replacement Cost Does Not Apply                                 the loss. The value is determined by the
       Until Repair Or Replacement --                                  provisions described under the Valuation
       Replacement cost valuation does not                             section of this policy.
       apply until the damaged or destroyed
       property is repaired or replaced.                            b. Two Or More Items -- If a loss involves
                                                                       two or more pieces of equipment, the
    c. Time Limitation -- "You" may make a                             percentage indicated on the "schedule of
       claim for actual cash value before repair                       coverages" will apply only to the covered
       or replacement takes place, and later for                       property with the highest value.
       the replacement cost if "you" notify "us"
       of "your" intent within 180 days after the                   c. Minimum and Maximum Deductible --
       loss.                                                           The percentage deductible will not
                                                                       exceed the Maximum Deductible amount
3. Pair Or Set -- The value of a lost or                               and will not be less than the Minimum
   damaged article which is part of a pair or set                      Deductible amount indicated on the
   is based on a reasonable proportion of the                          "schedule of coverages".
   value of the entire pair or set. The loss is not
   considered a total loss of the pair or set.                 4. Loss Settlement Terms -- Subject to
                                                                  paragraphs 1., 2., 3., 5., 6., and 7. under
4. Loss To Parts -- The value of a lost or                        How Much We Pay, "we" pay the lesser of:
   damaged part of an item that consists of
   several parts when it is complete is based on                    a. the amount determined under Valuation;
   the value of only the lost or damaged part or
   the cost to repair or replace it.




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   b. the cost to repair, replace, or rebuild the                   e. When Coinsurance Does Not Apply --
      property with material of like kind and                          Conditions for coinsurance do not apply
      quality to the extent practicable; or                            unless a coinsurance percentage is
                                                                       indicated on the "schedule of coverages".
   c. the "limit" that applies to the covered
      property. However, the most "we" pay for                 6. Insurance Under More Than One
      loss in any one occurrence is the                           Coverage -- If more than one coverage of
      Catastrophe Limit indicated on the                          this policy insures the same loss, "we" pay
      "schedule of coverages".                                    no more than the actual claim, loss, or
                                                                  damage sustained.
5. Coinsurance --
                                                               7. Insurance Under More Than One Policy --
   a. When Coinsurance Applies -- "We"
      only pay a part of the loss if the "limit" is                      Proportional Share -- "You" may have
      less than the percentage of the value of                           another policy subject to the same
      the covered property that is indicated on                          "terms" as this policy. If "you" do, "we"
      the "schedule of coverages".                                       will pay "our" share of the covered loss.
                                                                         "Our" share is the proportion that the
   b. How We Determine Our Part Of The                                   applicable "limit" under this policy bears
      Loss -- "Our" part of the loss is                                  to the "limit" of all policies covering on
      determined using the following steps:                              the same basis.

       1) multiply the percent indicated on the                     b. Excess Amount -- If there is another
          "schedule of coverages" by the value                         policy covering the same loss, other than
          of the covered property at the time of                       that described above, "we" pay only for
          loss;                                                        the amount of covered loss in excess of
       2) divide the "limit" for covered property                      the amount due from that other policy,
          by the result determined in b.1)                             whether "you" can collect on it or not. But
          above;                                                       "we" do not pay more than the applicable
       3) multiply the total amount of loss,                           "limit".
          after the application of any
          deductible, by the result determined
          in b.2) above.
                                                               LOSS PAYMENT
       The most "we" pay is the amount
       determined in b.3) above or the "limit",
       whichever is less. "We" do not pay any
                                                               1. Loss Payment Options --
       remaining part of the loss.
                                                                    a. Our Options -- In the event of loss
   c. If There Is More Than One Limit -- If
                                                                       covered by this coverage form, "we"
      there is more than one "limit" indicated
                                                                       have the following options:
      on the "schedule of coverages" for this
      coverage part, this procedure applies
                                                                         1) pay the value of the lost or damaged
      separately to each "limit".
                                                                            property;
                                                                         2) pay the cost of repairing or replacing
   d. If There Is Only One Limit -- If there is
                                                                            the lost or damaged property;
      only one "limit" indicated on the
      "schedule of coverages" for this
      coverage, this procedure applies to the
      total of all covered property to which the
      "limit" applies.




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       3) rebuild, repair, or replace the
          property with other property of                    REPORTING CONDITIONS
          equivalent kind and quality, to the
          extent practicable, within a
          reasonable time; or
                                                             Equipment Leased Or Rented From Others --
       4) take all or any part of the property at
                                                             If indicated on the "schedule of coverages", the
          the agreed or appraised value.
                                                             following reporting conditions apply.
   b. Notice Of Our Intent To Rebuild,
                                                             1. Reports --
      Repair, Or Replace -- "We" must give
      "you" notice of "our" intent to rebuild,
                                                                  a. You Will Report To Us -- Within 30
      repair, or replace within 30 days after
                                                                     days after the end of the policy period,
      receipt of a duly executed proof of loss.
                                                                     "you" will report to "us" the total amount
                                                                     of "your" expenditures for "contractors'
2. Your Losses --
                                                                     equipment" that "you" lease or rent from
                                                                     others.
   a. Adjustment And Payment Of Loss --
      "We" adjust all losses with "you".
                                                                  b. Cancellation -- If this policy is canceled,
      Payment will be made to "you" unless
                                                                     "you" will report the total amount of
      another loss payee is named in the
                                                                     expenditures up to and including the
      policy.
                                                                     date of cancellation.
   b. Conditions For Payment Of Loss -- An
                                                             2. Premium Computation And Adjustment --
      insured loss will be payable 30 days
      after:
                                                                       The premium will be adjusted at the end
                                                                       of the policy period. The total computed
       1) a satisfactory proof of loss is
                                                                       premium will be determined by
          received, and
                                                                       multiplying "your" total equipment
       2) the amount of the loss has been
                                                                       expenditures by the reporting rate
          established either by written
                                                                       indicated on the "schedule of coverages"
          agreement with "you" or the filing of
                                                                       for Equipment Leased or Rented From
          an appraisal award with "us".
                                                                       Others.
3. Property Of Others --
                                                                       "We" will compare the total computed
                                                                       premium to the deposit premium. If it is
   a. Adjustment And Payment of Loss To
                                                                       more than the deposit premium, "you"
      Property of Others -- Losses to property
                                                                       will pay "us" the difference. If it is less
      of others may be adjusted with and paid
                                                                       than the deposit premium, "we" will pay
      to:
                                                                       "you" the difference subject to the
                                                                       minimum premium indicated on the
       1) "you" on behalf of the owner; or
                                                                       "schedule of coverages".
       2) the owner.
                                                             3. Provisions That Affect How Much We
   b. We Do Not Have To Pay You If We Pay
                                                                Pay -- The following provisions apply to
      The Owner -- If "we" pay the owner, "we"
                                                                reports that are submitted and may affect
      do not have to pay "you". "We" may also
                                                                How Much We Pay:
      choose to defend any suits brought by
      the owners at "our" expense.
                                                                  a. Failure To Submit Reports -- If "you"
                                                                     have failed to submit the required reports
                                                                     or no report has been submitted, the
                                                                     most "we" will pay is 90% of the "limit".



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    b. Reported Values Are Less Than The                           The appraisers will also determine the value
       Full Value -- If "your" last report before a                of covered property items at the time of the
       loss shows less than the actual value of                    loss, if requested.
       "your" expenditures for "contractors'
       equipment" that "you" lease or rent from                    If the appraisers submit a written report of
       others, "we" will only pay a part of the                    any agreement to "us", the amount agreed
       loss. "We" will not pay a greater portion                   upon will be the amount of the loss. If the
       of the loss, prior to the application of the                appraisers fail to agree within a reasonable
       deductible, than the total expenditures                     time, they will submit only their differences to
       "you" reported divided by "your" actual                     the umpire. Written agreement so itemized
       expenditures for "contractors'                              and signed by any two of these three, sets
       equipment" that "you" lease or rent from                    the amount of the loss.
       others during the reporting period.
                                                                   Each appraiser will be paid by the party
    c. We Will Not Pay More Than The                               selecting that appraiser. Other expenses of
       Limit -- "We" will not pay more than the                    the appraisal and the compensation of the
       applicable "limit" regardless of any                        umpire will be paid equally by "you" and "us".
       reported value used in computing the
       premium.                                               2. Benefit to Others -- Insurance under this
                                                                 coverage will not directly or indirectly benefit
                                                                 anyone having custody of "your" property.

OTHER CONDITIONS                                              3. Conformity With Statute -- When a
                                                                 condition of this coverage is in conflict with
                                                                 an applicable law, that condition is amended
1. Appraisal -- If "you" and "we" do not agree                   to conform to that law.
   on the amount of the loss or the value of
   covered property, either party may demand                  4. Estates -- This provision applies only if the
   that these amounts be determined by                           insured is an individual.
   appraisal.
                                                                   a. Your Death -- On "your" death, "we"
   If either makes a written demand for                               cover the following as an insured:
   appraisal, each will select a competent,
   independent appraiser and notify the other of                        1) the person who has custody of "your"
   the appraiser's identity within 20 days of                              property until a legal representative
   receipt of the written demand. The two                                  is qualified and appointed; or
   appraisers will then select a competent,                             2) "your" legal representative.
   impartial umpire. If the two appraisers are
   unable to agree upon an umpire within 15                             This person or organization is an insured
   days, "you" or "we" can ask a judge of a court                       only with respect to property covered by
   of record in the state where the property is                         this coverage.
   located to select an umpire.
                                                                   b. Policy Period Is Not Extended -- This
   The appraisers will then determine and state                       coverage does not extend past the policy
   separately the amount of each loss.                                period indicated on the declarations.




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5. Misrepresentation, Concealment, Or                         8. Restoration Of Limits -- A loss "we" pay
   Fraud -- This coverage is void as to "you"                    under this coverage does not reduce the
   and any other insured if, before or after a                   applicable "limit" unless it is a total loss to a
   loss:                                                         scheduled item. In the event of a total loss to
                                                                 a scheduled item, "we" refund the unearned
   a. "you" or any other insured have willfully                  premium on that item.
      concealed or misrepresented:
                                                              9. Subrogation -- If "we" pay for a loss, "we"
        1) a material fact or circumstance that                  may require "you" to assign to "us" "your"
           relates to this insurance or the                      right of recovery against others. "You" must
           subject thereof; or                                   do all that is necessary to secure "our" rights.
        2) "your" interest herein.                               "We" do not pay for a loss if "you" impair this
                                                                 right to recover.
    b. there has been fraud or false swearing
       by "you" or any other insured with regard                   "You" may waive "your" right to recover from
       to a matter that relates to this insurance                  others in writing before a loss occurs.
       or the subject thereof.
                                                              10. Suit Against Us -- No one may bring a legal
6. Policy Period -- "We" pay for a covered loss                   action against "us" under this coverage
   that occurs during the policy period.                          unless:

7. Recoveries -- If "we" pay "you" for the loss                    a. all of the "terms" of this coverage have
   and lost or damaged property is recovered,                         been complied with; and
   or payment is made by those responsible for
   the loss, the following provisions apply:                       b. the suit has been brought within two
                                                                      years after "you" first have knowledge of
    a. "you" must notify "us" promptly if "you"                       the loss.
       recover property or receive payment;
                                                                        If any applicable law makes this limitation
    b. "we" must notify "you" promptly if "we"                          invalid, then suit must begin within the
       recover property or receive payment;                             shortest period permitted by law.

   c. any recovery expenses incurred by either                11. Territorial Limits -- "We" cover property
     , are reimbursed first;                                      while it is in the United States of America, its
                                                                  territories and possessions, Canada, and
   d. "you" may keep the recovered property                       Puerto Rico.
      but "you" must refund to "us" the amount
      of the claim paid or any lesser amount to
      which "we" agree; and                                   IM 7000 04 04

   e. if the claim paid is less than the agreed
      loss due to a deductible or other limiting
      "terms" of this policy, any recovery will be
      pro rated between "you" and "us" based
      on "our" respective interest in the loss.




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                                           December 22, 2020

VIA EMAIL (jbrooks(a~networkadiusters.com)
and CERTIFIED MAIL/
RETURN RECEIPT REOUESTED
Mr. Jonathan Brooks
Claim Director
Network Adjusters, Inc.
Stanford Place
8055 E. Tufts Avenue, Suite 600
Denver, CO 80237

            Re:    Your Insured        :        Bennett International Group, LLC
                   Insurer                      Allied World Specialty Insurance Company
                   Claim No.           :        2020002908
                   Allied Policy No.   :        0307-2801
                   Date of Loss        :        February 7, 2020
                   Our File No.        :        3030-15187 (SWM/JMH)

Dear Mr. Brooks:

       We represent Bennett International Group, LLC ("Bennett") with regard to the above-
referenced claim. The purpose of this letter is to provide a formal demand to Allied World
Specialty Insurance Company ("Allied"), pursuant to O.C.G.A. § 33-4-6, for payment of this
claim in full within sixty (60) days after receipt of this letter. If full payment of the claim is not
made within that time frame, Bennett will proceed with an action for bad faith for Allied's
wrongful denial of the claim, which will allow recovery of the actual loss as well as an additional
amount equal to 50% of the loss and all attorneys' fees incurred by Bennett. For the reasons
explained below, the coverage position Allied has taken thus far is incorrect under Georgia law.

        As you are aware, Bennett suffered a loss to business property of others on February 7,
2020. The loss consisted of flood damage to 25 travel trailers at one of Bennett's locations.
Allied had the trailers inspected by McLarens, which determined that they were a total loss and
further determined that the value of the travel trailers was $481,387. Bennett subsequently paid
$478,417 to satisfy the claim of the owner. Allied has refused to make any payment on
Bennett's claim, wrongly asserting that the claim is subject to a$500,000 deductible, despite
such a deductible appearing nowhere in the policy issued by Allied to Bennett.



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                                                                             EXHIBIT     B
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       Allied issued policy number 0307-2801 to Bennett, with an effective policy period of
March 30, 2019 to March 30, 2020. The policy contains a form titled Commercial Output
Program Property Coverage Part providing coverage for Business Personal Property. Per the
terms of the policy, covered business personal property includes "g. personal property of others.
This means personal property of others that is in `your' care, custody, or control." It is
undisputed that the travel trailers were in Bennett's care, custody, or control, so the policy clearly
provides coverage for damage to the trailers.

        Further, the policy contains a Schedule of Coverages adding flood coverage to the policy.
On that endorsement, the box next to flood coverage is checked and it provides for a limit in the
amount of $1,000,000. As to the "Flood Deductible," the Schedule of Coverages endorsement
states as follows: "Per BIG MANU E— Deductible Endorsement."

        The BIG MANU E— Deductible Endorsement is also a part of the policy and states that
"[flor the perils of earthquake, flood, windstorm and hail, the deductibles set forth below apply."
Below that language is the following:

            (2) Flood: See Endorsement

      The monetary amount of any flood deductible is not provided on the BIG MANU E—
Deductible Endorsement. Moreover, there is no other endorsement to the policy that
provides for any deductible amount that is specific to the policy's flood coverage. More
importantly, there is certainly no endorsement to the policy providing for a$500,000
deductible.

        The only deductible listed in the policy that might apply is the "Property of Others"
deductible in the amount of $10,000 listed on endorsement CO 1235 04 02. That provision
applies to damage to property of others at scheduled locations, and it is undisputed that this loss
occurred at a location scheduled under the policy.

       Allied has repeatedly denied Bennett's claim without ever even acknowledging that the
$500,000 deductible on which it relies does not even appear in the policy. Rather, Allied has
mischaracterized the policy and related documents in an attempt to impose a deductible that its
policy does not contain.

        First, the initial denial letter of May 21, 2020 from Quentin Kareiva of Network
Adjusters referred not to the policy itself, but what the letter described as the "Policy Binder."
That was apparently a reference to the Quote provided by Allied and dated February 22, 2019.
However, that Quote is not a"Policy Binder." Indeed, the first sentence of it reads "here is our
Quotation." The Quote did not have the effect of binding coverage, nor did any of its language
indicate that it was intended to bind coverage. It was merely a Quote, not a"Policy Binder."




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         In addition, even if the Quote provided by Allied were to be considered a binder, it would
still not take precedence over the terms of the actual policy. See, e.g., King v. Allstate Ins. Co.,
906 F.2d 1537, 1541 (1 l th Cir. 1990) ("It is hornbook insurance law that a binder merges into the
subsequently issued policy so that the terms and conditions of the policy, in case of conflict or
ambiguity, are controlling.") (emphasis added); Howell v. U.S. Fire Ins. Co., 185 Ga. App. 154,
156, 363 S.E.2d 560, 562 (1987) (holding that the language of the policy controls, not the
binder).

        The Allied policy issued to Bennett does not contain a$500,000 deductible, and the law
is clear that the terms of the policy are controlling. It is clear, then, that Allied's reliance on a
$500,000 deductible that does not even appear in the policy is misplaced.

       After Bennett's agent asked Allied to reconsider its denial, Network Adjusters sent
another letter dated May 29, 2020 reiterating its denial. That letter did not even reference the
purported "Policy Binder" like the previous letter, but rather wrongly stated that "the Policy
provides" for a$500,000 deductible. This was obviously an incorrect statement, as the policy
contains no reference to a$500,000 deductible.

        Bennett again asked for reconsideration in an email to you dated November 18, 2020,
which pointed out that only the Quote, not the actual policy, mentioned the purported flood
deductible of $500,000. Allied's response letter dated November 30, 2020 again ignored the fact
that there is no such deductible in the policy, and again incorrectly stated that "the Allied Policy
provides" for a$500,000 deductible. To date, Allied has not addressed or even acknowledged
the absence of a$500,000 deductible from its policy, yet continues to attempt to rely on it.

       To the extent that Allied believes a mistake was made in the issuance of the policy, such
a mistake was Allied's alone and does not allow Allied to modify the terms of the policy that it
issued. Georgia courts have addressed this issue directly and clearly established that a unilateral
mistake does not entitle an insurer to modify or reform a policy. Specifically, the Georgia Court
of Appeals has explained as follows:

           Where reformation is sought on the ground of mutual mistake, it must, of course,
           be proved to be the mistake of both parties. We have examined the record in this
           case and fmd no evidence of mutual mistake. Equity will reform a written
           instrument for the unilateral mistalce of one parly accompanied by fraud or
           inequitable conduct on behalf of the other party. There is likewise no evidence of
           fraud or inequitable conduct in the record before us. As far as the evidence
           shows, the policy was drafted at the direction of only one of the contracting
           parties, the insurer, and therefore if it was a mistake, it was a unilateral
           mistake, which will not warrant reformation.

Mag Mutual Ins. Co. v. Gatewood, 186 Ga. App. 169,174 (1988) (emphasis added).




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       Similarly, the policy issued to Bennett was drafted by Allied. If there was any mistake in
the drafting of the policy, it was a unilateral mistake on Allied's part, and it does not warrant
reforming the policy.

        As noted above, the only deductible within the actual policy that might apply is a$10,000
deductible that applies to damage to property of others at scheduled locations. Allied has
already, through its agents, valued Bennett's loss at $481,387 and Bennett has paid out slightly
less than that on the owner's claim, $478,417. The $10,000 deductible in the policy is all that
can be properly applied to the loss. Therefore, Bennett is entitled, under the terms of its
policy, to payment from Allied in the amount of $468,417.

        In addition to the foregoing, even if the deductible language in the Quote relied upon by
Allied were to be applicable, which is not the case for the reasons explained above, that language
is blatantly ambiguous and would be construed against Allied. The language in the Quote is as
follows:

            $1,000,000 Limit
            $50,000 Deductible for locations in Flood Zone X/C
            $500,000 for all other locations and any locations in Tier 1, Harris County, or within 1
            mile of the coast

       Allied has taken the position that the $500,000 deductible applies because the property is
within Flood Zone X Shaded. However, the Quote does not differentiate between X Shaded and
X Unshaded. It simply provides that anything within Flood Zone X is subject to a$50,000
deductible, not a$500,000 deductible. If Allied had intended to distinguish between Flood Zone
X Shaded and X Unshaded, it could easily have done so. Instead, Allied has created an
ambiguity.

       Several courts have held similar language to be ambiguous. For example, in Sylvania
Gardens Apartments v. Legion Ins. Co., 2001 WL 1807780 (Pa. Com. Pl. Feb. 14, 2001), the
policy provided for an increased deductible of $500,000 for property in flood zones A or V. The
property was actually located in flood zone AE, which was not referenced in the policy. The
court found the policy ambiguous and rejected the insurer's argument that zone AE was a
subzone of zone A. The court held that the insurer could have been more specific in drafting the
policy but chose not to do so, the resulting ambiguity was construed in favor of the insured, and
the court rejected the insurer's attempt to apply a$500,000 deductible.

        For the same reasons, in this case, we are confident that the language in Allied's quote
will similarly be found ambiguous. Allied could have been more specific and could have
distinguished between X Shaded and X Unshaded, but it chose not to do so. Because the
ambiguity in the language of the Quote will be construed against Allied, its attempt to apply a
$500,000 deductible will fail. Of course, the discussion of the flood zones and ambiguity is
ultimately irrelevant in the case since none of that language even appears in the policy, and the
policy language controls. Rather, Bennett expects to prevail based on the plain language of the



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policy, and the absence of a$500,000 deductible in the policy, with no need to even reach the
issue of the ambiguous language in the Quote, which is not controlling.

        It is undisputed that Bennett has incurred a loss in the amount $478,417. As explained
above, the $10,000 deductible in the policy is all that can be properly applied to the loss.
Accordingly, pursuant to O.C.G.A. § 33-4-6, Bennett hereby demands payment from Allied
in the amount of $468,417, which must be received within sixty (60) days for Allied to avoid
an action for bad faith refusal to pay a valid claim.

        Finally, please note that Bennett is in the process of attempting to sell the damaged travel
trailers as salvage. However, this fact does not excuse Allied from the obligation to pay
Bennett's valid claim in full. If Bennett receives any salvage payment, Bennett will hold any
such funds in trust to be returned to Allied once Allied pays this claim in full.

        If you have any questions or would like to discuss this matter, please feel free to contact
us at your convenience.

                                              With kind regards,
                                             s~otz`' W /4,~~&
                                              SCOTT W. MCMICKLE
                                             L7
                                              0-f /•/. ~a~Aw
                                             JON M. HUGHES
                                             For the Firm

SWM/JMH

cc:         VIA EMAIL (awacus.uropertyclaims(a-)awac.com)
            and CERTIFIED MAIL — RETURN RECEIPT REOUESTED
            Allied World Properry Claims
            3424 Peachtree Road NE
            Suite 550
            Atlanta, GA 30326




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          Case 1:21-cv-02190-MLB Document 1-1 Filed 05/26/21 Page 128 of 130
      UNITED STi]TES
JU    POSTAL SERVICE

January 11, 2021


Dear Tricia Green:


The following is in response to your request for proof of delivery on your item with the tracking number:
9489 0090 0027 6313 1913 18.

I Item Details

Status:                                                 Delivered to Agent for Final Delivery
Status Date / Time:                                     December 29, 2020, 11:14 am
Location:                                               DENVER, CO 80237
Postal Product:                                         First-Class Mail®
Extra Services:                                         Certified MailTM
                                                        Return Receipt Electronic
Shipment     D-
Weight:                                                 1.1oz



                  Signature of Recipient:                       L C ~q
                      (Authorized Agent)
                                                              Llw~,
                                                            goss /~~
                   Address of Recipient:                    b u, , Z_

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Thank you for selecting the United States Postal Service® for your mailing needs. If you require additional
assistance, please contact your local Post OfficeT"' or a Postal representative at 1-800-222-1811.

Sincerely,
United States Postal Service®
475 L'Enfant Plaza SW
Washington, D.C. 20260-0004
               Case 1:21-cv-02190-MLB Document 1-1 Filed 05/26/21 Page 129 of 130
~+          UNiTED ST/~TES
/~'         POSTLILSERVlCE

January 11, 2021

Dear Tricia Green:

The following is in response to your request for proof of delivery on your item with the tracking number:
9489 0090 0027 6313 1913 01.

I Item Details .

Status:                                                 Delivered, Front Desk/Reception/Mail Room
Status Date / Time:                                     December 28, 2020, 1:35 pm
Location:                                               ATLANTA, GA 30326
Postal Product:                                         First-Class Mail®
Extra Services:                                         Certified MailTM
                                                        Return Receipt Electronic
Shipment Details

      - .                                                   0.
Recipient Signature


                     Signature of Recipient:            "
                                                       ~     ll~


                       Address of Recipient:

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                     " SUCV2021'00~1'0'66'i
       Civil Action~lVo':                                                                                            ❑
                                                                                    ,                ~State Court                 Probate Court    ❑
                                                                                                      Juvenile Court ❑

       Date Filed April 15, 2021                                                                      Georgia, HENRY                       COUNTY
                                                                                                      Bennett International Group, LLC
       Attorney's Address
         Jon M. Hughes, Esq.
                                                                                                                                            Plaintiff
         McMickle, Kurey & Branch, LLP                                                                        VS.
          217 Roswell St., #200, Alpharetta, GA               p
                                                           30009                                      Allied World Specialty Insurance Company
       Name and Address of Party to Served ,
       Allied World Specialty Insurance Company
                                                                                                                                            Defendant
       c/o Corporation Service Co., Reg. Agent

       2 Sun Court, #400, Peachtree Corners, GA                30092
                                                                                                                                            Garnishee
                                                                   SHERIFF'S ENTRY OF SERVICE

      PERSONAL
      I have this day served the defendant                                                                                        personally with a copyf;
❑     of the within action and summons.                                                                                                                  rV
                                                                                                                                                            ~
                                                                                                                                                           ,y
       NOTORIOUS
       I have this day served the defendant                                                                                                 by leaving a
       copy of the action and summons at his most notorious place abode in this County.                                                                      L
                                                                                                                                                            ~ .
                                                                                                                                                            A: ~
❑     Delivered same into hands of                                                                                                 described as follows:
      age, about               years; weight                       pounds; height               feet and            inches, domiciled at the residence of
      defendant.

              PORA.TION
              the defendant                                                                                                                 a corporation

LJ'   by leaving a copy of the within action and summons with
      In charge of the office and place of doing business of said Corporation in this County.

      TACK & MAIL
      I have this day served the above styled affidavit and summons on the defendant(s) by posting a copy of the same to the door of the premises
      designated in said affidavit and on the same day of such posting by depositing a true copy of same in the United States Mail, First Class in an
❑     envelope properly addressed to the defendant(s) at the address shown in said summons, with adequate postage affixed thereon containing notice
      to the defendant(s) to answer said summons at the place stated in the summons.

      NON EST
      Diligent search made and defendant
❑     not to be found in the jurisdiction of this Court.


      This ~r~day
             ~            of    ~ ~l V ~                    20A! ~,                                                              r

             DEPUTY
                                                                       CLERK'S COPY
